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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF INDIANA
                             HAMMOND DIVISION

MERCHANTS BONDING COMPANY
(MUTUAL), an Iowa Corporation,

            Plaintiff,
                                          Civil Action No. 2018 CV 75
      vs.

MIDWEST EXPRESS, INC.; APEX
CAPITAL CORP., AS ASSIGNEE OF 10-4
ALLIANCE LLC; 1ST CHOICE EXPRESS,
INC.; SUNBELT FINANCE, AS
ASSIGNEE OF 2K TRANSPORTATION,
INC.; COMPASS FUNDING SOLUTIONS,
AS ASSIGNEE OF 4 WAY TRANS, LLC;
BIBBY TRANSPORTATION FINANCE,
INC., AS ASSIGNEE OF A & D CARRIER;
PHOENIX CAPITAL GROUP, LLC, AS
ASSIGNEE OF A & E FIRST CHOICE
MOVING TRANSPORTATION; APEX
CAPITAL CORP., AS ASSIGNEE OF A &
L TRANSIT, INC.; PAVESTONE
CAPITAL, AS ASSIGNEE OF A & S
TRUCKING, LLC; ADVANCE BUSINESS
CAPITAL LLC DBA TRIUMPH
BUSINESS CAPITAL, AS ASSIGNEE OF
A & T TRUCKING, LLC; APEX CAPITAL
CORP., AS ASSIGNEE OF A D A
LOGISTICS CORP.; SEVENOAKS
CAPITAL, AS ASSIGNEE OF A FAMILY
TOWING & TRANSPORT; APEX
CAPITAL CORP., AS ASSIGNEE OF A G
& B LOGISTICS; APEX CAPITAL CORP.,
AS ASSIGNEE OF A N ENTERPRISE,
INC.; APEX CAPITAL CORP., AS
ASSIGNEE OF A N M TRANSPORT, LLC;
COMPASS FUNDING SOLUTIONS, AS
ASSIGNEE OF A1 FREIGHT, INC.;
INTERSTATE CAPITAL CORPORATION,
AS ASSIGNEE OF ABOVE PAR

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                                                                  EXHIBIT A
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TRANSPORTATION; VERO BUSINESS
CAPITAL LLC, AS ASSIGNEE OF AC
EXPRESS, INC.; ADEX, INC.; RTS
FINANCIAL SERVICE, AS ASSIGNEE OF
ADEX, INC.; ADVANCE BUSINESS
CAPITAL LLC DBA TRIUMPH
BUSINESS CAPITAL, AS ASSIGNEE OF
ADVANCE TRANSPORT, INC.; AG
EXPEDITED, INC.; AG LINES, INC.;
AIRLINE TRANSPORTATION;
CRESTMARK BANK, AS ASSIGNEE OF
AIRTIME EXPRESS, INC.; APEX
CAPITAL CORP., AS ASSIGNEE OF
AKAL TRUCKING, LLC; INTERSTATE
CAPITAL CORP., AS ASSIGNEE OF
AMAZON LOGISTICS; AMERICAN
MOTOR TRANSPORTATION, INC.; RTS
FINANCIAL SERVICE, AS ASSIGNEE OF
AMERICAN MOTOR
TRANSPORTATION, INC.;
AMERIFREIGHT SYSTEMS, LLC; RTS
FINANCIAL SERVICE, AS ASSIGNEE OF
AMERIFREIGHT SYSTEMS, LLC; VERO
BUSINESS CAPITAL LLC, AS ASSIGNEE
OF AMERIGO, INC.; AMG FREIGHT;
AMG LOGISTICS, INC.; RTS FINANCIAL
SERVICE, AS ASSIGNEE OF AMG
LOGISTICS, INC.; AMZ TRANS, INC.;
CD CONSORTIUM CORPORATION, AS
ASSIGNEE OF AMZ TRANS, INC.; ANG
TRANSPORTATION, INC.; ASSIST
FINANCIAL SERVICES, INC., AS
ASSIGNEE OF AP TRUCKING LLC;
FOLEY CARRIER SERVICES, LLC, AS
ASSIGNEE OF APLUS EXPRESS; CJM
FINANCIAL, INC., AS ASSIGNEE OF A-
PLUS TRUCKING, LLC; COMPASS
FUNDING SOLUTIONS, AS ASSIGNEE
OF ARCH TRANSPORT, LLC; APEX
CAPITAL CORP., AS ASSIGNEE OF
ARM LINES, INC.; ARNHALT
TRANSPORTATION BROKERAGE, INC.;
ARROW TRANS CORP.; ART

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LOGISTICS; RIVIERA FINANCE OF
TEXAS, INC., AS ASSIGNEE OF ART
LOGISTICS; ARTUDIANTI, INC.; RTS
FINANCIAL SERVICE, AS ASSIGNEE OF
ARTUDIANTI, INC.; AT LINE, INC.;
FLEET ONE FACTORING, LLC, AS
ASSIGNEE OF AT LINE, INC.; ATD
EXPRESS, INC.; FIRSTLINE FUNDING
GROUP, AS ASSIGNEE OF ATLANTIC
COAST LOGISTICS; AUTODINA, CORP.;
FREIGHT FACTORING SPECIALISTS,
AS ASSIGNEE OF AVAIL TRANSPORT,
INC.; APEX CAPITAL CORP., AS
ASSIGNEE OF B & K GROUP, INC.;
ADVANCE BUSINESS CAPITAL LLC
DBA TRIUMPH BUSINESS CAPITAL, AS
ASSIGNEE OF B & M EXPRESS, INC.;
TBS FACTORING SERVICE, AS
ASSIGNEE OF B.W.R.
TRANSPORTATION, INC.; SUNBELT
FINANCE, AS ASSIGNEE OF BANDERA
TRANSPORTATION, INC.; BAY AND
BAY TRANSPORTATION; COMPASS
FUNDING SOLUTIONS, AS ASSIGNEE
OF BB WOLF, INC.; JD FACTORS, LLC,
AS ASSIGNEE OF BBS TRUCKING, INC.;
ADVANCE BUSINESS CAPITAL LLC
DBA TRIUMPH BUSINESS CAPITAL, AS
ASSIGNEE OF BEKTESHI LOGISTICS,
INC.; BENJAMIN BEST FREIGHT; APEX
CAPITAL CORP., AS ASSIGNEE OF
BEST WAY LOGISTICS, INC.;
BFREIGHT, INC.; RTS FINANCIAL
SERVICE, AS ASSIGNEE OF BFREIGHT,
INC.; COMPASS FUNDING SOLUTIONS,
AS ASSIGNEE OF BH92 TRUCKING,
INC.; BL QUALITY TRANS INC.;
CREDIT EXPRESS, INC., AS ASSIGNEE
OF BL QUALITY TRANS INC.; BLACK
SEA TRANSPORTATION; APEX
CAPITAL CORP., AS ASSIGNEE OF
BLACK SEA TRANSPORTATION;
BLACK WOLF TRANSPORTATION; RTS

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FINANCIAL SERVICE, AS ASSIGNEE OF
BLACK WOLF TRANSPORTATION;
BLAST TRANSPORT, INC.; RTS
FINANCIAL SERVICE, AS ASSIGNEE OF
BLAST TRANSPORT, INC.; BAXTER
BAILEY & ASSOCIATES, AS ASSIGNEE
OF BLUESTAR SERVICES, LLC; BIBBY
TRANSPORTATION FINANCE, INC., AS
ASSIGNEE OF BLUESTONE
ENTERPRISES; BM, CORP.; BO TECH
TRANSPORTATION; FIRSTLINE
FUNDING GROUP, AS ASSIGNEE OF
BOOST ENTERPRISES; BAXTER
BAILEY & ASSOCIATES, AS ASSIGNEE
OF BOOST ENTERPRISES; FIRSTLINE
FUNDING GROUP, AS ASSIGNEE OF BR
CARGO, LLC; BR CARGO, LLC;
PHOENIX CAPITAL GROUP, LLC, AS
ASSIGNEE OF BRAVE FREIGHT; OTR
CAPITAL, LLC, AS ASSIGNEE OF BRF
ENTERPRISES; BRIAN, INC.; BRITE
LOGISTICS, INC.; BTI, INC.; FIRSTLINE
FUNDING GROUP, AS ASSIGNEE OF
BULLS EYE EXPEDITION; BULMAKS,
INC.; RTS FINANCIAL SERVICE, AS
ASSIGNEE OF BULMAKS, INC.; TBS
FACTORING SERVICE, AS ASSIGNEE
OF BURTON TRANSPORTATION
SERVICES, LLC; BUSINESS LINES
CORP.; CD CONSORTIUM CORP., AS
ASSIGNEE OF BUSINESS LINES CORP.;
FOLEY CARRIER SERVICES, LLC, AS
ASSIGNEE OF BUTTER B TRUCKING; C
& I TRUCKING, INC.; APEX CAPITAL
CORP., AS ASSIGNEE OF C R N A;
CRESTMARK BANK, AS ASSIGNEE OF
CANNON, LLC; APEX CAPITAL CORP.,
AS ASSIGNEE OF CAPITOL TRUCKING,
INC.; STEELHEAD FINANCE, AS
ASSIGNEE OF CAR TRANSPORT, INC.;
APEX CAPITAL CORP., AS ASSIGNEE
OF CARGAL TRANSPORT, LLC; CARGO
TRANSIT CORP.; TAFS PREMIUM

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FINANCE, INC., AS ASSIGNEE OF
CARGO USA, INC.; APEX CAPITAL
CORP., AS ASSIGNEE OF CARGOMAX
INCORPORATED; APEX CAPITAL
CORP., AS ASSIGNEE OF CARGOX,
INC.; CARRIER MANAGEMENT, INC.;
RTS FINANCIAL SERVICE, AS
ASSIGNEE OF CARRIER
MANAGEMENT, INC.; OTR CAPITAL,
LLC, AS ASSIGNEE OF CARRY ON
EXPRESS LOGISTICS; CD
CONSORTIUM CORP.; BAXTER BAILEY
& ASSOCIATES, AS ASSIGNEE OF CDA
DELIVERY SERVICE, INC.; ADVANCE
BUSINESS CAPITAL LLC DBA
TRIUMPH BUSINESS CAPITAL, AS
ASSIGNEE OF CENTRAL LOGISTICS,
LLC; CENTRAL LOGISTICS GROUP,
INC.; BAXTER BAILEY & ASSOCIATES,
AS ASSIGNEE OF CHRIS LINES
COMPANY; CMW TRANSPORT CO.,
INC.; BAXTER BAILEY & ASSOCIATES,
AS ASSIGNEE OF COAST
CONNECTION, INC.; CONICK
LOGISTICS, INC.; TAFS PREMIUM
FINANCE, INC., AS ASSIGNEE OF
CONTINENTAL FREIGHT SOLUTIONS;
COMPASS FUNDING SOLUTIONS, AS
ASSIGNEE OF CORB, INC.; PAVESTONE
CAPITAL, AS ASSIGNEE OF COWBOY
LOGISTICS, LLC; CROSS EXPRESS, CO.;
ADVANCE BUSINESS CAPITAL LLC
DBA TRIUMPH BUSINESS CAPITAL, AS
ASSIGNEE OF D & M LOGISTICS, LLC;
D & S FACTORS LLC; TBS FACTORING
SERVICE, AS ASSIGNEE OF D AND L
TRUCKING; APEX CAPITAL CORP., AS
ASSIGNEE OF D F H
TRANSPORTATION, LLC; APEX
CAPITAL CORP., AS ASSIGNEE OF D M
EXPRESS, INC.; APEX CAPITAL CORP.,
AS ASSIGNEE D V S
TRANSPORTATION, INC.; TBS

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FACTORING SERVICE, LLC, AS
ASSIGNEE OF D E O TRANSPORT INC.;
ASSIST FINANCIAL SERVICES, INC., AS
ASSIGNEE OF DAB TRUCKING
SERVICES; ADVANCE BUSINESS
CAPITAL LLC DBA TRIUMPH
BUSINESS CAPITAL, AS ASSIGNEE OF
DAILY TRANSPORT, INC.; CJM
FINANCIAL, INC., AS ASSIGNEE OF
DAILY TRANSPORTATION, INC.;
BAXTER BAILEY & ASSOCIATES, AS
ASSIGNEE OF DAILY
TRANSPORTATION, INC.; COMPASS
FUNDING SOLUTIONS, AS ASSIGNEE
OF DAVIS CARGO, LLC; DC
TRANSPORT, INC.; DELTA CARRIER
GROUP, INC.; ADVANCE BUSINESS
CAPITAL LLC DBA TRIUMPH
BUSINESS CAPITAL, AS ASSIGNEE OF
DELTA CARRIER GROUP, INC.;
ORANGE COMMERCIAL CREDIT, AS
ASSIGNEE OF DELTA LOGISTICS, INC.;
DELTA TRANSPORT, INC.; TCI
BUSINESS CAPITAL, INC., AS
ASSIGNEE OF DELTA TRANSPORT,
INC.; COMPASS FUNDING SOLUTIONS,
AS ASSIGNEE OF D-EVINE, INC.; DF
CARRIER LLC; FIRSTLINE FUNDING
GROUP, AS ASSIGNEE OF DF CARRIER
LLC; DIAMOND FREIGHT, INC.;
COMPASS FUNDING SOLUTIONS, AS
ASSIGNEE OF DIJ CORP.; DIRECT
SERVICE TRANSPORT, INC.; BAXTER
BAILEY & ASSOCIATES, AS ASSIGNEE
OF DISTRIBUTION SOLUTIONS, INC.;
DIVINE ENTERPRISES; DLK
TRUCKING, INC.; TAFS PREMIUM
FINANCE, INC., AS ASSIGNEE OF DM
WORLD TRANSPORTATION;
TRANSAM FINANCIAL SERVICES, INC.,
AS ASSIGNEE OF DM WORLD
TRANSPORTATION; DMN TRANSPORT,
INC.; RTS FINANCIAL SERVICE, AS

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ASSIGNEE OF DMN TRANSPORT, INC.;
DOLCHE TRUCKLOAD, CORP.; RTS
FINANCIAL SERVICE, AS ASSIGNEE OF
DOLCHE TRUCKLOAD, CORP.;
DOSPED, INC.; BIBBY
TRANSPORTATION FINANCE, INC., AS
ASSIGNEE OF DUKE
TRANSPORTATION; FOLEY CARRIER
SERVICES, LLC, AS ASSIGNEE OF
DYER INTEGRATED; APEX CAPITAL
CORP., AS ASSIGNEE OF E M H
SERVICES, INC.; EAGLE CAPITAL
CORPORATION; EAGLE TRUCKING
COMPANY; FIRSTLINE FUNDING
GROUP, AS ASSIGNEE OF EAST
BOUND EXPRESS; ECHO TRUCKING,
INC.; ECKLUND LOGISTICS, INC.;
CRESTMARK BANK, AS ASSIGNEE OF
ECKLUND LOGISTICS, INC.; INSIGHT
TECHNOLOGY, INC., AS ASSIGNEE OF
EFREIGHT, INC.; OTR CAPITAL, LLC,
AS ASSIGNEE OF EFS INC.; FIRSTLINE
FUNDING GROUP, AS ASSIGNEE OF
EMJB; EMR EXPRESS; RTS FINANCIAL
SERVICE, AS ASSIGNEE OF EMR
EXPRESS; FIRSTLINE FUNDING
GROUP, AS ASSIGNEE OF ENS
TRUCKING; BAXTER BAILEY &
ASSOCIATES, AS ASSIGNEE OF ES
EXPRESS LINES, INC.; PARTNERS
FUNDING, INC. AS ASSIGNEE OF ESA
TRANSPORTATION INC.; INTERSTATE
CAPITAL CORP., AS ASSIGNEE OF
EXCELL TRUCKING; FINANCIAL
CARRIER SERVICES, AS ASSIGNEE OF
EZY TRANSPORTATION LLC; FAR
WEST CAPITAL TRANSPORTATION;
ADVANCE BUSINESS CAPITAL LLC
DBA TRIUMPH BUSINESS CAPITAL, AS
ASSIGNEE OF FARGO TRANSPORT;
FAST LOADING, INC.; RTS FINANCIAL
SERVICE, AS ASSIGNEE OF FAST
LOADING, INC.; FISCHER TRUCK AND

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BUS SERVICE, INC.; CD CONSORTIUM
CORP., AS ASSIGNEE OF FLASH
LOGISTICS, INC.; FLEX TRANSPORT,
INC.; FLS EXPRESS LLC; JD FACTORS,
LLC, AS ASSIGNEE OF FM LOGISTICS,
LLC; APEX CAPITAL CORP., AS
ASSIGNEE OF FOKA LOGISTICS, LLC;
FREE STYLE TRUCKING, INC.; BIBBY
TRANSPORTATION FINANCE, INC., AS
ASSIGNEE OF FREEDOM VAN LINES;
FIRSTLINE FUNDING GROUP, AS
ASSIGNEE OF FREIGHT DEALERS;
ORANGE COMMERCIAL CREDIT, AS
ASSIGNEE OF FREIGHT SOLUTIONS
SERVICES; FREIGHTZONE EXPRESS,
INC.; BAXTER BAILEY & ASSOCIATES,
AS ASSIGNEE OF FUREX, INC.; G & G
LOGISTICS, INC.; G.G. BARNETT
TRANSPORT, INC.; BAXTER BAILEY &
ASSOCIATES, AS ASSIGNEE OF
GABLES TRANSPORT, INC.;
FINANCIAL CARRIER SERVICES, LLC,
AS ASSIGNEE OF GAMA TRADE INC.;
INTERSTATE CAPITAL CORP., AS
ASSIGNEE OF GAMTRANS FREIGHT;
PHOENIX CAPITAL GROUP, LLC, AS
ASSIGNEE OF GAVA TRUCKING; TBS
FACTORING SERVICE, AS ASSIGNEE
OF GEEMAN, LLC; GI SUPER SERVICE,
INC.; GIANNAKIS TRANSPORTATION,
INC.; CJM FINANCIAL, INC., AS
ASSIGNEE OF GLOBUS TRANSPORT,
INC.; GO TO LOGISTICS, INC. AS GT
EXPEDITED; CJM FINANCIAL, INC., AS
ASSIGNEE OF GOGA TRUCKING, INC.;
PARTNERS FUNDING, INC., AS
ASSIGNEE OF GOLD STAR CARRIERS;
CJM FINANCIAL, INC., AS ASSIGNEE
OF GOLD STAR EXPRESS LLC;
GOLDCOAST LOGISTICS GROUP;
CREDIT EXPRESS, INC. AS ASSIGNEE
OF GOLDMAX CARRIER, INC.;
GOLDMAX CARRIER, INC.; COMPASS

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FUNDING SOLUTIONS, AS ASSIGNEE
OF GOOD CHOICE CARRIER, INC.;
GOOD SOURCE TRUCKING, INC.;
SUNBELT FINANCE, LLC, AS
ASSIGNEE OF GOOD SOURCE
TRUCKING, INC.; GP
TRANSPORTATION; CRESTMARK
BANK, AS ASSIGNEE OF GRAVAL
CORPORATION; GRAVAL
CORPORATION; GREAT WIDE
TRUCKLOAD MANAGEMENT;
COMPASS FUNDING SOLUTIONS, AS
ASSIGNEE OF GREEN FREIGHT, INC.;
GREEN MILE, INC.; RTS FINANCIAL
SERVICE, INC., AS ASSIGNEE OF
GREEN MILE, INC.; GT LOGISTICS,
INC.; VERO BUSINESS CAPITAL LLC,
AS ASSIGNEE OF GT LOGISTICS, INC.;
BAXTER BAILEY & ASSOCIATES, AS
ASSIGNEE OF GTS TRANSPORTATION;
GTS TRANSPORTATION CORP.; OTR
CAPITAL, LLC, AS ASSIGNEE OF
GUERRERO TRANSPORTATION; TBS
FACTORING SERVICE, AS ASSIGNEE
OF H & L DELIVERY, LLC; OTR
CAPITAL, LLC, AS ASSIGNEE OF
HAILEY’S LOGISTICS LLC; HANJRA
TRUCKING; ACCUTRAC CAPITAL,
INC., AS ASSIGNEE OF HANJRA
TRUCKING; FIRSTLINE FUNDING
GROUP, AS ASSIGNEE OF HARED
TRUCKING; HARRINGTON RIDGE
COAL & STOVE, LLC; APEX CAPITAL
CORP., AS ASSIGNEE OF HAWK
LOGISTICS, LLC; PARTNERS FUNDING,
INC. AS ASSIGNEE OF HEARTLAND
EXPRESSWAY; BAXTER BAILEY &
ASSOCIATES, AS ASSIGNEE OF HEAVY
LANE TRANSPORT; INTERSTATE
CAPITAL CORP., AS ASSIGNEE OF
HEAVY LANE TRANSPORT;
CRESTMARK BANK, AS ASSIGNEE OF
HELIOSPHERE, INC.; HELIOSPHERE

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 INC.; HIGHBOOST CORPORATION; OTR
 CAPITAL, LLC, AS ASSIGNEE OF
 HIGHLAND DALLAS FREIGHT INC.;
 HM TRANS, INC.; RTS FINANCIAL
 SERVICE, INC., AS ASSIGNEE OF HM
 TRANS, INC.; FINANCIAL CARRIER
 SERVICES, INC., AS ASSIGNEE OF
 HOMER EXPRESS, LLC; ASSIST
 FINANCIAL SERVICES, INC., AS
 ASSIGNEE OF HOT TRANSPORTATION;
 ASSIST FINANCIAL SERVICES, INC., AS
 ASSIGNEE OF HOUSE SPRINGS
 TRUCKING; APEX CAPITAL CORP., AS
 ASSIGNEE OF I G H TRUCKING, LLC;
 IIK TRANSPORT, INC.; IBY
 TRANSPORT; RTS FINANCIAL
 SERVICE, AS ASSIGNEE OF IBY
 TRANSPORT; IMAN CARRIERS, INC.;
 TRANSPORTATION FUNDING GROUP,
 AS ASSIGNEE OF IMAN CARRIERS,
 LLC; IMG TRUCKING, INC.; APEX
 CAPITAL CORP., AS ASSIGNEE OF
 IMPERIAL EXPRESS, LLC; JD
 FACTORS, LLC, AS ASSIGNEE OF
 INFINITIVE TRANSPORTATION;
 CRESTMARK BANK, AS ASSIGNEE OF
 INLAND TRANSPORT, INC.; BAXTER
 BAILEY & ASSOCIATES, AS ASSIGNEE
 OF INLAND TRANSPORT, INC.;
 INNOVATION TRUCK SERVICE, LLC;
 INTEGRATED LOGISTICS &
 ASSOCIATES; BAXTER BAILEY &
 ASSOCIATES, AS ASSIGNEE OF
 INTERSPED INC., DBA AMCAN
 FREIGHT LINERS; APEX CAPITAL
 CORP., AS ASSIGNEE OF ISSA
 LOGISTICS, LLC; TAFS PREMIUM
 FINANCE, INC., AS ASSIGNEE OF J & H
 LOGISTICS GROUP INC.; COREFUND
 CAPITAL LLC, AS ASSIGNEE OF J & J’S
 LEADING TRANSPORT, LLC; J RAYL
 TRANSPORT, INC.; BAXTER BAILEY &
 ASSOCIATES, AS ASSIGNEE OF JAG

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 TRUCKING, INC. DBA AMCAN
 FREIGHT LINERS; JASON TRANSPORT,
 INC.; JBA TRUCKING LLC D/B/A JBA
 FAMILY TRUCKING; JC TRANS CO.;
 JEEP TRANSPORT, INC.; JEFF BRYAN
 TRANSPORT; RIVIERA FINANCE, AS
 ASSIGNEE OF JMB TRUCKING
 SERVICES, INC.; FIRSTLINE FUNDING
 GROUP, AS ASSIGNEE OF JML
 LOGISTICS; JODI EXPRESS; OTR
 CAPITAL, LLC, AS ASSIGNEE OF
 JOONAM’S TRUCKING, LLC;
 CRESTMARK BANK, AS ASSIGNEE OF
 JORDAN & K INC.; JP TRUCKING
 SERVICES, INC.; JPMKL, INC.; BAXTER
 BAILEY & ASSOCIATES, AS ASSIGNEE
 OF JPMKL, INC.; ASSIST FINANCIAL
 SERVICES, INC., AS ASSIGNEE OF JTT
 LOGISTICS INC.; OTR CAPITAL, LLC,
 AS ASSIGNEE OF JUBO
 TRANSPORTATION, INC.; PHOENIX
 CAPITAL GROUP, LLC, AS ASSIGNEE
 OF K EXPRESS; APEX CAPITAL CORP.,
 AS ASSIGNEE OF K L M B
 TRANSPORTATION, INC.; EAGLE
 CAPITAL CORPORATION, AS
 ASSIGNEE OF KM TRUCKING; APEX
 CAPITAL CORP., AS ASSIGNEE OF K M
 V TRANSPORTATION, INC.; KANIA,
 INC.; CRESTMARK BANK, AS
 ASSIGNEE OF KANIA, INC.; ADVANCE
 BUSINESS CAPITAL LLC DBA
 TRIUMPH BUSINESS CAPITAL, AS
 ASSIGNEE OF KAYS M. AHMED; TBS
 FACTORING SERVICE, LLC, AS
 ASSIGNEE OF KEPY
 TRANSPORTATION, INC.; KFORCE
 EXPRESS, INC.; RTS FINANCIAL
 SERVICE, AS ASSIGNEE OF KFORCE
 EXPRESS, INC.; OTR CAPITAL, LLC, AS
 ASSIGNEE OF KIIN EXPRESS, LLC; JD
 FACTORS, LLC, AS ASSIGNEE OF
 KINGS EAGLE INC.; JD FACTORS, LLC,

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 AS ASSIGNEE OF KLYM SPIRIT
 CORPORATION; KOMMITTED
 TRANSPORTATION, INC.; KONED
 LOGISTICS; RTS FINANCIAL SERVICE,
 AS ASSIGNEE OF KONED LOGISTICS;
 KOTTKE TRUCKING, INC.;
 TRANSPORTATION FUNDING GROUP,
 AS ASSIGNEE OF KUEHL TRUCKING,
 LLC; K-WAY EXPRESS, INC.;
 INTERSTATE CAPITAL CORP., AS
 ASSIGNEE OF L & E HAULING; L E G S
 TRANSPORT, INC.; APEX CAPITAL
 CORP., AS ASSIGNEE OF L E G S
 TRANSPORT, INC.; APEX CAPITAL
 CORP., AS ASSIGNEE OF L G A
 LOGISTICS, INC.; APEX CAPITAL
 CORP., AS ASSIGNEE OF LAMA
 EXPRESS, INC.; LAMA TRUCKING,
 INC.; RTS FINANCIAL SERVICE, AS
 ASSIGNEE OF LAMA TRUCKING, INC.;
 LANDLINER, INC.; OTR CAPITAL, LLC,
 AS ASSIGNEE OF LATHONS INC.; OTR
 CAPITAL, LLC, AS ASSIGNEE OF
 LEGACY TRANSPORTATION; BAXTER
 BAILEY & ASSOCIATES, AS ASSIGNEE
 OF LEMBERG GROUP, INC.; LEMBERG
 GROUP, INC.; TCI BUSINESS CAPITAL,
 INC., AS ASSIGNEE OF LEMBERG
 GROUP, INC.; CD CONSORTIUM CORP.,
 AS ASSIGNEE OF LENTI, INC.;
 LESMEISTER TRANSPORTATION, INC.;
 COMPASS FUNDING SOLUTIONS, AS
 ASSIGNEE OF LHB TRUCKING, INC.;
 LIBERTY TRANSIT, LLC; RTS
 FINANCIAL SERVICE, AS ASSIGNEE OF
 LIBERTY TRANSIT, LLC; LIGHT
 LOGISTICS, INC.; LINTRANS, INC.;
 BAXTER BAILEY & ASSOCIATES, AS
 ASSIGNEE OF LITHCO 1, LLC; LIV
 ENTERPRISES, INC.; LIV
 TRANSPORTATION; RTS FINANCIAL
 SERVICE, AS ASSIGNEE OF LIV
 TRANSPORTATION; COMPASS

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 FUNDING SOLUTIONS, AS ASSIGNEE
 OF LIZAMA TRANSPORT, INC.;
 BAXTER BAILEY & ASSOCIATES, AS
 ASSIGNEE OF LJ EXPRESS TRUCKING,
 CO OF CA, LLC; LMX TRANSPORT
 CORP.; LOAD TO RIDE
 TRANSPORTATION; BAXTER BAILEY
 & ASSOCIATES, AS ASSIGNEE OF
 LOGIC LOGISTICS, INC.; LOVE’S
 TRAVEL STOPS & COUNTRY STORES,
 INC.; LOWELL LOGISTICS, INC.;
 LOZAR, INC.; BAXTER BAILEY &
 ASSOCIATES, AS ASSIGNEE OF LT
 UNITED LOGISTICS, INC.; OTR
 CAPITAL, LLC, AS ASSIGNEE OF
 LUCKIE XPRESS; LUCKY WAY
 LOGISTICS, INC.; SAINT JOHN
 CAPITAL CORPORATION, AS
 ASSIGNEE OF LUCKY WAY
 LOGISTICS, INC.; APEX CAPITAL
 CORP., AS ASSIGNEE OF LUCKY
 WORLD, INC.; COMPASS FUNDING
 SOLUTIONS, AS ASSIGNEE OF LUPUS
 7, INC.; ADVANCE BUSINESS CAPITAL
 LLC DBA TRIUMPH BUSINESS
 CAPITAL, AS ASSIGNEE OF M & S
 EXPRESS, INC.; APEX CAPITAL CORP.,
 AS ASSIGNEE OF M D TRANSPORT;
 APEX CAPITAL CORP., AS ASSIGNEE
 OF M N E FREIGHT, LLC; APEX
 CAPITAL CORP., AS ASSIGNEE OF M O
 B CARRIERS, INC.; COMPASS FUNDING
 SOLUTIONS, AS ASSIGNEE OF MAIN
 TRUCKING COMPANY; APEX CAPITAL
 CORP., AS ASSIGNEE OF MAJESTIC,
 INC.; THUNDER FUNDING/THUNDER
 CARRIER SERVICES, INC., AS
 ASSIGNEE OF MAK LINK LIMITED
 LIABILITY CO.; GREAT PLAINS
 TRANSPORTATION SERVICES, INC., AS
 ASSIGNEE OF MANGAT GROUP, INC.;
 MANNING TRANSFER, INC.; TAFS
 PREMIUM FINANCE, INC., AS

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 ASSIGNEE OF MANTA FREIGHT LLC;
 FIRSTLINE FUNDING GROUP, AS
 ASSIGNEE OF MARANATHA EXPRESS;
 MARKA TRANSPORT, INC.; MATRIX,
 INC.; APEX CAPITAL CORP., AS
 ASSIGNEE OF MAX TRUCKING, LLC;
 GREAT PLAINS TRANSPORTATION
 SERVICES, INC., AS ASSIGNEE OF MBA
 TRANSPORT OF COLUMBUS LLC;
 FINANCIAL CARRIER SERVICES, LLC,
 AS ASSIGNEE OF MBP TRANSPORT
 LLC; ASSIST FINANCIAL SERVICES,
 INC., AS ASSIGNEE OF MCC FREIGHT
 INC.; MCDA LOGISTICS, LLC; RTS
 FINANCIAL SERVICE, AS ASSIGNEE OF
 MCDA LOGISTICS, LLC; ADVANCE
 BUSINESS CAPITAL LLC DBA
 TRIUMPH BUSINESS CAPITAL, AS
 ASSIGNEE OF MD FREIGHT, INC.; MDS
 TRUCKING V, INC.; CRESTMARK
 BANK, AS ASSIGNEE OF MEGA
 EXPRESS, INC.; APEX CAPITAL CORP.,
 AS ASSIGNEE OF MELODY LOGISTICS,
 LLC; MERX GLOBAL, INC.; MGR
 FREIGHT LLC; APEX CAPITAL CORP.,
 AS ASSIGNEE OF MILAN EXPRESS,
 INC.; COMPASS FUNDING SOLUTIONS,
 AS ASSIGNEE OF MILLENIUM GROUP,
 INC.; BAXTER BAILEY & ASSOCIATES,
 AS ASSIGNEE OF MILLENNIUM
 TRANSPORT, INC.; MMJ
 TRANSPORTATION, INC.; ADVANCE
 BUSINESS CAPITAL LLC DBA
 TRIUMPH BUSINESS CAPITAL, AS
 ASSIGNEE OF MMJ TRANSPORTATION,
 INC.; BAXTER BAILEY & ASSOCIATES,
 AS ASSIGNEE OF MMM
 TRANSPORTATION, LTD.; MNALAN
 TRUCKING, CORP.; RTS FINANCIAL
 SERVICE, AS ASSIGNEE OF MNALAN
 TRUCKING CORP.; MPK TRUCKING
 LLC; FINANCIAL CARRIER SERVICES,
 INC., AS ASSIGNEE OF MPK TRUCKING

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 LLC; MS US, INC.; RTS FINANCIAL
 SERVICE, AS ASSIGNEE OF MS US,
 INC.; MTY TRANSPORTATION, LLC;
 MULTI-LOAD TRANSPORT, INC.; APEX
 CAPITAL CORP., AS ASSIGNEE OF N T
 O EXPRESS, LLC; NAMANAGH, INC.;
 BAXTER BAILEY & ASSOCIATES, AS
 ASSIGNEE OF NAMANAGH, INC.;
 BAXTER BAILEY & ASSOCIATES, AS
 ASSIGNEE OF NARVATRANS, LLC;
 NATALIE EXPRESS; APEX CAPITAL
 CORP., AS ASSIGNEE OF NATHAN
 TRUCKING, LLC; CRESTMARK BANK,
 AS ASSIGNEE OF NATIONAL FREIGHT
 CARRIERS, INC.; APEX CAPITAL
 CORP., AS ASSIGNEE OF NATIONWIDE
 ENTERPRISES CORP.; CD
 CONSORTIUM CORP., AS ASSIGNEE OF
 NAVI, INC.; BAXTER BAILEY &
 ASSOCIATES, AS ASSIGNEE OF
 NAVIGATION GLOBAL LLC;
 NAVIGATION GLOBAL, LLC;
 NAVIGATOR EXPRESS INC.; BAXTER
 BAILEY & ASSOCIATES, AS ASSIGNEE
 OF NC TRUCKING, INC.; NEDEX
 EXPRESS, INC.; NEPA DISTRIBUTION,
 LLC; DILLEY ZIMNY INSURANCE, AS
 ASSIGNEE OF NEPA DISTRIBUTION,
 LLC; FIRSTLINE FUNDING GROUP, AS
 ASSIGNEE OF NEVADA EXPRESS;
 CRESTMARK BANK, AS ASSIGNEE OF
 NOEL TRANSPORTATION, CORP.; TBS
 FACTORING SERVICE, LLC, AS
 ASSIGNEE OF NORTH AMERICA
 MOVING CREW, LLC; NORTH
 AMERICAN TRANSPORT SERVICES,
 LLC; COMPASS FUNDING SOLUTIONS,
 AS ASSIGNEE OF NORTHLAND
 REFRIGERATED SERVICES, INC.; NR.1
 TRANSPORT; NUSSBAUM; TBS
 FACTORING SERVICE, AS ASSIGNEE
 OF NWC TRUCKING, LLC; OAK HILL
 CAPITAL GROUP FOR US CROSS INC.;

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 OFF RAMP TRUCKING, LLC; OLERO,
 INC.; RTS FINANCIAL SERVICE, AS
 ASSIGNEE OF OLERO, INC.; COMPASS
 FUNDING SOLUTIONS, AS ASSIGNEE
 OF OMEGA FREIGHT SYSTEMS, INC.;
 CJM FINANCIAL, INC., AS ASSIGNEE
 OF ONE TIME TRUCKING, LLC;
 PARTNERS FUNDING, INC. AS
 ASSIGNEE OF ONATE LOGISTICS;
 APEX CAPITAL CORP., AS ASSIGNEE
 OF ONE 2 ONE TRANSPORT, INC.; ONE
 NATION TRANS; ONEWAY LOGISTICS,
 INC.; RTS FINANCIAL SERVICE, AS
 ASSIGNEE OF ONEWAY LOGISTICS,
 INC.; COMPASS FUNDING SOLUTIONS,
 AS ASSIGNEE OF ONYX TRANSPORT,
 INC.; JD FACTORS, LLC, AS ASSIGNEE
 OF OREST EXPRESS, INC.; OTR
 CAPITAL, LLC; OUT WITTING THE
 REST, INC.; RTS FINANCIAL SERVICE,
 AS ASSIGNEE OF OUT WITTING THE
 REST, INC.; ADVANCE BUSINESS
 CAPITAL LLC DBA TRIUMPH
 BUSINESS CAPITAL, AS ASSIGNEE OF
 OVERLAND TRUCKING, LLC; APEX
 CAPITAL CORP., AS ASSIGNEE OF
 OVERNIGHT EXPRESS, INC.; APEX
 CAPITAL CORP., AS ASSIGNEE OF
 PACK LOGISTICS, INC.; PDM
 FINANCIAL FOR MURADI LOGISTICS
 LLC; APEX CAPITAL CORP., AS
 ASSIGNEE OF PERFECT SIGNATURE,
 INC.; PICADELLO ENTERPRISES, INC.
 BY ENSURE, INC.; BIBBY
 TRANSPORTATION FINANCE, INC., AS
 ASSIGNEE OF PITTS LOGISTICS; JD
 FACTORS, LLC, AS ASSIGNEE OF PM
 GLOBAL; ASSIST FINANCIAL
 SERVICES, INC., AS ASSIGNEE OF PMB
 TRANSCARGO INC.; PREMIUM
 EXPRESS, INC.; RTS FINANCIAL
 SERVICE, AS ASSIGNEE OF PREMIUM
 EXPRESS, INC.; FIRSTLINE FUNDING

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 GROUP, AS ASSIGNEE OF PRESTIGE
 FREIGHT; PRESTIGE, INC.; PRIMARY
 TRANSPORTATION SERVICES, INC.;
 TAFS PREMIUM FINANCE, INC., AS
 ASSIGNEE OF PRIME
 TRANSPORTATION, LLC; BAXTER
 BAILEY & ASSOCIATES, AS ASSIGNEE
 OF PRIMUS LOGISTICS, INC.;
 ADVANCE BUSINESS CAPITAL LLC
 DBA TRIUMPH BUSINESS CAPITAL, AS
 ASSIGNEE OF PRIMUS LOGISTICS,
 INC.; PUMA LOGISTICS; CRESTMARK
 TPG LLC, AS ASSIGNEE OF PUMA
 LOGISTICS; Q CARRIERS, INC.;
 QUALITY FREIGHT, LLC; RTS
 FINANCIAL SERVICE, INC., AS
 ASSIGNEE OF QUALITY FREIGHT, LLC;
 QUALITY FREIGHT, LLC; QUALITY
 REFRIGERATED TRANSPORTATION;
 QUALITY TRANSPORT BROKERS
 CORP.; ADVANCE BUSINESS CAPITAL
 LLC DBA TRIUMPH BUSINESS
 CAPITAL, AS ASSIGNEE OF QUALITY
 WHEELS, INC.; QUICK FREIGHT
 LOGISTICS, INC.; ALADDIN
 FINANCIAL, INC., AS ASSIGNEE OF
 QUICKEX TRANSIT, INC.; APEX
 CAPITAL CORP., AS ASSIGNEE OF R F
 S GROUP, INC.; RIVIERA FINANCE, AS
 ASSIGNEE OF R2 TRANSPORTATION,
 INC.; RAMA TRANSPORTATION, LLC;
 RD LIMITED PARTNERSHIP DBA
 RICHARD DANIELS
 TRANSPORTATION; ADVANCE
 BUSINESS CAPITAL LLC DBA
 TRIUMPH BUSINESS CAPITAL, AS
 ASSIGNEE OF RD LIMITED
 PARTNERSHIP DBA RICHARD
 DANIELS TRANSPORTATION; REAL
 TRANSPORT, INC.; RTS FINANCIAL
 SERVICE, INC., AS ASSIGNEE OF REAL
 TRANSPORT, INC.; REAL TRUCKING,
 INC.; RECON LOGISTICS, LLC; APEX

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 CAPITAL CORP., AS ASSIGNEE OF RED
 LINE LOGISTICS, INC.; CD
 CONSORTIUM CORP., AS ASSIGNEE OF
 RED LINE TRANSIT, INC.; BAXTER
 BAILEY & ASSOCIATES, AS ASSIGNEE
 OF RELY TRANSPORT, INC.; APEX
 CAPITAL CORP., AS ASSIGNEE OF REY
 M APPLIANCES; BAXTER BAILEY &
 ASSOCIATES, AS ASSIGNEE OF RGX
 CARGO CORP.; INSIGHT
 TECHNOLOGY, INC., AS ASSIGNEE OF
 RHINO TRANSPORTATION, LLC; RIO
 IMPORTERS USA, INC.; ADVANCE
 BUSINESS CAPITAL LLC DBA
 TRIUMPH BUSINESS CAPITAL, AS
 ASSIGNEE OF RIVER NORTH
 INDUSTRIES, INC.; ROAD WOLVES
 INC.; RTS FINANCIAL SERVICE, INC.,
 AS ASSIGNEE OF ROAD WOLVES INC.;
 APEX CAPITAL CORP., AS ASSIGNEE
 OF ROADSTAR LOGISTICS, INC.;
 ROADSTAR, INC.; COMPASS FUNDING
 SOLUTIONS, AS ASSIGNEE OF ROMA
 LOGISTICS, INC.; SUNBELT FINANCE,
 AS ASSIGNEE OF ROUTE ONE LLC;
 TAFS PREMIUM FINANCE, INC., AS
 ASSIGNEE OF RP SUPER TRUCKING;
 BAXTER BAILEY & ASSOCIATES, AS
 ASSIGNEE OF RUSH, INC.; COMPASS
 FUNDING SOLUTIONS, AS ASSIGNEE
 OF RVS EXPRESS, INC.; BAXTER
 BAILEY & ASSOCIATES, AS ASSIGNEE
 OF RXG CARGO CORP.; ANSONIA
 CREDIT DATA DBA SOUTHWEST
 CREDIT MANAGEMENT ASSOC., INC.,
 AS ASSIGNEE OF S & H TRUCKING;
 APEX CAPITAL CORP., AS ASSIGNEE
 OF S & J CARRIER CORP.; S3 CAPITAL
 LLC; ASSIST FINANCIAL SERVICES,
 INC., AS ASSIGNEE OF SA EXPRESS
 INC.; SAM’S TRUCKING SERVICES,
 LLC; TBS FACTORING SERVICE, AS
 ASSIGNEE OF SANCHEZ FAMILY

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 TRUCKING, LLC; APEX CAPITAL
 CORP., AS ASSIGNEE OF SCARPITA
 CARTAGE, INC.; TBS FACTORING
 SERVICE, AS ASSIGNEE OF SEAGATE
 FREIGHT LLC; FIRSTLINE FUNDING
 GROUP, AS ASSIGNEE OF SEATTLE
 PROFESSIONAL MOVING; SECURITY
 TRANSPORT, INC.; SEDENA TRUCKING
 SERVICES, INC.; ORANGE
 COMMERCIAL CREDIT, AS ASSIGNEE
 OF SEDENA TRUCKING SERVICES,
 INC.; BAXTER BAILEY & ASSOCIATES,
 AS ASSIGNEE OF SEDENA TRUCKING
 SERVICES, INC.; SEVENOAKS
 CAPITAL, AS ASSIGNEE OF SELAM
 TRANS, INC.; RIVIERA FINANCE, AS
 ASSIGNEE OF SGS EXPRESS, INC.;
 APEX CAPITAL CORP., AS ASSIGNEE
 OF SHABDAN BROTHERS, INC.; OTR
 CAPITAL, LLC, AS ASSIGNEE OF
 SHEARS TRANSPORTATION; EAGLE
 CAPITAL CORPORATION, AS
 ASSIGNEE OF SHO NUFF TRUCKIN,
 INC.; SHOTGUN EXPRESS, INC.;
 SILVICOM, INC.; COMPASS FUNDING
 SOLUTIONS, AS ASSIGNEE OF
 SILWADY TRUCKING, INC.; COMPASS
 FUNDING SOLUTIONS, AS ASSIGNEE
 OF SIRUS CORP.; SKY EXPRESS, INC.;
 SKY TRANSPORT, INC.; RTS
 FINANCIAL SERVICE, INC., AS
 ASSIGNEE OF SKY TRANSPORT, INC.;
 SL BLACK FOX TRANSPORT, LLC;
 FOLEY CARRIER SERVICES, LLC, AS
 ASSIGNEE OF SMART CHOICE; SMART
 FREIGHT, INC.; RTS FINANCIAL
 SERVICE, INC., AS ASSIGNEE OF
 SMART FREIGHT, INC.; SMARTEN
 TRANSPORT; SMITH
 TRANSPORTATION SERVICES, INC.;
 SNR SOLUTIONS, INC.; SOLID GROUP,
 INC.; SONIC TRANS, INC.; SOUTH BAY
 LOGISTICS, INC.; SAINT JOHN

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 CAPITAL CORPORATION, AS
 ASSIGNEE OF SOUTH BAY LOGISTICS,
 INC.; COMPASS FUNDING SOLUTIONS,
 AS ASSIGNEE OF SOUTHWAY
 CARRIERS, INC.; SPECTRUM EXPRESS,
 INC.; RTS FINANCIAL SERVICE, INC.,
 AS ASSIGNEE OF SPECTRUM EXPRESS,
 INC.; SPEEDWAY LOGISTICS, INC.; RTS
 FINANCIAL SERVICE, INC., AS
 ASSIGNEE OF SPEEDWAY LOGISTICS,
 INC.; SPEEDX TRANSPORT; BAXTER
 BAILEY & ASSOCIATES, AS ASSIGNEE
 OF SPRINT EXPRESS INC.; ADVANCE
 BUSINESS CAPITAL LLC DBA
 TRIUMPH BUSINESS CAPITAL, AS
 ASSIGNEE OF ST. MARK OF ORLANDO
 LLC; STANDARD TRUCKING, LLC; RTS
 FINANCIAL SERVICE, INC., AS
 ASSIGNEE OF STANDARD TRUCKING
 LLC; STATE 2 STATE TRUCKS, INC.;
 PHOENIX CAPITAL GROUP, LLC, AS
 ASSIGNEE OF STATE 2 STATE
 TRUCKS, INC.; STOUGHTON
 LOGISTICS; STRADA LOGISTICS, LLC;
 JD FACTORS, LLC, AS ASSIGNEE OF
 STREAMX LLC; APEX CAPITAL CORP.,
 AS ASSIGNEE OF STRONGHAUL, INC.;
 APEX CAPITAL CORP., AS ASSIGNEE
 OF SUNRISE HIGHWAY, LLC;
 INTERSTATE CAPITAL CORP., AS
 ASSIGNEE OF SUNRISE LOGISTICS;
 BAXTER BAILEY & ASSOCIATES, AS
 ASSIGNEE OF SUPERIOR OVERNIGHT
 SERVICES, INC.; OTR CAPITAL, LLC,
 AS ASSIGNEE OF SUR TRUCKS, LLC; T
 & T FREIGHT; RTS FINANCIAL
 SERVICE, INC., AS ASSIGNEE OF T & T
 FREIGHT; TAC TRANS, INC.; APEX
 CAPITAL CORP., AS ASSIGNEE OF TAC
 TRANS, INC.; APEX CAPITAL CORP.,
 AS ASSIGNEE OF TACAN TRANSPORT,
 INC.; TADZ LOGISTICS INC.; TAK
 TRUCKING, INC.; RTS FINANCIAL

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 SERVICE, INC., AS ASSIGNEE OF TAK
 TRUCKING, INC.; ADVANCE BUSINESS
 CAPITAL LLC DBA TRIUMPH
 BUSINESS CAPITAL, AS ASSIGNEE OF
 TAN ELEGANT, INC.; TAYLOR TRUCK
 LINE; COMPASS FUNDING
 SOLUTIONS, AS ASSIGNEE OF TEMPO
 CARRIER, INC.; TGL LOGISTICS, INC.;
 CRESTMARK BANK LLC, AS ASSIGNEE
 OF TGL LOGISTICS, INC.; SUNBELT
 FINANCE, AS ASSIGNEE OF THE B
 BROTHER’S TRANSPORTATION
 CORPORATION; TAFS PREMIUM
 FINANCE, INC., AS ASSIGNEE OF
 THREE BROTHERS TRUCKING LLC;
 THREE WAY LOGISTICS, INC.; JD
 FACTORS, LLC, AS ASSIGNEE OF
 THUNDER LOGISTICS, INC.; TIGER
 LOGISTICS; RTS FINANCIAL SERVICE,
 INC., AS ASSIGNEE OF TIGER
 LOGISTICS; COMPASS FUNDING
 SOLUTIONS, AS ASSIGNEE OF TITAN
 FREIGHT LINES, INC.; TITAN QUALITY
 TRANSPORT; COMPASS FUNDING
 SOLUTIONS, AS ASSIGNEE OF TLT
 LOGISTICS, INC.; ADVANCE BUSINESS
 CAPITAL LLC DBA TRIUMPH
 BUSINESS CAPITAL, AS ASSIGNEE OF
 TNT EXPRESS, INC.; RIVIERA
 FINANCE, AS ASSIGNEE OF TOCHITOS
 TRUCKING 1 INC.; OTR CAPITAL, LLC,
 AS ASSIGNEE OF TOLOKEAA
 TRANSPORT; TOMBACH CORP.; APEX
 CAPITAL CORP., AS ASSIGNEE OF TOP
 TRANSIT, LLC; TOWER TRUCK LINES,
 INC.; ADVANCE BUSINESS CAPITAL
 LLC DBA TRIUMPH BUSINESS
 CAPITAL, AS ASSIGNEE OF TRAFIC
 TRUCKING, LLC; TRALO COMPANIES,
 INC.; TRANSFREIGHT LOGISTICS, INC.;
 BAXTER BAILEY & ASSOCIATES, AS
 ASSIGNEE OF TRANSFREIGHT
 LOGISTICS, INC.; RTS FINANCIAL

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 SERVICE, INC., AS ASSIGNEE OF
 TRANSFREIGHT LOGISTICS, INC.;
 TRANSHIELD TRUCKING, INC.; JD
 FACTORS, LLC, AS ASSIGNEE OF
 TRANSFINITY LOGISTICS, INC.;
 TRANSIT CORE, LLC; TRANSRAPID,
 INC.; CD CONSORTIUM CORP., AS
 ASSIGNEE OF TRANSRAPID, INC.;
 BAXTER BAILEY & ASSOCIATES, AS
 ASSIGNEE OF TRIVIUM TRANS, INC.;
 TRUCKING EXPERTS, LLC; RTS
 FINANCIAL SERVICE, INC., AS
 ASSIGNEE OF TRUCKING EXPERTS,
 LLC; APEX CAPITAL CORP., AS
 ASSIGNEE OF TRUCKLAND, INC.;
 COMPASS FUNDING SOLUTIONS, AS
 ASSIGNEE OF TRUCKS LLC; RIVIERA
 FINANCE, AS ASSIGNEE OF TS
 TRANSPORTATION, INC.; TUMAR
 EXPRESS, INC.; TVM EXPRESS, INC.;
 APEX CAPITAL CORP., AS ASSIGNEE
 OF TWIN CITIES CARRIER, INC.; TWIN
 EXPRESS, INC.; RIVIERA FINANCE, AS
 ASSIGNEE OF TWIN LOGISTICS
 EXPRESS, INC.; U BROTHERS INC.;
 COMPASS FUNDING SOLUTIONS, AS
 ASSIGNEE OF UAL EXPRESS, INC.; TBS
 FACTORING SERVICE, LLC, AS
 ASSIGNEE OF UBER TRUCKING, LLC;
 ULTRA TRUCKING, INC.; BAXTER
 BAILEY & ASSOCIATES, AS ASSIGNEE
 OF UNI TRANS, INC.; JD FACTORS,
 LLC, AS ASSIGNEE OF UNICO TRANS
 CORP.; COMPASS FUNDING
 SOLUTIONS, AS ASSIGNEE OF UNIQUE
 FREIGHT CARRIERS, INC.; ORANGE
 COMMERCIAL CREDIT, AS ASSIGNEE
 OF UNITED TRANS GROUP, INC.;
 SEVENOAKS CAPITAL, AS ASSIGNEE
 OF UNITED TRANSPORT LOGISTICS;
 ASSIST FINANCIAL SERVICES, INC. OF
 UNITRANS INC.; JD FACTORS, LLC, AS
 ASSIGNEE OF UNLIMITED FREIGHT

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 INC.; US ADVANCE
 TRANSPORTATION, INC.; JD FACTORS,
 LLC, AS ASSIGNEE OF US
 EXPEDITORS, INC.; ASSIST FINANCIAL
 SERVICES, INC., AS ASSIGNEE OF US
 EXPRESS INC.; CRESTMARK BANK, AS
 ASSIGNEE OF US FREIGHTWAYS
 LOGISTICS, INC.; USA CARGO, INC.;
 COMPASS FUNDING SOLUTIONS, AS
 ASSIGNEE OF USA LOGISTICS, INC.;
 APEX CAPITAL CORP., AS ASSIGNEE
 OF USKO EXPRESS INC.; VALOR
 EXPRESS, INC.; LSQ FUNDING GROUP,
 L.C., AS ASSIGNEE OF VALOR
 EXPRESS, INC.; VAN DAM
 TRANSPORT; VARGAS
 TRANSPORTATION LLC; VARTA, INC.;
 RTS FINANCIAL SERVICE, INC., AS
 ASSIGNEE OF VARTA, INC.; APEX
 CAPITAL CORP., AS ASSIGNEE OF VBS
 EXPRESS, INC.; OTR CAPITAL, LLC, AS
 ASSIGNEE OF VGK EXPRESS, INC.; VIA
 LOGISTICS, INC.; RTS FINANCIAL
 SERVICE, INC., AS ASSIGNEE OF VIA
 LOGISTICS, INC.; VICTORY TRANSIT,
 INC.; ADVANCE BUSINESS CAPITAL,
 LLC, DBA TRIUMPH BUSINESS
 CAPITAL, AS ASSIGNEE OF VICTORY
 TRANSIT, INC.; INTERSTATE CAPITAL
 CORPORATION, AS ASSIGNEE OF
 VIKINGS TRUCKING; COMPASS
 FUNDING SOLUTIONS, AS ASSIGNEE
 OF VIKTOR TRANSPORTATION, INC.;
 BAXTER BAILEY & ASSOCIATES, AS
 ASSIGNEE OF VILANO
 INCORPORATED; FIRSTLINE FUNDING
 GROUP, AS ASSIGNEE OF VINTAGE
 TRANSPORT LLC; VIP EXPEDITED;
 APEX CAPITAL CORP., AS ASSIGNEE
 OF VITO LLC; APEX CAPITAL CORP.,
 AS ASSIGNEE OF VKP LINE, INC.;
 COMPASS FUNDING SOLUTIONS, AS
 ASSIGNEE OF VL TRUCKING, INC.;

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 ASSIST FINANCIAL SERVICES, INC., AS
 ASSIGNEE OF VMB TRANSPORTATION
 INC.; CD CONSORTIUM CORP., AS
 ASSIGNEE OF VODIK TRANSPORT,
 INC.; VERO BUSINESS CAPITAL LLC,
 AS ASSIGNEE OF VOLCANO
 TRANSPORT, INC.; APEX CAPITAL
 CORP., AS ASSIGNEE OF VOYAGER
 NATION, INC.; RTS FINANCIAL
 SERVICE, INC., AS ASSIGNEE OF VS
 EXPRESS, INC.; BAXTER BAILEY &
 ASSOCIATES, AS ASSIGNEE OF VS
 EXPRESS, INC.; COMPASS FUNDING
 SOLUTIONS, AS ASSIGNEE OF VS
 TRUCKLINES, INC.; TAFS PREMIUM
 FINANCE, INC., AS ASSIGNEE OF VSM
 EXPRESS; TRANSAM FINANCIAL
 SERVICES, INC., AS ASSIGNEE OF VSM
 EXPRESS; TBS FACTORING SERVICE,
 LLC, AS ASSIGNEE OF WERK’S
 TRUCKIN LLC; APEX CAPITAL CORP.,
 AS ASSIGNEE OF WEST COAST
 EXPRESS; BAXTER BAILEY &
 ASSOCIATES, AS ASSIGNEE OF WEST
 PROLINE LOGISTICS; WEST PROLINE
 LOGISTICS; QUICK PAY, AS ASSIGNEE
 OF WEST PROLINE LOGISTICS;
 FIRSTLINE FUNDING GROUP, AS
 ASSIGNEE OF WESTERN LINES, INC.;
 APEX CAPITAL CORP., AS ASSIGNEE
 OF WESTERN TRANSPORT, LLC;
 WHITE STAR TRANSPORT, INC.; BAY
 VIEW FUNDING, AS ASSIGNEE OF
 WHITE STAR TRANSPORT, INC.; WILD
 EAGLE EXPRESS; FIRSTLINE FUNDING
 GROUP, AS ASSIGNEE OF WILLIAMS
 TRANSPORT; FIRSTLINE FUNDING
 GROUP, AS ASSIGNEE OF WINDSTAR
 LINES; WINDY HILL FOLIAGE, INC.;
 RIVIERA FINANCE, AS ASSIGNEE OF
 XXX LOGISTICS, INC.; ADVANCE
 BUSINESS CAPITAL LLC DBA
 TRIUMPH BUSINESS CAPITAL, AS

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 ASSIGNEE OF YARE EXPRESS;
 FINANCIAL CARRIER SERVICES, INC.,
 AS ASSIGNEE OF YD TRUCKING
 CORP.; COMPASS FUNDING
 SOLUTIONS, AS ASSIGNEE OF YOPO
 TRANSPORT; APEX CAPITAL CORP.,
 AS ASSIGNEE OF YUGO EXPRESS,
 INC.; BAXTER BAILEY & ASSOCIATES,
 AS ASSIGNEE OF YULIVAN CARRIERS,
 INC.; Z TOP LOGISTICS, INC.; CREDIT
 EXPRESS, INC., AS ASSIGNEE OF Z TOP
 LOGISTICS, INC.; Z TRANSPORTATION,
 INC.; RTS FINANCIAL SERVICE, INC.,
 AS ASSIGNEE TO Z
 TRANSPORTATION, INC.; BIBBY
 TRANSPORTATION FINANCE, INC., AS
 ASSIGNEE OF ZAKPOL TRUCKING;
 ADVANCE BUSINESS CAPITAL LLC
 DBA TRIUMPH BUSINESS CAPITAL, AS
 ASSIGNEE OF ZAR’S EXPRESS;
 BAXTER BAILEY & ASSOCIATES, AS
 ASSIGNEE OF ZDL EXPRESS, INC.;
 ADVANCE BUSINESS CAPITAL LLC
 DBA TRIUMPH BUSINESS CAPITAL, AS
 ASSIGNEE OF ZEMA
 TRANSPORTATION, LLC; APEX
 CAPITAL CORP., AS ASSIGNEE OF
 ZEROMAX MOTORS, INC.

                Defendants.




                       AMENDED COMPLAINT IN INTERPLEADER

        Merchants Bonding Company (Mutual) (“Merchants”), by and through its counsel, sets

 forth for its Amended Complaint for Interpleader against the Interpleader Defendants as set forth

 below (collectively referred to as the “Interpleader Defendants”) and states the following:


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                                            PARTIES

        1.      Merchants is an Iowa corporation with its principal place of business located in

 West Des Moines, Iowa.

        2.      Interpleader Defendant Apex Capital Corp. as assignee of 10-4 Alliance LLC, is,

 on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        3.      Interpleader Defendant 1st Choice Express, Inc., is, on information and belief, an

 Illinois corporation and can be served through its registered agent Adam Derkacz, 43 E. Pine

 Ave., Roselle, IL 60172.

        4.      Interpleader Defendant Sunbelt Finance, as Assignee of 2K Transportation, Inc.,

 is, on information and belief, an Arizona corporation and can be served         through Mickey

 Seeman, Sunbelt’s Registered Agent, 2900 Browns Ln., Jonesboro, AR 72401.

        5.      Interpleader Defendant, Compass Funding Solutions, as Assignee of 4 Way

 Trans, LLC, is, on information and belief, an Illinois corporation and can be served through

 Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge,

 IL 60527.

        6.      Interpleader Defendant, Bibby Transportation Finance, Inc., as Assignee of A &

 D Carrier, is, on information and belief, a Georgia corporation, and can be served through

 Corporation Service Company, Bibby’s Registered Agent, 40 Technology Parkway South, Suite

 300, Norcross, GA 30092.



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        7.      Interpleader Defendant, Phoenix Capital Group, LLC, as Assignee of A & E First

 Choice Moving Transportation, is, on information and belief, a Texas corporation, and can be

 served through Craig Berry, Phoenix’s Registered Agent, 8707 E. Vista Bonita Drive, Scottsdale,

 AZ 85255.

        8.      Interpleader Defendant, Apex Capital Corp., as Assignee of A & L Transit, Inc.,

 is, on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        9.      Interpleader Defendant, Pavestone Capital, as Assignee of A & S Trucking, LLC,

 is, on information and belief, an Idaho corporation, and can be served through Diana Clover,

 Pavestone’s Registered Agent, 6905 Hwy. 95, Fruitland, ID 83619.

        10.     Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of A & T Trucking, LLC, is, on information and belief, a Texas corporation

 and can be served through its registered agent Corporation Service Company dba Lawyers

 Incorporating Service Company, 211 E. 7th St., Suite 620, Austin, TX 78701.

        11.     Interpleader Defendant, Apex Capital Corp., as Assignee of A D A Logistics

 Corp., is, on information and belief, a Texas corporation and can be served through its registered

 agent Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        12.     Interpleader Defendant, SevenOaks Capital, as Assignee of A Family Towing &

 Transport, is, on information and belief, a Louisiana corporation, and can be served through

 Jeffry E. Foil, SevenOaks’ Registered Agent, 7854 Anselmo Ln., Baton Rouge, LA 70810.




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          13.   Interpleader Defendant, Apex Capital Corp., as Assignee of A G & B Logistics,

 is, on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

          14.   Interpleader Defendant, Apex Capital Corp., as Assignee of A N Enterprise, Inc.,

 is, on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

          15.   Interpleader Defendant, Apex Capital Corp., as Assignee of A N M Transport,

 LLC, is, on information and belief, a Texas corporation and can be served through its registered

 agent Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

          16.   Interpleader Defendant, Compass Funding Solutions, as Assignee of A1 Freight,

 Inc., is, on information and belief, an Illinois corporation and can be served through Arleesia

 McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge, IL

 60527.

          17.   Interpleader Defendant, Interstate Capital Corporation, as Assignee of Above Par

 Transportation, is, on information and belief, a New Mexico corporation and can be served

 through Interstate Financial Corporation, Interstate’s Registered Agent, 1255 Country Club Rd.,

 #D, Santa Teresa, NM 88008.

          18.   Interpleader Defendant, Vero Business Capital LLC, as Assignee of AC Express,

 Inc., is, on information and belief a Tennessee corporation, and can be served through Paracorp

 Incorporated, Vero’s Registered Agent, 992 Davidson Dr., Suite B, Nashville, TN 37205.




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        19.     Interpleader Defendant, Adex, Inc., is, on information and belief, an Illinois

 corporation, and can be served through Artur Dawidowski, Registered Agent, 827 Medford Dr.,

 Carol Stream, IL 60188.

        20.     Interpleader Defendant RTS Financial Service, as Assignee of Adex, Inc., is, on

 information and belief, a Kansas corporation, and can be served through Corporation Service

 Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS 66614.

        21.     Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of Advance Transport, Inc., is, on information and belief, a Texas

 corporation, and can be served through Corporation Service Company dba Lawyers

 Incorporating Service Company, Advance Business’ Registered Agent, 211 E. 7th St., Suite 620,

 Austin, TX 78701.

        22.     Interpleader Defendant, AG Expedited, Inc., is, on information and belief, an

 Illinois corporation, and can be served through Arturas Gurskas, Registered Agent, 676

 Cumberland Trl., Apt. B1, Roselle, IL 60172.

        23.     Interpleader Defendant, AG Lines, Inc., is, on information and belief, an Illinois

 corporation, and can be served through Arunas Kucinskas, Registered Agent, 8546 W. 103

 Terrace, 101, Palos Hills, IL 60465.

        24.     Interpleader Defendant, Airline Transportation, is, on information and belief, a

 Minnesota corporation, and can be served through its Registered Agent, 3030 Lexington Ave.,

 Suite 150, Eagan, MN 55121.

        25.     Interpleader Defendant, Crestmark Bank, as Assignee of Airtime Express, Inc., is,

 on information and belief, a Tennessee corporation, and can be served through Heath

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 Holdbrooks, Crestmark’s Registered Agent, 800 Crescent Centre Dr., Suite 620, Franklin, TN

 37067.

          26.   Interpleader Defendant, Apex Capital Corp., as Assignee of Akal Trucking, LLC,

 is, on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

          27.   Interpleader Defendant, Interstate Capital Corporation, as Assignee of Amazon

 Logistics, is, on information and belief, a New Mexico corporation and can be served through

 Interstate Financial Corporation, Interstate’s Registered Agent, 1255 Country Club Rd., #D,

 Santa Teresa, NM 88008.

          28.   Interpleader Defendant, American Motor Transportation, Inc., is, on information

 and belief, an Illinois corporation, and can be served through Milos Bozovic, Registered Agent

 621 Plainfield Rd., #401, Willowbrook, IL 60527.

          29.   Interpleader Defendant, RTS Financial Service, as Assignee of American Motor

 Transportation, Inc., is, on information and belief, a Kansas corporation, and can be served

 through Corporation Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite

 204, Topeka, KS 66614.

          30.   Interpleader Defendant, Amerifreight Systems, LLC, is, on information and

 belief, an Illinois corporation and can be served through Rumen B. Valnev, Registered Agent

 8747 W. Bryn Mawr Ave., #408, Chicago, IL 60631.

          31.   Interpleader Defendant, RTS Financial Service, as Assignee of Amerifreight

 Systems, LLC, is, on information and belief, a Kansas corporation, and can be served through



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 Corporation Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204,

 Topeka, KS 66614.

          32.   Interpleader Defendant, Vero Business Capital LLC, as Assignee of Amerigo,

 Inc., is, on information and belief a Tennessee corporation, and can be served through Paracorp

 Incorporated, Vero’s Registered Agent, 992 Davidson Dr., Suite B, Nashville, TN 37205.

          33.   Interpleader Defendant, AMG Freight, is, on information and belief, an Illinois

 corporation, and can be served through Tuul Dashzeveg, Registered Agent, 709 Rose Rd., Lake

 Zurich, IL 60047.

          34.   Interpleader Defendant, AMG Logistics, Inc., is, on information and belief, an

 Illinois corporation, and can be served through Elizabeth Vasko, Registered Agent. 3 Grant Sq.,

 #221, Hinsdale, IL 60521.

          35.   Interpleader Defendant, RTS Financial Service, as Assignee of AMG Logistics,

 Inc., is, on information and belief, a Kansas corporation, and can be served through Corporation

 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.

          36.   Interpleader Defendant, AMZ Trans, Inc., is, on information and belief, an Illinois

 corporation, and can be served through Yuriy Zhdan, Registered Agent, 8711 S. 77th Ave.,

 Bridgeview, IL 60455.

          37.   Interpleader Defendant CD Consortium Corporation, as Assignee of AMZ Trans,

 Inc., is, on information and belief, an Illinois corporation, and can be served through Nick

 Tanglis, CD’s Registered Agent, 8930 N. Waukegan Rd., #230, Morton Grove, IL 60053.



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        38.     Interpleader Defendant, ANG Transportation, Inc., is, on information and belief,

 an Illinois corporation, and can be served through Atanas Ivanov, Registered Agent, 425 Factory

 Rd., Addison, IL 60101.

        39.     Interpleader Defendant, Assist Financial Services, Inc., as Assignee of AP

 Trucking LLC, is, on information and belief, a South Dakota corporation, and can be served

 through Brian G. Kringen, Assist’s Registered Agent, 1533 NW 2nd St., Madison, SD 57042.

        40.     Interpleader Defendant, Foley Carrier Services, LLC, as Assignee of Aplus

 Express, is, on information and belief, a Nebraska corporation, and can be served through

 Cogency Global, Inc., Foley’s Registered Agent, 5601 E. 59th St., Suite C, Lincoln, NE 68516.

        41.     Interpleader Defendant CJM Financial, Inc., as Assignee of A-Plus Trucking,

 LLC, is, on information and belief, an Iowa corporation, and can be served through Trent

 Murphy, CJM’s Registered Agent, 1014 SE Lorenz Dr., Ankeny, IA 50021.

        42.     Interpleader Defendant, Compass Funding Solutions, as Assignee of Arch

 Transport, LLC, is, on information and belief, an Illinois corporation and can be served through

 Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge,

 IL 60527.

        43      Interpleader Defendant Apex Capital Corp. as assignee of Arm Lines, Inc., is, on

 information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        44.     Interpleader Defendant, Arnhalt Transportation Brokerage, Inc., is, on

 information and belief, a North Dakota corporation, and can be served through Kevin J. Arnhalt,

 Registered Agent, 4141 38th St. SW, Suite C2, Fargo, ND 58104.

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        45.     Interpleader Defendant, Arrow Trans Corp., is, on information and belief, an

 Illinois corporation, and can be served through Anna Klich, Registered Agent, 1183 E. Azalea

 Ln., Unit A, Palatine, IL 60074.

        46.     Interpleader Defendant Art Logistics, is, on information and belief, an Illinois

 corporation, and can be served through Arkadiusz Gruszka, Registered Agent, 13067 Main St.,

 Lemont, IL 60439.

        47.     Interpleader Defendant Riviera Finance of Texas, Inc., as Assignee of Art

 Logistics, is, on information and belief, an Illinois corporation, and can be served through Incorp

 Services, Riviera’s Registered Agent, 901 S. 2nd St., Suite 201, Springfield, IL 62704.

        48.     Interpleader Defendant Artudianti, Inc., is, on information and belief, an Illinois

 corporation, and can be served through Irakli Rekhviashvili, Registered Agent, 9439 Nerbonne

 Avenue, Franklin Park, IL 60131.

        49.     Interpleader Defendant RTS Financial Service, as Assignee of Artudianti, Inc., is,

 on information and belief, a Kansas corporation, and can be served through Corporation Service

 Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS 66614.

        50.     Interpleader Defendant, AT Line, Inc., is, on information and belief, an Illinois

 corporation, and can be served through Aleksandar Todorovic, Registered Agent, 6509 N. Hoyne

 Ave., Apt. 2N, Chicago, IL 60645.

        51.     Interpleader Defendant Fleet One Factoring, LLC, as Assignee of AT Line, Inc.,

 is, on information and belief, a Tennessee corporation and can be served through Corporation

 Service Company, Fleet’s Registered Agent, 2908 Poston Ave., Nashville, TN 37203.



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          52.   Interpleader Defendant ATD Express, Inc., is, on information has assigned its

 claim to Assist Financial Services, Inc. which, on information and belief is a South Dakota

 corporation that can be served through Brian G. Kringen, Assist’s Registered Agent, 1533 NW

 2nd St., Madison, SD 57042.

          53.   Interpleader Defendant FirstLine Funding Group, as Assignee of Atlantic Coast

 Logistics, is, on information and belief, a South Dakota corporation, and can be served through

 First Bank & Trust, First Line’s Registered Agent, 110 N. Minnesota Ave., Sioux Falls, SD

 57104.

          54.   Interpleader Defendant, Autodina, Corp., is, on information and belief, an Illinois

 corporation, and can be served through Marius Miloncius, Registered Agent, 526 Keepawaw Dr.,

 Lemont, IL 60439.

          55.   Interpleader Defendant Freight Factoring Specialists, as Assignee of Avail

 Transport, Inc., is, on information and belief, a Florida corporation and can be served through

 Newman Holdings, LLC, Freight’s Registered Agent, 3284 N. 29th Ct., Hollywood, FL 33020.

          56.   Interpleader Defendant Apex Capital Corp. as assignee of B & K Group, Inc., is,

 on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

          57.   Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of B & M Express, Inc., is, on information and belief, a Texas corporation

 and can be served through its registered agent Corporation Service Company dba Lawyers

 Incorporating Service Company, 211 E. 7th St., Suite 620, Austin, TX 78701.



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          58.   Interpleader Defendant TBS Factoring Service, as Assignee of B.W.R.

 Transportation, Inc., is, on information and belief, an Oklahoma corporation, and can be served

 through Wood Kaufman, TBS’ Registered Agent, 3909 N. Classen Blvd., Oklahoma City, OK

 73118.

          59.   Interpleader Defendant Sunbelt Finance, as Assignee of Bandera Transportation,

 Inc., is, on information and belief, an Arizona corporation, and can be served through Mickey

 Seeman, Sunbelt’s Registered Agent, 2900 Browns Ln., Jonesboro, AR 72401.

          60.   Interpleader Defendant Bay and Bay Transportation, is, on information and belief,

 a Minnesota corporation, and can be served through its Registered Agent, 3686 E. 140th St.,

 Rosemount, MN 55068.

          61.   Interpleader Defendant, Compass Funding Solutions, as Assignee of BB Wolf,

 Inc., is, on information and belief, an Illinois corporation and can be served through Arleesia

 McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge, IL

 60527.

          62.   Interpleader Defendant JD Factors, LLC, as Assignee of BBS Trucking, Inc., is,

 on information and belief, an Illinois corporation, and can be served through C T Corporation

 System, JD’s Registered Agent, 208 S. LaSalle St., Suite 814, Chicago, IL 60604.

          63.   Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of Bekteshi Logistics, Inc., is, on information and belief, a Texas

 corporation, and can be served through Corporation Service Company dba Lawyers

 Incorporating Service Company, Advance Business’ Registered Agent, 211 E. 7th St., Suite 620,

 Austin, TX 78701.

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        64.    Interpleader Defendant Benjamin Best Freight, is, on information and belief, an

 Ohio corporation and can be served through Howard D. Cade III, Registered Agent, 526 A

 Wards Corner Rd., Loveland, OH 45104.

        65.    Interpleader Defendant, Apex Capital Corp., as Assignee of Best Way Logistics,

 Inc., is, on information and belief, a Texas corporation and can be served through its registered

 agent Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        66.    Interpleader Defendant BFreight, Inc., is, on information and belief, an Illinois

 corporation and can be served through Bohdan M. Farbota, 700 Wellington Ave., #219, Elk

 Grove Village, IL 60007.

        67.    Interpleader Defendant, RTS Financial Service, as Assignee of BFreight, Inc., is,

 on information and belief, a Kansas corporation, and can be served through Corporation Service

 Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS 66614.

        68.    Interpleader Defendant, Compass Funding Solutions, as Assignee of BH92

 Trucking, Inc., is, on information and belief, an Illinois corporation and can be served through

 Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge,

 IL 60527.

        69.    Interpleader Defendant BL Quality Trans Inc. is, on information and belief, an

 Illinois corporation and can be served through Luminita Bivol, Registered Agent, 1080 Knoll

 Ln., Apt 308, Hoffman Estates, IL 60169.

        70.    Interpleader Defendant Credit Express, Inc., as Assignee of BL Quality Trans

 Inc., is, on information and belief, an Illinois corporation and can be served through Alexander

 Narod, Credit’s Registered Agent., 601 Skokie Blvd., Suite 503, Northbrook, IL 60062.

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          71.   Interpleader Defendant, Black Sea Transportation, is, on information and belief,

 an Illinois corporation and can be served through Darina Georgieva, Registered Agent, 909

 Hammerschmidt Ave., Lombard, IL 60148.

          72.   Interpleader Defendant, Apex Capital Corp., as Assignee of Black Sea

 Transportation, is, on information and belief, a Texas corporation and can be served through its

 registered agent, Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

          73.   Interpleader Defendant Black Wolf Transportation, is, on information and belief

 an Illinois corporation and can be served through Edyta Ksiag, Registered Agent. 600 Tollgate

 Rd., Suite C. Elgin, IL 60123.

          74.   Interpleader Defendant, RTS Financial Service, as Assignee of Black Wolf

 Transportation, is, on information and belief, a Kansas corporation, and can be served through

 Corporation Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204,

 Topeka, KS 66614.

          75.   Interpleader Defendant Blast Transport, Inc., is, on information and belief, an

 Illinois corporation and can be served through Marcin Stajniak, Registered Agent, 296 N.

 Addison Rd., Wood Dale, IL 60191.

          76.   Interpleader Defendant, RTS Financial Service, as Assignee of Blast Transport,

 Inc., is, on information and belief, a Kansas corporation, and can be served through Corporation

 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.

          77.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of Bluestar

 Services, LLC, is, on information and belief a Mississippi corporation and can be served through

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 C T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101,

 Flowood, MS 39232.

          78.   Interpleader Defendant, Bibby Transportation Finance, Inc., as Assignee of

 Bluestone Enterprises, is, on information and belief, a Georgia corporation, and can be served

 through Corporation Service Company, Bibby’s Registered Agent, 40 Technology Parkway

 South, Suite 300, Norcross, GA 30092.

          79.   Interpleader Defendant BM, Corp. is, on information and belief an Illinois

 corporation and can be served through Tomasz Dziugan, Registered Agent, 717 Utah Cir., Elk

 Grove Village, IL 60007.

          80.   Interpleader Defendant Bo Tech Transportation is, on information and belief a

 California corporation and can be served through Hugo Hernandez, Owner, 2678 Kenwood Ct.,

 Tulare, CA 92374.

          81.   Interpleader Defendant FirstLine Funding Group, as Assignee of Boost

 Enterprises, is, on information and belief, a South Dakota corporation, and can be served through

 First Bank & Trust, First Line’s Registered Agent, 110 N. Minnesota Ave., Sioux Falls, SD

 57104.

          82.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of Boost

 Enterprises, is, on information and belief a Mississippi corporation and can be served through C

 T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101, Flowood,

 MS 39232.




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        83.    Interpleader Defendant FirstLine Funding Group, as Assignee of BR Cargo, is, on

 information and belief, a South Dakota corporation, and can be served through First Bank &

 Trust, First Line’s Registered Agent, 110 N. Minnesota Ave., Sioux Falls, SD 57104.

        84.    Interpleader Defendant BR Cargo, LLC, is, on information and belief, an Illinois

 corporation and can be served through Spiegel & Utrera, PA, Registered Agent, 123 W Madison

 St., Suite 806, Chicago, IL 60602.

        85.    Interpleader Defendant Phoenix Capital Group, LLC, as Assignee of Brave

 Freight, is, on information and belief, a Texas corporation and can be served through Craig

 Berry, Phoenix’s Registered Agent, 8707 E. Vista Bonita Drive, Scottsdale, AZ 85255.

        86.    Interpleader Defendant OTR Capital, LLC, as Assignee of BRF Enterprises, is, on

 information and belief, a Georgia corporation and can be served through CT Corporation

 System, OTR’s Registered Agent, 289 S. Culver St., Lawrenceville, GA 30046.

        87.    Interpleader Defendant Brian, Inc., is, on information and belief, a Wisconsin

 corporation and can be served through its Registered Agent, 6201A S. Ace Industrial Dr.,

 Cudahy, WI 53110.

        88.    Interpleader Defendant Brite Logistics, Inc. is, on information and belief, an

 Illinois corporation, and can be served through Eric J. Emerson, Registered Agent, 53 W.

 Jackson Blvd., Suite 526, Chicago, IL 60604.

        89.    Interpleader Defendant BTI, Inc., is, on information and belief, an Illinois

 corporation and can be served through Volodymyr Borshchovskyy, Registered Agent, 1N547

 Forest Ave., Glen Ellyn, IL 60137.



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          90.   Interpleader Defendant FirstLine Funding Group, as Assignee of Bulls Eye

 Expedition, is, on information and belief, a South Dakota corporation, and can be served through

 First Bank & Trust, First Line’s Registered Agent, 110 N. Minnesota Ave., Sioux Falls, SD

 57104.

          91.   Interpleader Defendant Bulmaks, Inc., is, on information and belief, an Illinois

 corporation and can be served through Yosif Lukov, Registered Agent, 709 Merlin Dr.,

 Schaumburg, IL 60193.

          92.   Interpleader Defendant, RTS Financial Service, as Assignee of Bulmaks, Inc., is,

 on information and belief, a Kansas corporation, and can be served through Corporation Service

 Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS 66614.

          93.   Interpleader Defendant TBS Factoring Service, as Assignee of Burton

 Transportation Services, LLC, is, on information and belief, an Oklahoma corporation, and can

 be served through Wood Kaufman, TBS’ Registered Agent, 3909 N. Classen Blvd., Oklahoma

 City, OK 73118.

          94.   Interpleader Defendant Business Lines Corp., is, on information and belief, a

 Delaware corporation and can be served through Legalinc Corporate Services, Inc., Registered

 Agent, 2035 Sunset Lake Rd., Suite B-2, Newark, DE 19702.

          95.   Interpleader Defendant CD Consortium Corporation, as Assignee of Business

 Lines Corp., is, on information and belief, an Illinois corporation, and can be served through

 Nick Tanglis, CD’s Registered Agent, 8930 N. Waukegan Rd., #230, Morton Grove, IL 60053.




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        96.    Interpleader Defendant, Foley Carrier Services, LLC, as Assignee of Butter B

 Trucking, is, on information and belief, a Nebraska corporation, and can be served through

 Cogency Global, Inc., Foley’s Registered Agent, 5601 E. 59th St., Suite C, Lincoln, NE 68516.

        97.    Interpleader Defendant, C & I Trucking, Inc., on information and belief is a Texas

 corporation and can be served through Maria Morales, Registered Agent, 302 Crossbill St.,

 Laredo, TX 78045.

        98.    Interpleader Defendant Apex Capital Corp. as assignee of C R N A, is, on

 information and belief, a Texas corporation and can be served through its registered agent Dean

 A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        99.    Interpleader Defendant, Crestmark Bank, as Assignee of Cannon, LLC, is, on

 information and belief, a Tennessee corporation, and can be served through Heath Holdbrooks,

 Crestmark’s Registered Agent, 800 Crescent Centre Dr., Suite 620, Franklin, TN 37067.

        100.   Interpleader Defendant Apex Capital Corp. as assignee of Capitol Trucking, Inc.,

 is, on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        101.   Interpleader Defendant, Steelhead Finance, as Assignee of Car Transport, Inc., is,

 on information and belief an Oregon corporation and can be served through Roger Hull,

 Steelhead’s Registered Agent, 3518 Heathrow Way, Medford, OR 97504.

        102.   Interpleader Defendant Apex Capital Corp. as assignee of Cargal Transport, LLC,

 is, on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.



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        103.   Interpleader Defendant Cargo Transit Corp. is, on information and belief, an

 Illinois corporation and can be served through Marek Raczka, Registered Agent, 6720 W. Dakin,

 Chicago, IL 60634.

        104.   Interpleader Defendant TAFS Premium Finance, Inc., as Assignee of Cargo USA,

 Inc., is, on information and belief, a Missouri corporation and can be served through C T

 Corporation System, TAFS’ Registered Agent, 120 South Central Ave., Clayton, MO 63105.

        105.   Interpleader Defendant Apex Capital Corp. as assignee of Cargomax Incoporated,

 is, on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        106.   Interpleader Defendant Apex Capital Corp. as assignee of Cargox, Inc., is, on

 information and belief, a Texas corporation and can be served through its registered agent Dean

 A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        107.   Interpleader Defendant Carrier Management, Inc. is, on information and belief, an

 Illinois corporation and can be served through Gytis Dobenas, Registered Agent, 869 Trace Dr.,

 #204, Buffalo Grove, IL 60089.

        108.   Interpleader Defendant, RTS Financial Service, as Assignee of Carrier

 Management, Inc., is, on information and belief, a Kansas corporation, and can be served

 through Corporation Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite

 204, Topeka, KS 66614.

        109.   Interpleader Defendant OTR Capital, LLC, as Assignee of Carry On Express

 Logistics is, on information and belief, a Georgia corporation and can be served through CT

 Corporation System, OTR’s Registered Agent, 289 S. Culver St., Lawrenceville, GA 30046.

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          110.   Interpleader Defendant CD Consortium Corp. is, on information and belief, an

 Illinois corporation and can be served through Nick Tanglis, Registered Agent, 8930 N.

 Waukegan Rd., #230, Morton Grove, IL 60053.

          111.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of CDA

 Delivery Service, Inc., is, on information and belief a Mississippi corporation and can be served

 through C T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101,

 Flowood, MS 39232.

          112.   Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of Central Logistics, LLC, is, on information and belief, a Texas

 corporation, and can be served through Corporation Service Company dba Lawyers

 Incorporating Service Company, Advance Business’ Registered Agent, 211 E. 7th St., Suite 620,

 Austin, TX 78701.

          113.   Interpleader Defendant Central Logistics Group, Inc. is, on information and

 belief, an Illinois corporation and can be served through Tetyana Dovhaychuk, Registered Agent,

 500 E. St. Charles Rd., Suite 504, Lombard, IL 60148.

          114.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of Chris Lines

 Company, is, on information and belief a Mississippi corporation and can be served through C T

 Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101, Flowood, MS

 39232.

          115.   Interpleader Defendant CMW Transport Co., Inc. is, on information and belief, an

 Indiana corporation and can be served through David N. Miller, Registered Agent, 2715 Marion

 Dr., Kendallville, IN 46755.

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          116.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of Coast

 Connection, Inc., is, on information and belief a Mississippi corporation and can be served

 through C T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101,

 Flowood, MS 39232.

          117.   Interpleader Defendant Conick Logistics, Inc. is, on information and belief, an

 Illinois corporation and can be served through Cornel Murgu, Registered Agent, 2555 W. Victor,

 Apt. 211, Glenview, IL 60025.

          118.   Interpleader Defendant TAFS Premium Finance, Inc., as Assignee of Continental

 Freight Solutions, is, on information and belief, a Missouri corporation and can be served

 through C T Corporation System, TAFS’ Registered Agent, 120 South Central Ave., Clayton,

 MO 63105.

          119.   Interpleader Defendant, Compass Funding Solutions, as Assignee of Corb, Inc.,

 is, on information and belief, an Illinois corporation and can be served through Arleesia

 McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge, IL

 60527.

          120.   Interpleader Defendant Pavestone Capital, as Assignee of Cowboy Logistics, LLC

 is, on information and belief, an Idaho corporation and can be served through Diana Clover,

 Pavestone’s Registered Agent, 6905 Hwy. 95, Fruitland, ID 83619.

          121.   Interpleader Defendant Cross Express, Co. is, on information and belief, an

 Illinois corporation and can be served through Dimitar Yovov, Registered Agent, 875 E. Devon

 Ave., Elk Grove Village, IL 60007.



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        122.   Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of D & M Logistics,, LLC, is, on information and belief, a Texas

 corporation, and can be served through Corporation Service Company dba Lawyers

 Incorporating Service Company, Advance Business’ Registered Agent, 211 E. 7th St., Suite 620,

 Austin, TX 78701.

        123.   Interpleader Defendant D & S Factors LLC is, on information and belief, an Idaho

 corporation and can be served through Diana Luoma, Registered Agent, 6905 HWY 95,

 Fruitland, ID 83619.

        124.   Interpleader Defendant TBS Factoring Service, as Assignee of D and L Trucking

 is, on information and belief, an Oklahoma corporation, and can be served through Wood

 Kaufman, TBS’ Registered Agent, 3909 N. Classen Blvd., Oklahoma City, OK 73118.

        125.   Interpleader Defendant Apex Capital Corp. as assignee of D F H Transportation,

 LLC, is, on information and belief, a Texas corporation and can be served through its registered

 agent Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        126.   Interpleader Defendant Apex Capital Corp. as assignee of D M Express, Inc., is,

 on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        127.   Interpleader Defendant Apex Capital Corp. as assignee of D V S Transportation,

 Inc., is, on information and belief, a Texas corporation and can be served through its registered

 agent Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.




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          128.   Interpleader Defendant TBS Factoring Service, as Assignee of D E O Transport,

 Inc., is, on information and belief, an Oklahoma corporation, and can be served through Wood

 Kaufman, TBS’ Registered Agent, 3909 N. Classen Blvd., Oklahoma City, OK 73118.

          129.   Interpleader Defendant, Assist Financial Services, Inc., as Assignee of DAB

 Trucking Services, is, on information and belief, a South Dakota corporation, and can be served

 through Brian G. Kringen, Assist’s Registered Agent, 1533 NW 2nd St., Madison, SD 57042.

          130.   Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of Daily Transport, Inc., is, on information and belief, a Texas corporation,

 and can be served through Corporation Service Company dba Lawyers Incorporating Service

 Company, Advance Business’ Registered Agent, 211 E. 7th St., Suite 620, Austin, TX 78701.

          131.   Interpleader Defendant CJM Financial, Inc., as Assignee of Daily Transportation,

 Inc., is, on information and belief, an Iowa corporation, and can be served through Trent

 Murphy, CJM’s Registered Agent, 1014 SE Lorenz Dr., Ankeny, IA 50021.

          132.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of Daily

 Transportation, Inc., is, on information and belief a Mississippi corporation and can be served

 through C T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101,

 Flowood, MS 39232.

          133.   Interpleader Defendant, Compass Funding Solutions, as Assignee of Davis Cargo,

 LLC, is, on information and belief, an Illinois corporation and can be served through Arleesia

 McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge, IL

 60527.



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          134.   Interpleader Defendant DC Transport, Inc. is, on information and belief a

 California corporation and can be served through Evelina Popovich, Registered Agent, 4897

 Willowbrook Dr., Sacramento, CA 95842.

          135.   Interpleader Defendant Delta Carrier Group, Inc. is, on information and belief, an

 Illinois corporation and can be served through John R. Ostojic, Registered Agent, 19 North

 Green, Suite 1000, Chicago, IL 60607.

          136.   Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of Delta Carrier Group, Inc., is, on information and belief, a Texas

 corporation, and can be served through Corporation Service Company dba Lawyers

 Incorporating Service Company, Advance Business’ Registered Agent, 211 E. 7th St., Suite 620,

 Austin, TX 78701.

          137.   Interpleader Defendant Orange Commercial Credit, as Assignee of Delta

 Logistics, Inc. is, on information and belief a Washington corporation and can be served through

 Orange Commercial Credit, Orange’s Registered Agent, 2415 Heritage Ct. SW, Olympia, WA

 98502.

          138.   Interpleader Defendant Delta Transport, Inc. is, on information and belief, a

 California corporation and can be served through Vyacheslav Sidlovskyy, Registered Agent,

 6848 26th St., Rio Linda, CA 95673.

          139.   Interpleader Defendant TCI Business Capital, Inc., as Assignee of Delta

 Transport, Inc. is, on information and belief, a Minnesota corporation and can be served through

 TCI’s Registered Agent, 12270 Nicollet Ave. S, Burnsville, MN 55337.



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          140.   Interpleader Defendant, Compass Funding Solutions, as Assignee of D-Evine,

 Inc., is, on information and belief, an Illinois corporation and can be served through Arleesia

 McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge, IL

 60527.

          141.   Interpleader Defendant DF Carrier LLC is, on information and belief, a Michigan

 corporation and can be served through Jagdeep Dhillon, Registered Agent, 28537 Wick Rd.,

 Romulus, MI 48174.

          142.   Interpleader Defendant FirstLine Funding Group, as Assignee of DF Carrier LLC,

 is, on information and belief, a South Dakota corporation, and can be served through First Bank

 & Trust, First Line’s Registered Agent, 110 N. Minnesota Ave., Sioux Falls, SD 57104.

          143.   Interpleader Defendant Diamond Freight, Inc. is, on information and belief, an

 Illinois corporation and can be served through Licensing & Accounting of IL, Registered Agent,

 732 Blue Ridge Dr., Streamwood, IL 60107.

          144.   Interpleader Defendant, Compass Funding Solutions, as Assignee of DIJ Corp., is,

 on information and belief, an Illinois corporation and can be served through Arleesia McDonald,

 Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge, IL 60527.

          145.   Interpleader Defendant Direct Service Transport, Inc. is, on information and

 belief, a Minnesota corporation and can be served through Direct Service Transport, Inc.,

 Registered Agent, 1100 N. Concord St., South St. Paul, MN 55075

          146.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of Distribution

 Solutions, Inc., is, on information and belief a Mississippi corporation and can be served through



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 C T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101,

 Flowood, MS 39232.

          147.   Interpleader Defendant Divine Enterprises is, on information and belief, a

 California corporation and can be served through Nick Yarmolyuk, Registered Agent, 344

 Ironwood Cir., Roseville, CA 95678.

          148.   Interpleader Defendant DLK Trucking, Inc. is, on information and belief, a

 Wisconsin corporation and can be served through Dale L. Koenig, Registered Agent, 5182

 Hoover Ave., Plover, WI 54467.

          149.   Interpleader Defendant TAFS Premium Finance, Inc., as Assignee of DM World

 Transportation, is, on information and belief, a Missouri corporation and can be served through

 C T Corporation System, TAFS’ Registered Agent, 120 South Central Ave., Clayton, MO

 63105.

          150.   Interpleader Defendant Transam Financial Services, Inc., as Assignee of DM

 World Transportation is, on information and belief, a Kansas corporation and can be served

 through SBLSG Registered Agent, LLC, Transam’s Registered Agent, 9300 West 110th St., Suite

 200, Overland Park, KS 66212.

          151.   Interpleader Defendant DMN Transport, Inc. is, on information and belief, an

 Illinois corporation and can be served through Deimantas Rudzionis, Registered Agent, 436 W.

 75th St., Downers Grove, IL 60516.

          152.   Interpleader Defendant, RTS Financial Service, as Assignee of DMN Transport,

 Inc., is, on information and belief, a Kansas corporation, and can be served through Corporation



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 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.

          153.   Interpleader Defendant Dolche Truckload, Corp. is, on information and belief, an

 Illinois corporation and can be served through Desislava Evans, Registered Agent, 473 W.

 Northwest Hwy, Suite 2E, Palatine, IL 60067.

          154.   Interpleader Defendant, RTS Financial Service, as Assignee of Dolche Truckload,

 Corp., is, on information and belief, a Kansas corporation, and can be served through

 Corporation Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204,

 Topeka, KS 66614.

          155.   Interpleader Defendant, Dosped, Inc. is, on information and belief, an Illinois

 corporation and can be served through Valentin E. Hadzhiev, Registered Agent, 4830 N.

 Cumberland Ave., Unit 10C, Norridge, IL 60706.

          156.   Interpleader Defendant, Bibby Transportation Finance, Inc., as Assignee of Duke

 Transportation, is, on information and belief, a Georgia corporation, and can be served through

 Corporation Service Company, Bibby’s Registered Agent, 40 Technology Parkway South, Suite

 300, Norcross, GA 30092.

          157.   Interpleader Defendant, Foley Carrier Services, LLC, as Assignee of Dyer

 Integrated, is, on information and belief, a Nebraska corporation, and can be served through

 Cogency Global, Inc., Foley’s Registered Agent, 5601 E. 59th St., Suite C, Lincoln, NE 68516.

          158.   Interpleader Defendant Apex Capital Corp. as assignee of E M H Services, Inc.,

 is, on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

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          159.   Interpleader Defendant Eagle Capital Corporation is, on information and belief, a

 Mississippi corporation and can be served through Albert G. Delgadillo, 105 S. Front St.,

 Tupelo, MS 38802.

          160.   Interpleader Defendant Eagle Trucking Company is, on information and belief, a

 Pennsylvania corporation and can be served through Registered Agent, 900 Calcon Hood Rd.,

 Sheron Hill, PA 19079.

          161.   Interpleader Defendant FirstLine Funding Group, as Assignee of East Bound

 Express, is, on information and belief, a South Dakota corporation, and can be served through

 First Bank & Trust, First Line’s Registered Agent, 110 N. Minnesota Ave., Sioux Falls, SD

 57104.

          162.   Interpleader Defendant Echo Trucking, Inc. is, on information and belief, an

 Illinois corporation and can be served through Aidanas Zaukas, Registered Agent, 9301 S 81st

 Ct., Hickory Hills, IL 60457.

          163.   Interpleader Defendant Ecklund Logistics, Inc. is, on information and belief, a

 Wisconsin corporation and can be served through Kirk Leroy Ecklund, Registered Agent, 6991

 State Road 76, Neenah, WI 54956.

          164.   Interpleader Defendant, Crestmark Bank, as Assignee of Ecklund Logistics, Inc.,

 is, on information and belief, a Tennessee corporation, and can be served through Heath

 Holdbrooks, Crestmark’s Registered Agent, 800 Crescent Centre Dr., Suite 620, Franklin, TN

 37067.




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          165.   Interpleader Defendant Insight Technology, Inc., as Assignee of EFreight, Inc., is,

 on information and belief, a Utah corporation and can be served through Anthony Aliengena,

 Insight’s Registered Agent, 820 S 300 W, Heber City, UT 84032.

          166.   Interpleader Defendant OTR Capital, LLC, as Assignee of EFS Inc. is, on

 information and belief, a Georgia corporation and can be served through CT Corporation

 System, OTR’s Registered Agent, 289 S. Culver St., Lawrenceville, GA 30046.

          167.   Interpleader Defendant FirstLine Funding Group, as Assignee of EMJB, is, on

 information and belief, a South Dakota corporation, and can be served through First Bank &

 Trust, First Line’s Registered Agent, 110 N. Minnesota Ave., Sioux Falls, SD 57104.

          168.   Interpleader Defendant EMR Express is, on information and belief, an Illinois

 corporation and can be served through Romualda Ramoskiene, Registered Agent, 10511 Julie

 Ann Ln., Orland Park, IL 60467.

          169.   Interpleader Defendant, RTS Financial Service, as Assignee of EMR Express, is,

 on information and belief, a Kansas corporation, and can be served through Corporation Service

 Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS 66614.

          170.   Interpleader Defendant FirstLine Funding Group, as Assignee of ENS Trucking,

 is, on information and belief, a South Dakota corporation, and can be served through First Bank

 & Trust, First Line’s Registered Agent, 110 N. Minnesota Ave., Sioux Falls, SD 57104.

          171.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of ES Express

 Lines, Inc., is, on information and belief a Mississippi corporation and can be served through C T

 Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101, Flowood, MS

 39232.

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        172.   Interpleader Defendant Partners Funding, Inc. as Assignee of ESA Transportation

 Inc. is, on information and belief, a Minnesota corporation and can be served through Jan A

 Bosma, Partners’ Registered Agent, 923 N. State St., Fairmont, MN 56031.

        173.   Interpleader Defendant, Interstate Capital Corporation, as Assignee of Excell

 Trucking is, on information and belief, a New Mexico corporation and can be served through

 Interstate Financial Corporation, Interstate’s Registered Agent, 1255 Country Club Rd., #D,

 Santa Teresa, NM 88008.

        174.   Interpleader Defendant Financial Carrier Services, as Assignee of EZY

 Transportation LLC is, on information and belief, a North Carolina corporation and can be

 served through Nichele Marks, Financial’ s Registered Agent, 13325 South Point Blvd. Suite

 300, Charlotte, NC 28273.

        175.   Interpleader Defendant Far West Capital Transportation is, on information and

 belief, a Texas corporation and can be served through Cole Harmonson, President & CEO, 1560

 Goodyear Dr., El Paso, TX 79936

        176.   Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of Fargo Transport is, on information and belief, a Texas corporation, and

 can be served through Corporation Service Company dba Lawyers Incorporating Service

 Company, Advance Business’ Registered Agent, 211 E. 7th St., Suite 620, Austin, TX 78701.

        177.   Interpleader Defendant Fast Loading, Inc. is, on information and belief, an Illinois

 corporation and can be served through Viktor Tkachuk, Registered Agent, 3630 N. Harlem Ave.,

 #210, Chicago, IL 60634.



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          178.   Interpleader Defendant, RTS Financial Service, as Assignee of Fast Loading, Inc.

 is, on information and belief, a Kansas corporation, and can be served through Corporation

 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.

          179.   Interpleader Defendant Fischer Truck and Bus Service, Inc. is, on information and

 belief, a Wisconsin corporation and can be served through Donald Joseph Fischer, Registered

 Agent, 598 Tudor St., Fenwood, WI 54426.

          180.   Interpleader Defendant CD Consortium Corp., as Assignee of Flash Logistics,

 Inc. is, on information and belief, an Illinois corporation and can be served through Nick Tanglis,

 CD’s Registered Agent, 8930 N. Waukegan Rd., #230, Morton Grove, IL 60053.

          181.   Interpleader Defendant Flex Transport, Inc. is, on information and belief, an

 Illinois corporation and can be served through Srejovic Accounting Services, Registered Agent,

 4058 W. Lawrence Ave., Chicago, IL 60630.

          182.   Interpleader Defendant FLS Express LLC, is, on information and belief a Texas

 corporation, and can be served through itsregistered agent Victor Sotelo Suarez, 332 Rio Dulce,

 El Paso, TX 79932.

          183.   Interpleader Defendant JD Factors, LLC, as Assignee of FM Logistics, Inc., is, on

 information and belief, an Illinois corporation, and can be served through C T Corporation

 System, JD’s Registered Agent, 208 S. LaSalle St., Suite 814, Chicago, IL 60604.

          184.   Interpleader Defendant Apex Capital Corp. as assignee of Foka Logistics, LLC,

 is, on information and belief, a Texas corporation and can be served through its registered agent,

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

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        185.    Interpleader Defendant Free Style Trucking, Inc. is, on information and belief, an

 Illinois corporation and can be served through Roussi Radev, Registered Agent, 8542 W.

 Interlochen Ct., Palos Hills, IL 60465.

        186.    Interpleader Defendant, Bibby Transportation Finance, Inc., as Assignee of

 Freedom Van Lines, is, on information and belief, a Georgia corporation, and can be served

 through Corporation Service Company, Bibby’s Registered Agent, 40 Technology Parkway

 South, Suite 300, Norcross, GA 30092.

        187.    Interpleader Defendant FirstLine Funding Group, as Assignee of Freight Dealers

 is, on information and belief, a South Dakota corporation, and can be served through First Bank

 & Trust, First Line’s Registered Agent, 110 N. Minnesota Ave., Sioux Falls, SD 57104.

        188.    Interpleader Defendant Orange Commercial Credit, as Assignee of Freight

 Solutions Services is, on information and belief a Washington corporation and can be served

 through Orange Commercial Credit, Orange’s Registered Agent, 2415 Heritage Ct. SW,

 Olympia, WA 98502.

        189.    Interpleader Defendant Freightzone Express, Inc. is, on information and belief, an

 Illinois corporation and can be served through Halawa Illinois, Registered Agent, 7000 W. 111th

 St., Suite 102, Worth, IL 60482.

        190.    Interpleader Defendant Baxter Bailey & Associates, as Assignee of Furex, Inc., is,

 on information and belief a Mississippi corporation and can be served through C T Corporation

 System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101, Flowood, MS 39232.




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          191.   Interpleader Defendant G & G Logistics, Inc. is, on information and belief, a

 California corporation and can be served through Yu Fang Luo, Registered Agent, 20359 Lake

 Canyon Dr., Walnut, CA 91789.

          192.   Interpleader Defendant G.G. Barnett Transport, Inc. is, on information and belief,

 a Wisconsin corporation and can be served through Gregory G. Barnett, Registered Agent,

 W7530 Cty. Rd. S., Juneau, WI 53039.

          193.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of Gables

 Transport, Inc., is, on information and belief a Mississippi corporation and can be served through

 C T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101,

 Flowood, MS 39232.

          194.   Interpleader Defendant Financial Carrier Services, as Assignee of Gama Trade,

 Inc. is, on information and belief, a North Carolina corporation and can be served through

 Nichele Marks, Financial’ s Registered Agent, 13325 South Point Blvd. Suite 300, Charlotte, NC

 28273.

          195.   Interpleader Defendant, Interstate Capital Corporation, as Assignee of Gamtrans

 Freight is, on information and belief, a New Mexico corporation and can be served through

 Interstate Financial Corporation, Interstate’s Registered Agent, 1255 Country Club Rd., #D,

 Santa Teresa, NM 88008.

          196.   Interpleader Defendant Phoenix Capital Group, LLC, as Assignee of Gava

 Trucking, is, on information and belief, a Texas corporation and can be served through Craig

 Berry, Phoenix’s Registered Agent, 8707 E. Vista Bonita Drive, Scottsdale, AZ 85255.



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        197.   Interpleader Defendant TBS Factoring Service, as Assignee of Geeman, LLC, is,

 on information and belief, an Oklahoma corporation, and can be served through Wood Kaufman,

 TBS’ Registered Agent, 3909 N. Classen Blvd., Oklahoma City, OK 73118.

        198.   Interpleader Defendant GI Super Service, Inc. is, on information and belief, an

 Illinois corporation and can be served through Guenadi Iantchev, Registered Agent, 1052

 Margret St., Des Plaines, IL 60016.

        199.   Interpleader Defendant Giannakis Transportation, Inc. is, on information and

 belief, an Illinois corporation and can be served through Gregory Giannakis, Registered Agent,

 4220 N. New England, Harwood Heights, IL 60706.

        200.   Interpleader Defendant CJM Financial, Inc., as Assignee of Globus Transport,

 Inc., is, on information and belief, an Iowa corporation, and can be served through Trent

 Murphy, CJM’s Registered Agent, 1014 SE Lorenz Dr., Ankeny, IA 50021.

        201.   Interpleader Defendant Go To Logistics, Inc. as GT Expedited is, on information

 and belief, an Illinois corporation and can be served through Tomasz Rzedzian, Registered

 Agent, 574 Peregrine Pkwy., Bartlett, IL 60103.

        202.   Interpleader Defendant CJM Financial, Inc., as Assignee of Goga Trucking, Inc.,

 is, on information and belief, an Iowa corporation, and can be served through Trent Murphy,

 CJM’s Registered Agent, 1014 SE Lorenz Dr., Ankeny, IA 50021.

        203.   Interpleader Defendant Partners Funding, Inc., as Assignee of Gold Star Carriers,

 is, on information and belief, a Minnesota corporation and can be served through Jan A. Bosma,

 Registered Agent, 923 N. State St., Fairmont, MN 56031.



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        204.   Interpleader Defendant CJM Financial, Inc., as Assignee of Gold Star Express

 LLC, is, on information and belief, an Iowa corporation, and can be served through Trent

 Murphy, CJM’s Registered Agent, 1014 SE Lorenz Dr., Ankeny, IA 50021.

        205.   Interpleader Defendant Goldcoast Logistics Group, is, on information and belief,

 an Illinois corporation and can be served through Dragos Sprinceana, its registered agent, 1317

 Howard St., Elk Grove Village, IL 60007.

        206.   Interpleader Defendant Credit Express, Inc., as assignee of Goldmax Carrier, Inc.,

 is, on information and belief, an Illinois corporation and can be served through Alexander Narod,

 Credit’s registered agent, 601 Skokie Blvd., Suite 503, Northbrook, IL 60062.

        207.   Interpleader Defendant Goldmax Carrier, Inc. is, on information and belief, an

 Illinois corporation and can be served through Agnieszka Sikomas, Registered Agent, 317

 Robert Ave., Wheeling, IL 60090.

        208.   Interpleader Defendant, Compass Funding Solutions, as Assignee of Good Choice

 Carrier, Inc., is, on information and belief, an Illinois corporation and can be served through

 Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge,

 IL 60527.

        209.   Interpleader Defendant Good Source Trucking, Inc. is, on information and belief,

 an Illinois corporation and can be served through Edyta Ksiag, Registered Agent, 600 Tollgate

 Rd., Suite C, Elgin, IL 60123.

        210.   Interpleader Defendant Sunbelt Finance, as Assignee of Good Source Trucking,

 Inc., is, on information and belief, an Arizona corporation, and can be served through Mickey

 Seeman, Sunbelt’s Registered Agent, 2900 Browns Ln., Jonesboro, AR 72401.

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          211.   Interpleader Defendant GP Transportation is, on information and belief, an

 Illinois corporation and can be served through Audra P. Karalius, Registered Agent, 1 N.

 Franklin St., Suite 1200, Chicago, IL 60606.

          212.   Interpleader Defendant, Crestmark Bank, as Assignee of Graval Corporation, is,

 on information and belief, a Tennessee corporation, and can be served through Heath

 Holdbrooks, Crestmark’s Registered Agent, 800 Crescent Centre Dr., Suite 620, Franklin, TN

 37067.

          213.   Interpleader Defendant Graval Corporation, is, on information and belief an

 Illinois corporation, and can be served through Wademar Czosnyka, its Registered Agent, 2971

 Old Higgins Rd., Elk Grove Village, IL 60007.

          214.   Interpleader Defendant Great Wide Truckload Management is, on information

 and belief, an Oklahoma corporation and can be served through Secretary of State, 421 NW 13th

 St., Suite 210, Oklahoma City, OK 73103.

          215.   Interpleader Defendant, Compass Funding Solutions, as Assignee of Green

 Freight, Inc., is, on information and belief, an Illinois corporation and can be served through

 Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge,

 IL 60527.

          216.   Interpleader Defendant Green Mile, Inc. is, on information and belief, an Illinois

 corporation and can be served through Ovidijus Stasytis, Registered Agent, 6 W. Jayne St.,

 Lemont, IL 60439.

          217.   Interpleader Defendant, RTS Financial Service, as Assignee of Green Mile, Inc.

 is, on information and belief, a Kansas corporation, and can be served through Corporation

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 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.

          218.   Interpleader Defendant GT Logistics, Inc. is, on information and belief, an Illinois

 corporation and can be served through George Giannopoulos, Registered Agent, 1400 Patriot

 Blvd., #455, Glenview, IL 60025.

          219.   Interpleader Defendant, Vero Business Capital LLC, as Assignee of GT Logistics,

 Inc., is, on information and belief a Tennessee corporation, and can be served through Paracorp

 Incorporated, Vero’s Registered Agent, 992 Davidson Dr., Suite B, Nashville, TN 37205.

          220.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of GTS

 Transportation, is, on information and belief a Mississippi corporation and can be served through

 C T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101,

 Flowood, MS 39232.

          221.   Interpleader Defendant GTS Transportation Corp., is, on information and belief,

 an Illinois corporation and can be served through Matthew P. Connelly, Registered Agent, 321

 N. Clark St., Suite 2200, Chicago, IL 60654.

          222.   Interpleader Defendant OTR Capital, LLC, as Assignee of Guerrero

 Transportation is, on information and belief, a Georgia corporation and can be served through

 CT Corporation System, OTR’s Registered Agent, 289 S. Culver St., Lawrenceville, GA 30046.

          223.   Interpleader Defendant TBS Factoring Service, as Assignee of H & L Delivery,

 LLC, is, on information and belief, an Oklahoma corporation, and can be served through Wood

 Kaufman, TBS’ Registered Agent, 3909 N. Classen Blvd., Oklahoma City, OK 73118.



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        224.    Interpleader Defendant OTR Capital, LLC, as Assignee of Hailey’s Logistics

 LLC, is, on information and belief, a Georgia corporation and can be served through CT

 Corporation System, OTR’s Registered Agent, 289 S. Culver St., Lawrenceville, GA 30046.

        225.    Interpleader Defendant Hanjra Trucking is, on information and belief, a New

 York corporation and can be served through Kuljinder Hanjra, Registered Agent, 207 Asbury

 Ave., Westbury, NY 11590.

        226.    Interpleader Defendant Accutrac Capital, Inc., as Assignee of Hanjra Trucking is,

 on information and belief a California corporation and can be served through Corporate

 Creations Network Inc., Accutrac’s Registered Agent, 1430 Truxtun Ave., 5th Floor, Bakersfield,

 CA 93301.

        227.    Interpleader Defendant FirstLine Funding Group, as Assignee of Hared Trucking

 is, on information and belief, a South Dakota corporation, and can be served through First Bank

 & Trust, First Line’s Registered Agent, 110 N. Minnesota Ave., Sioux Falls, SD 57104.

        228.    Interpleader Defendant Harrington Ridge Coal & Stove, LLC is, on information

 and belief, a Michigan corporation and can be served through Matthew Arko, Resident Agent,

 301 Front St., Hancock, MI 49930.

        229.    Interpleader Defendant Apex Capital Corp. as assignee of Hawk Logistics, LLC,

 is, on information and belief, a Texas corporation and can be served through its registered agent,

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        230.    Interpleader Defendant Partners Funding, Inc. as Assignee of Heartland

 Expressway is, on information and belief, a Minnesota corporation and can be served through

 Jan A Bosma, Partners’ Registered Agent, 923 N. State St., Fairmont, MN 56031.

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          231.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of Heavy Lane

 Transport , is, on information and belief a Mississippi corporation and can be served through C T

 Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101, Flowood, MS

 39232.

          232.   Interpleader Defendant, Interstate Capital Corporation, as Assignee of Heavy

 Lane Transport is, on information and belief, a New Mexico corporation and can be served

 through Interstate Financial Corporation, Interstate’s Registered Agent, 1255 Country Club Rd.,

 #D, Santa Teresa, NM 88008.

          233.   Interpleader Defendant, Crestmark Bank, as Assignee of Heliosphere, Inc., is, on

 information and belief, a Tennessee corporation, and can be served through Heath Holdbrooks,

 Crestmark’s Registered Agent, 800 Crescent Centre Dr., Suite 620, Franklin, TN 37067.

          234.   Interpleader Defendant Heliosphere Inc. is, on information and belief, a California

 corporation and can be served through Fred Akopyan, Registered Agent, 704 S. Victory Blvd.,

 Suite 200, Burbank, CA 91502.

          235.   Interpleader Defendant Highboost Corporation is, on information and belief, an

 Illinois corporation and can be served through Aivaras Norkus, Registered Agent, 8300 E. High

 Point Cir., Darien, IL 60561.

          236.   Interpleader Defendant OTR Capital, LLC, as Assignee of Highland Dallas

 Freight, Inc., is, on information and belief, a Georgia corporation and can be served through CT

 Corporation System, OTR’s Registered Agent, 289 S. Culver St., Lawrenceville, GA 30046.




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          237.   Interpleader Defendant HM Trans, Inc. is, on information and belief, an Illinois

 corporation and can be served through Jolita Diskiene, Registered Agent, 537 E. South Frontage

 Rd., Bolingbrook, IL 60440.

          238.   Interpleader Defendant, RTS Financial Service, as Assignee of HM Trans, Inc., is,

 on information and belief, a Kansas corporation, and can be served through Corporation Service

 Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS 66614.

          239.   Interpleader Defendant Financial Carrier Services, as Assignee of Homer Express,

 LLC is, on information and belief, a North Carolina corporation and can be served through

 Nichele Marks, Financial’ s Registered Agent, 13325 South Point Blvd. Suite 300, Charlotte, NC

 28273.

          240.   Interpleader Defendant, Assist Financial Services, Inc., as Assignee of Hot

 Transportation, is, on information and belief, a South Dakota corporation, and can be served

 through Brian G. Kringen, Assist’s Registered Agent, 1533 NW 2nd St., Madison, SD 57042.

          241.   Interpleader Defendant, Assist Financial Services, Inc., as Assignee of House

 Springs Trucking, is, on information and belief, a South Dakota corporation, and can be served

 through Brian G. Kringen, Assist’s Registered Agent, 1533 NW 2nd St., Madison, SD 57042.

          242.   Interpleader Defendant, Apex Capital Corp., as Assignee of I G H Trucking, LLC,

 is, on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

          243.   Interpleader Defendant IIK Transport, Inc. is, on information and belief, an

 Illinois corporation and can be served through Ivan Kazniyenko, Registered Agent, 367

 Buckingham Ct., Lombard, IL 60148.

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        244.   Interpleader Defendant IBY Transport is, on information and belief, an Illinois

 corporation and can be served through Semyon Gilburd, Registered Agent, 884 Shambliss Ln.,

 Buffalo Grove, IL 60089.

        245.   Interpleader Defendant, RTS Financial Service, as Assignee of IBY Transport., is,

 on information and belief, a Kansas corporation, and can be served through Corporation Service

 Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS 66614.

        246.   Interpleader Defendant Iman Carriers, Inc. is, on information and belief, a

 Minnesota corporation and can be served through Registered Agent, 544 8th Ave. NE, St. Joseph,

 MN 56374.

        247.   Interpleader Defendant Transportation Funding Group, as Assignee of Iman

 Carriers, LLC is, on information and belief, a Minnesota corporation and can be served through

 Transportation’s Registered Agent, 7600 Wayzata Blvd., Golden Valley, MN 55426.

        248.   Interpleader Defendant IMG Trucking, Inc. is, on information and belief, an

 Illinois corporation and can be served through Irena Georgieva, Registered Agent, 2001 Cornell

 Ave., Suite D, Melrose Park, IL 60160.

        249.   Interpleader Defendant, Apex Capital Corp., as Assignee of Imperial Express,

 LLC, is, on information and belief, a Texas corporation and can be served through its registered

 agent Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        250.   Interpleader Defendant JD Factors, LLC, as Assignee of Infinitive Transportation,

 is, on information and belief, an Illinois corporation, and can be served through C T Corporation

 System, JD’s Registered Agent, 208 S. LaSalle St., Suite 814, Chicago, IL 60604.



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          251.   Interpleader Defendant, Crestmark Bank, as Assignee of Inland Transport, Inc., is,

 on information and belief, a Tennessee corporation, and can be served through Heath

 Holdbrooks, Crestmark’s Registered Agent, 800 Crescent Centre Dr., Suite 620, Franklin, TN

 37067.

          252.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of Inland

 Transport, Inc., is, on information and belief a Mississippi corporation and can be served through

 C T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101,

 Flowood, MS 39232.

          253.   Interpleader Defendant Innovation Truck Service, LLC is, on information and

 belief, a Pennsylvania corporation and can be served through Jennifer Vega, Registered Agent.

 1004 Kipling Road, Jenkintown, PA 19046.

          254    Interpleader Defendant Integrated Logistics & Associates is, on information and

 belief, a New York corporation and can be served through its Registered Agent, 6070 Collett

 Rd., Bldg. 2, Farmington, NY 14425.

          255.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of Intersped Inc.,

 dba Amcan Freight Liners, is, on information and belief a Mississippi corporation and can be

 served through C T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr.,

 Suite 101, Flowood, MS 39232.

          256.   Interpleader Defendant, Apex Capital Corp., as Assignee of Issa Logistics, LLC,

 is, on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.



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          257.   Interpleader Defendant TAFS Premium Finance, Inc., as Assignee of J & H

 Logistics Group Inc., is, on information and belief, a Missouri corporation and can be served

 through C T Corporation System, TAFS’ Registered Agent, 120 South Central Ave., Clayton,

 MO 63105.

          258.   Interpleader Defendant CoreFund Capital LLC, as Assignee of J & J’s Leading

 Transport, LLC is, on information and belief, a Texas corporation and can be served through CT

 Corporation System, Core Fund’s Registered Agent, 1999 Bryan St., Suite 900, Dallas, TX

 75201.

          259.   Interpleader Defendant J Rayl Transport, Inc. is, on information and belief an

 Ohio corporation and can be served through Timothy Rayl, Registered Agent, 1016 Triplett

 Blvd., Akron, OH 44306.

          260.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of Jag Trucking,

 Inc., dba Amcan Freight Liners, is, on information and belief a Mississippi corporation and can

 be served through C T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr.,

 Suite 101, Flowood, MS 39232.

          261.   Interpleader Defendant Jason Transport, Inc. is, on information and belief, a

 Minnesota corporation and can be served through its Registered Agent, 2441 Becker Dr., Albert

 Lea, MN 56007.

          262.   Interpleader Defendant JBA Trucking LLC d/b/a JBA Family Trucking is, on

 information and belief, a Michigan corporation and can be served through Frances M. Anderson,

 Registered Agent, 22215 Elwell, Belleville, MI 48111.



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        263.    Interpleader Defendant JC Trans Co. is, on information and belief, an Illinois

 corporation and can be served through Jan Czyszczon, Registered Agent, 4 Lucas Dr., Palos

 Hills, IL 60465.

        264.    Interpleader Defendant Jeep Transport, Inc. on information and belief, an Illinois

 corporation and can be served through Gintare Beciute, Registered Agent, 6027 103rd St., Suite

 2D, Chicago Ridge, IL 60415.

        265.    Interpleader Defendant Jeff Bryan Transport is, on information and belief, a South

 Carolina corporation and can be served through Thomas G. Brown, Registered Agent, 88 Paisley

 Pk., Sumter, SC 29150.

        266.    Interpleader Defendant Riviera Finance, as Assignee of JMB Trucking Services,

 Inc. is, on information and belief, an Illinois corporation and can be served through Incorp

 Services, Riviera’s Registered Agent, 901 S. 2nd St., Suite 201, Springfield, IL 62704.

        267.    Interpleader Defendant FirstLine Funding Group, as Assignee of JML Logistics

 is, on information and belief, a South Dakota corporation, and can be served through First Bank

 & Trust, First Line’s Registered Agent, 110 N. Minnesota Ave., Sioux Falls, SD 57104.

        268.    Interpleader Defendant Jodi Express is, on information and belief, an Indiana

 corporation and can be served through Dickson Makori, Registered Agent, 210 Fox Orchard

 Run, Fort Wayne, IN 46825.

        269.    Interpleader Defendant OTR Capital, LLC, as Assignee of Joonam’s Trucking,

 LLC., is, on information and belief, a Georgia corporation and can be served through CT

 Corporation System, OTR’s Registered Agent, 289 S. Culver St., Lawrenceville, GA 30046.



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          270.   Interpleader Defendant, Crestmark Bank, as Assignee of Jordan & K, Inc., is, on

 information and belief, a Tennessee corporation, and can be served through Heath Holdbrooks,

 Crestmark’s Registered Agent, 800 Crescent Centre Dr., Suite 620, Franklin, TN 37067.

          271.   Interpleader Defendant JP Trucking Services, Inc. is, on information and belief, a

 New Jersey corporation and can be served through Jatinder Khatra, Registered Agent, 62 Daniel

 St., Port Reading, NJ 07064.

          272.   Interpleader Defendant JPMKL, Inc. is, on information and belief, an Illinois

 corporation and can be served through Karolina Ljubic, Registered Agent, 7312 N. Keeler,

 Lincolnwood, IL 60646.

          273.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of JPMKL, Inc.,

 is, on information and belief a Mississippi corporation and can be served through C T

 Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101, Flowood, MS

 39232.

          274.   Interpleader Defendant, Assist Financial Services, Inc., as Assignee of JTT

 Logistics Inc., is, on information and belief, a South Dakota corporation, and can be served

 through Brian G. Kringen, Assist’s Registered Agent, 1533 NW 2nd St., Madison, SD 57042.

          275.   Interpleader Defendant OTR Capital, LLC, as Assignee of Jubo Transportation,

 Inc., is, on information and belief, a Georgia corporation and can be served through CT

 Corporation System, OTR’s Registered Agent, 289 S. Culver St., Lawrenceville, GA 30046.

          276.   Interpleader Defendant Phoenix Capital Group, LLC, as Assignee of K Express,

 is, on information and belief, a Texas corporation and can be served through Craig Berry,

 Phoenix’s Registered Agent, 8707 E. Vista Bonita Drive, Scottsdale, AZ 85255.

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        277.    Interpleader Defendant, Apex Capital Corp., as Assignee of K L M B

 Transportation, Inc., is, on information and belief, a Texas corporation and can be served through

 its registered agent Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        278.    Interpleader Defendant Eagle Capital Corporation, as Assignee of KM Trucking,

 is, on information and belief, a Mississippi corporation and can be served through Albert G.

 Delgadillo, 105 S. Front St., Tupelo, MS 38802.

        279.    Interpleader Defendant, Apex Capital Corp., as Assignee of K M V

 Transportation, Inc., is, on information and belief, a Texas corporation and can be served through

 its registered agent Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        280.    Interpleader Defendant Kania, Inc. is, on information and belief, an Illinois

 corporation and can be served through Aiste Kaniauskaite, Registered Agent, 125 Fairfield Way,

 Suite 105D, Bloomingdale, IL 60108.

        281.    Interpleader Defendant, Crestmark Bank, as Assignee of Kania, Inc., is, on

 information and belief, a Tennessee corporation, and can be served through Heath Holdbrooks,

 Crestmark’s Registered Agent, 800 Crescent Centre Dr., Suite 620, Franklin, TN 37067.

        282.    Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of Kays M. Ahmed is, on information and belief, a Texas corporation, and

 can be served through Corporation Service Company dba Lawyers Incorporating Service

 Company, Advance Business’ Registered Agent, 211 E. 7th St., Suite 620, Austin, TX 78701.

        283.    Interpleader Defendant TBS Factoring Service, as Assignee of Kepy

 Transportation, Inc. is, on information and belief, an Oklahoma corporation, and can be served



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 through Wood Kaufman, TBS’ Registered Agent, 3909 N. Classen Blvd., Oklahoma City, OK

 73118.

          284.   Interpleader Defendant KForce Express, Inc. is, on information and belief, an

 Illinois corporation and can be served through Liliya Kurylyuk, 718 Tullamore Ct Apt 2B,

 Schaumburg, IL 60193.

          285.   Interpleader Defendant, RTS Financial Service, as Assignee of KForce Express,

 Inc.., is, on information and belief, a Kansas corporation, and can be served through Corporation

 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.

          286.   Interpleader Defendant OTR Capital, LLC, as Assignee of Kiin Expres, LLC., is,

 on information and belief, a Georgia corporation and can be served through CT Corporation

 System, OTR’s Registered Agent, 289 S. Culver St., Lawrenceville, GA 30046.

          287.   Interpleader Defendant JD Factors, LLC, as Assignee of Kings Eagle, Inc. is, on

 information and belief, an Illinois corporation, and can be served through C T Corporation

 System, JD’s Registered Agent, 208 S. LaSalle St., Suite 814, Chicago, IL 60604.

          288.   Interpleader Defendant JD Factors, LLC, as Assignee of Klym Spirit Corporation,

 is, on information and belief, an Illinois corporation, and can be served through C T Corporation

 System, JD’s Registered Agent, 208 S. LaSalle St., Suite 814, Chicago, IL 60604.

          289.   Interpleader Defendant Kommitted Transportation, Inc. is, on information and

 belief, a Canadian company and can be served at 310 Rue Dugas, Laval, QC H7X 3T6.




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          290.   Interpleader Defendant Koned Logistics, Inc. is, on information and belief, an

 Illinois corporation, and can be served through Marcin Kondek, Registered Agent, 200 D

 Regency Ct., Wauconda, IL 60084.

          291.   Interpleader Defendant, RTS Financial Service, as Assignee of Koned Logistics,

 is, on information and belief, a Kansas corporation, and can be served through Corporation

 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.

          292.   Interpleader Defendant Kottke Trucking, Inc. is, on information and belief, a

 Minnesota corporation and can be served through its Registered Agent, 211 Hwy. 212E, Buffalo

 Lake, MN 55314.

          293.   Interpleader Defendant Transportation Funding Group, as Assignee of Kuehl

 Trucking, LLC is, on information and belief, a Minnesota corporation and can be served through

 Transportation’s Registered Agent, 7600 Wayzata Blvd., Golden Valley, MN 55426.

          294.   Interpleader Defendant K-Way Express, Inc. is, on information and belief, a

 Minnesota corporation and can be served through its Registered Agent, 1300 6th Ave. S,

 Winsted, MN 55395.

          295.   Interpleader Defendant, Interstate Capital Corporation, as Assignee of L & E

 Hauling, is, on information and belief, a New Mexico corporation and can be served through

 Interstate Financial Corporation, Interstate’s Registered Agent, 1255 Country Club Rd., #D,

 Santa Teresa, NM 88008.




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          296.   Interpleader Defendant L E G S Transport, Inc. is, on information and belief, an

 Illinois corporation and can be served through Edvinas Vingilys, Registered Agent, 4851

 Clearwater Ln, Naperville, IL 60564.

          297.   Interpleader Defendant, Apex Capital Corp., as Assignee of L E G S Transport,

 Inc., is, on information and belief, a Texas corporation and can be served through its registered

 agent Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

          298.   Interpleader Defendant, Apex Capital Corp., as Assignee of L G A Logistics, Inc.,

 is, on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

          299.   Interpleader Defendant, Apex Capital Corp., as Assignee of Lama Express, Inc.,

 is, on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

          300.   Interpleader Defendant Lama Trucking, Inc. is, on information and belief, an

 Illinois corporation and can be served through Jurgita Balciunas, Registered Agent, 119 E.

 Ogden Ave., Suite 210A, Hinsdale, IL 60521.

          301.   Interpleader Defendant, RTS Financial Service, as Assignee of Lama Trucking,

 Inc., is, on information and belief, a Kansas corporation, and can be served through Corporation

 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.

          302.   Interpleader Defendant Landliner, Inc. is, on information and belief, an Illinois

 corporation and can be served through Oleg Pavlenko, Registered Agent, 3700 Capri Ct., Suite

 106, Glenview, IL 60025.

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        303.   Interpleader Defendant OTR Capital, LLC, as Assignee of Lathons, Inc., is, on

 information and belief, a Georgia corporation and can be served through CT Corporation

 System, OTR’s Registered Agent, 289 S. Culver St., Lawrenceville, GA 30046.

        304.   Interpleader Defendant OTR Capital, LLC, as Assignee of Legacy Transportation,

 is, on information and belief, a Georgia corporation and can be served through CT Corporation

 System, OTR’s Registered Agent, 289 S. Culver St., Lawrenceville, GA 30046.

        305.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of Lemberg

 Group, Inc., is, on information and belief a Mississippi corporation and can be served through C

 T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101, Flowood,

 MS 39232.

        306.   Interpleader Defendant Lemberg Group, Inc. is, on information and belief, an

 Illinois corporation and can be served through Yehor Shpak, Registered Agent, 766 N. Industrial

 Dr., Elmhurst, IL 60126.

        307.   Interpleader Defendant TCI Business Capital, Inc., as Assignee of Lemberg

 Group, Inc. is, on information and belief, a Minnesota corporation and can be served through

 TCI’s Registered Agent, 12270 Nicollet Ave. S, Burnsville, MN 55337.

        308.   Interpleader Defendant CD Consortium Corporation, as Assignee of Lenti, Inc.,

 is, on information and belief, an Illinois corporation, and can be served through Nick Tanglis,

 CD’s Registered Agent, 8930 N. Waukegan Rd., #230, Morton Grove, IL 60053.

        309.   Interpleader Defendant Lesmeister Transportation, Inc. is, on information and

 belief, a North Dakota corporation and can be served through Barry Lesmeister, Registered

 Agent, 2501 Lee Ave., Bismarck, ND 58504.

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          310.   Interpleader Defendant, Compass Funding Solutions, as Assignee of LHB

 Trucking, Inc., is, on information and belief, an Illinois corporation and can be served through

 Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge,

 IL 60527.

          311.   Interpleader Defendant Liberty Transit, LLC is, on information and belief, a

 Michigan corporation and can be served through Adnan Grozdanic, Registered Agent, 2140 44th

 St. SE, Suite 306, Grand Rapids, MI 49508.

          312.   Interpleader Defendant RTS Financial Service, as Assignee of Liberty Transit,

 LLC, is, on information and belief, a Kansas corporation, and can be served through Corporation

 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.

          313.   Interpleader Defendant Light Logistics, Inc. is, on information and belief, an

 Arizona corporation and can be served through Kimya Wyatt, Registered Agent, 22424 S.

 Ellsworth Loop Rd., #1403, Queen Creek, AZ 85142.

          314.   Interpleader Defendant Lintrans, Inc. is, on information and belief, an Illinois

 corporation and can be served through Linas Salavejus, Registered Agent, 25110 Edison Ln.,

 Plainfield, IL 60585.

          315.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of Lithco 1,

 LLC, is, on information and belief a Mississippi corporation and can be served through C T

 Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101, Flowood, MS

 39232.



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          316.   Interpleader Defendant Liv Enterprises, Inc. is, on information and belief, an

 Illinois corporation and can be served through Ljubomir Ivanov, Registered Agent, 6961 Vine

 St., Unit 202, Indian Head Park, IL 60525.

          317.   Interpleader Defendant Liv Transportation is, on information and belief, an

 Illinois corporation and can be served through Krysztof Bielecki, Registered Agent, 730 Birginal

 Dr., Bensenville, IL 60106.

          318.   Interpleader Defendant RTS Financial Service, as Assignee of Liv Transportation,

 is, on information and belief, a Kansas corporation, and can be served through Corporation

 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.

          319.   Interpleader Defendant, Compass Funding Solutions, as Assignee of Lizama

 Transport, Inc., is, on information and belief, an Illinois corporation and can be served through

 Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge,

 IL 60527.

          320.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of LJ Express

 Trucking, CO of CA, LLC, is, on information and belief a Mississippi corporation and can be

 served through C T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr.,

 Suite 101, Flowood, MS 39232.

          321.   Interpleader Defendant LMX Transport Corp. is, on information and belief, a

 Minnesota corporation and can be served through Luis Jose Alvarez, Registered Agent, 403 2nd

 St. NE, Ellendale, MN 56026.



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        322.    Interpleader Defendant Load to Ride Transportation is, on information and belief,

 a Colorado corporation and can be served through Marc Haney, Registered Agent, 3680 E. 52nd

 Ave., Denver, CO 80216.

        323.    Interpleader Defendant Baxter Bailey & Associates, as Assignee of Logic

 Logistics, LLC, is, on information and belief a Mississippi corporation and can be served

 through C T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101,

 Flowood, MS 39232.

        324.    Interpleader Defendant Love’s Travel Stops & Country Stores, Inc. is,           on

 information and belief, an Oklahoma corporation and can be served through Douglas J. Stussi,

 Registered Agent, 10601 N. Pennsylvania Ave., Oklahoma City, OK 73120.

        325.    Interpleader Defendant Lowell Logistics, Inc. is, on information and belief, an

 Illinois corporation and can be served through Conrad J. Lowell, Registered Agent, 9234

 Belmont Ave., Franklin Park, IL 60131.

        326.    Interpleader Defendant Lozar, Inc. is, on information and belief, an Illinois

 corporation and can be served through Svetlozar Radev, Registered Agent, 5015 Tollview Dr.,

 Suite 295, Rolling Meadows, IL 60008.

        327.    Interpleader Defendant Baxter Bailey & Associates, as Assignee of LT United

 Logistics, Inc., is, on information and belief a Mississippi corporation and can be served through

 C T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101,

 Flowood, MS 39232.




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          328.   Interpleader Defendant OTR Capital, LLC, as Assignee of Luckie Xpress

 Logistics is, on information and belief, a Georgia corporation and can be served through CT

 Corporation System, OTR’s Registered Agent, 289 S. Culver St., Lawrenceville, GA 30046.

          329.   Interpleader Defendant Lucky Way Logistics, Inc. is, on information and belief,

 an Illinois corporation and can be served through Lukasz Sukiennik, 1246 Robin Dr., Elk Grove

 Village, IL 60007.

          330.   Interpleader Defendant Saint John Capital Corporation, as Assignee of Lucky

 Way Logistics, Inc. is, on information and belief, an Illinois corporation and can be served

 through Andreas Mamalakis, Saint John’s Registered Agent, 3 S. Prospect Ave., Suite 1, Park

 Ridge, IL 60068.

          331.   Interpleader Defendant, Apex Capital Corp., as Assignee of Lucky World, Inc., is,

 on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

          332.   Interpleader Defendant, Compass Funding Solutions, as Assignee of Lupus 7,

 Inc., is, on information and belief, an Illinois corporation and can be served through Arleesia

 McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge, IL

 60527.

          333.   Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of M & S Expess, Inc., is, on information and belief, a Texas corporation,

 and can be served through Corporation Service Company dba Lawyers Incorporating Service

 Company, Advance Business’ Registered Agent, 211 E. 7th St., Suite 620, Austin, TX 78701.



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        334.   Interpleader Defendant, Apex Capital Corp., as Assignee of M D Transport is, on

 information and belief, a Texas corporation and can be served through its registered agent Dean

 A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        335.   Interpleader Defendant, Apex Capital Corp., as Assignee of M N E Freight, LLC

 is, on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        336.   Interpleader Defendant, Apex Capital Corp., as Assignee of M O B Carriers, Inc.

 is, on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        337.   Interpleader Defendant, Compass Funding Solutions, as Assignee of Main

 Trucking Company, is, on information and belief, an Illinois corporation and can be served

 through Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2,

 Burr Ridge, IL 60527.

        338.   Interpleader Defendant, Apex Capital Corp., as Assignee of Majestic, Inc. is, on

 information and belief, a Texas corporation and can be served through its registered agent Dean

 A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        339.   Interpleader Defendant Thunder Funding/Thunder Carrier Services, as Assignee

 of Mak Link Limited Liability Company, is, on information and belief, a California corporation

 and can be served through Erik Arevalo, Principal, VP of Thunder Funding, 2433 Impala Dr., A,

 Carlsbad, CA 92010.

        340.   Interpleader Defendant Great Plains Transportation Services, Inc., as Assignee of

 Mangat Group, Inc. is, on information and belief, a Minnesota corporation and can be served

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 through Sherri L DeJong-Stromberg, Great Plains’ Registered Agent, 923 N. State St., #120,

 Fairmont, MN 56031.

          341.   Interpleader Defendant Manning Transfer, Inc., is, on information and belief a

 Minnesota corporation, and can be served through its Registered Agent, 2775 101st Ave. NE,

 Blaine, MN 55449.

          342.   Interpleader Defendant TAFS Premium Finance, Inc., as Assignee of Manta

 Freight LLC is, on information and belief, a Missouri corporation and can be served through C T

 Corporation System, TAFS’ Registered Agent, 120 South Central Ave., Clayton, MO 63105.

          343.   Interpleader Defendant FirstLine Funding Group, as Assignee of Maranatha

 Express, is, on information and belief, a South Dakota corporation, and can be served through

 First Bank & Trust, First Line’s Registered Agent, 110 N. Minnesota Ave., Sioux Falls, SD

 57104.

          344.   Interpleader Defendant Marka Transport, Inc. is, on information and belief, an

 Illinois corporation and can be served through Marijus Rekesius, Registered Agent, 734 Foster

 Ave., Bensenville, IL 60106.

          345.   Interpleader Defendant Matrix, Inc. is, on information and belief, an Illinois

 corporation and can be served through Vladimir Kirilov, Registered Agent, 886 Tamarac Blvd.,

 Addison, IL 60101.

          346.   Interpleader Defendant, Apex Capital Corp., as Assignee of Max Trucking, LLC

 is, on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.



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          347.   Interpleader Defendant Great Plains Transportation Services, Inc., as Assignee of

 MBA Transport of Columbus LLC, is, on information and belief, a Minnesota corporation and

 can be served through Sherri L DeJong-Stromberg, Great Plains’ Registered Agent, 923 N. State

 St., #120, Fairmont, MN 56031.

          348.   Interpleader Defendant Financial Carrier Services, as Assignee of MBP Transport

 LLC, is, on information and belief, a North Carolina corporation and can be served through

 Nichele Marks, Financial’ s Registered Agent, 13325 South Point Blvd. Suite 300, Charlotte, NC

 28273.

          349.   Interpleader Defendant, Assist Financial Services, Inc., as Assignee of MCC

 Freight, Inc., is, on information and belief, a South Dakota corporation, and can be served

 through Brian G. Kringen, Assist’s Registered Agent, 1533 NW 2nd St., Madison, SD 57042.

          350.   Interpleader Defendant MCDA Logistics, LLC is, on information and belief, a

 New York corporation and can be served through Claude Abraham, Registered Agent, 788 W.

 Washington Ave., Apt.1, Albany, NY 12203.

          351.   Interpleader Defendant RTS Financial Service, as Assignee of MCDA Logistics

 LLC, is, on information and belief, a Kansas corporation, and can be served through Corporation

 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.

          352.   Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of MD Freight, Inc., is, on information and belief, a Texas corporation, and

 can be served through Corporation Service Company dba Lawyers Incorporating Service

 Company, Advance Business’ Registered Agent, 211 E. 7th St., Suite 620, Austin, TX 78701.

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          353.   Interpleader Defendant MDS Trucking V, Inc. is, on information and belief, an

 Illinois corporation and can be served through Ostojic & Scudder, LLC, Registered Agent, 19 N.

 Green St., Chicago, IL 60607.

          354.   Interpleader Defendant, Crestmark Bank, as Assignee of Mega Express, Inc., is,

 on information and belief, a Tennessee corporation, and can be served through Heath

 Holdbrooks, Crestmark’s Registered Agent, 800 Crescent Centre Dr., Suite 620, Franklin, TN

 37067.

          355.   Interpleader Defendant, Apex Capital Corp., as Assignee of Melody Logistics

 LLC, is, on information and belief, a Texas corporation and can be served through its registered

 agent Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

          356.   Interpleader Defendant Merx Global, Inc. is, on information and belief, an Illinois

 corporation and can be served through Christian Peneff, Registered Agent, 1454 Elmhurst Rd.,

 Elk Grove Village, IL 60007.

          357.   Interpleader Defendant MGR Freight LLC is, on information and belief, an

 Illinois corporation and can be served through Srejovic Accounting Services, its registered agent,

 4058 W. Lawrence Ave., Chicago, IL 60630.

          358.   Interpleader Defendant Midwest Express, Inc. is, on information and belief, an

 Indiana corporation and can be served through Agnes Gintila, Registered Agent, 228 W. Lincoln

 Hwy., Suite 192, Schererville, IN 46375.

          359.   Interpleader Defendant, Apex Capital Corp., as Assignee of Milan Express, Inc.

 is, on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

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        360.    Interpleader Defendant, Compass Funding Solutions, as Assignee of Millenium

 Group, Inc., is, on information and belief, an Illinois corporation and can be served through

 Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge,

 IL 60527.

        361.    Interpleader Defendant Baxter Bailey & Associates, as Assignee of Millennium

 Transport, Inc., is, on information and belief a Mississippi corporation and can be served through

 C T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101,

 Flowood, MS 39232.

        362.    Interpleader Defendant MMJ Transportation, Inc. is, on information and belief, an

 Illinois corporation and can be served through John R. Ostojic, its registered agent, 19 North

 Green St., Chicago, IL 60607.

        363.    Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of MMJ Transportation, Inc., is, on information and belief, a Texas

 corporation, and can be served through Corporation Service Company dba Lawyers

 Incorporating Service Company, Advance Business’ Registered Agent, 211 E. 7th St., Suite 620,

 Austin, TX 78701.

        364.    Interpleader Defendant Baxter Bailey & Associates, as Assignee of MMM

 Transportation, Ltd., is, on information and belief a Mississippi corporation and can be served

 through C T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101,

 Flowood, MS 39232.




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          365.   Interpleader Defendant MnAlan Trucking Corp. is, on information and belief, an

 Illinois corporation and can be served through Mariusz Pietrasz, 120 S. Spruce Ave., Apt. 406,

 Wooddale, IL 60191.

          366.   Interpleader Defendant RTS Financial Service, as Assignee of MnAlan Trucking

 Corp., is, on information and belief, a Kansas corporation, and can be served through

 Corporation Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204,

 Topeka, KS 66614.

          367.   Interpleader Defendant MPK Trucking LLC is, on information and belief, an

 Illinois corporation and can be served through Edyta Ksiag, Registered Agent, 600 Toolgate Rd.,

 Suite C, Elgin, IL 60123.

          368.   Interpleader Defendant Financial Carrier Services, as Assignee of MPK Trucking

 LLC is, on information and belief, a North Carolina corporation and can be served through

 Nichele Marks, Financial’ s Registered Agent, 13325 South Point Blvd. Suite 300, Charlotte, NC

 28273.

          369.   Interpleader Defendant MS US, Inc. is, on information and belief, an Illinois

 corporation and can be served through Semir Bilyal, Registered Agent, 312 Wildberry Ct., #D2,

 Schaumburg, IL 60193.

          370.   Interpleader Defendant RTS Financial Service, as Assignee of MS US, Inc., is, on

 information and belief, a Kansas corporation, and can be served through Corporation Service

 Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS 66614.




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          371.   Interpleader Defendant MTY Transportation, LLC is, on information and belief, a

 Michigan corporation and can be served through Mykhaylo Fedorenko, Registered Agent, 3838

 Rhoten Dr., Sterling Heights, MI 48310.

          372.   Interpleader Defendant Multi-Load Transport, Inc. is, on information and belief, a

 Minnesota corporation and can be served through its Registered Agent, 200 Division St. S, Rice,

 MN 56367.

          373.   Interpleader Defendant, Apex Capital Corp., as Assignee of N T O Express LLC,

 is, on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

          374.   Interpleader Defendant Namanagh, Inc. is, on information and belief, an Illinois

 corporation and can be served through Miroslaw Szczurek, Registered Agent, 130 Century Ct.,

 Apt. 101, Schaumburg, IL 60193.

          375.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of Namanagh, is,

 on information and belief a Mississippi corporation and can be served through C T Corporation

 System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101, Flowood, MS 39232.

          376.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of Narvatrans,

 LLC, is, on information and belief a Mississippi corporation and can be served through C T

 Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101, Flowood, MS

 39232.

          377.   Interpleader Defendant Natalie Express is, on information and belief, a California

 corporation and can be served through Alfred Abrahami, Principal, 612 Pioneer Dr., Glendale,

 CA 91203.

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        378.   Interpleader Defendant, Apex Capital Corp., as Assignee of Nathan Trucking,

 LLC, is, on information and belief, a Texas corporation and can be served through its registered

 agent Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        379.   Interpleader Defendant, Crestmark Bank, as Assignee of National Freight

 Carriers, Inc., is, on information and belief, a Tennessee corporation, and can be served through

 Heath Holdbrooks, Crestmark’s Registered Agent, 800 Crescent Centre Dr., Suite 620, Franklin,

 TN 37067.

        380.   Interpleader Defendant, Apex Capital Corp., as Assignee of Nationwide

 Enterprises Corp., is, on information and belief, a Texas corporation and can be served through

 its registered agent Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        381.   Interpleader Defendant CD Consortium Corporation, as Assignee of Navi, Inc., is,

 on information and belief, an Illinois corporation, and can be served through Nick Tanglis, CD’s

 Registered Agent, 8930 N. Waukegan Rd., #230, Morton Grove, IL 60053.

        382.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of Navigation

 Global, LLC, is, on information and belief a Mississippi corporation and can be served through C

 T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101, Flowood,

 MS 39232.

        383.   Interpleader Defendant Navigation Global, LLC is, on information and belief, an

 Illinois corporation and can be served through Dimitre Ognianov, Registered Agent, 951 N.

 Main St., Suite A, Lombard, IL 60146.




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          384.   Interpleader Defendant Navigator Express, Inc. is, on information and belief, an

 Illinois corporation and can be served through Dovydas Janonis, Registered Agent, 1263

 Highland Ave., 2A, Lombard, IL 60148.

          385.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of NC Trucking,

 Inc., is, on information and belief a Mississippi corporation and can be served through C T

 Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101, Flowood, MS

 39232.

          386.   Interpleader Defendant Nedex Express, Inc. is, on information and belief, an

 Illinois corporation and can be served through Halawa Illinois, Registered Agent, 7000 W. 111th

 St., Suite 102, Worth, IL 60482.

          387.   Interpleader Defendant NEPA Distribution, LLC is, on information and belief, a

 Pennsylvania corporation and can be served through its Registered Agent, 707 Florence Ct.,

 Stroudsburg, PA 18360.

          388.   Interpleader Defendant Dilley Zimny Insurance, as Assignee of NEPA

 Distribution, LLC is, on information and belief, a Minnesota corporation and can be served

 through Donna Haroldlson, 1103 Broadway St., #100, Alexandria, MN 56308.

          389.   Interpleader Defendant FirstLine Funding Group, as Assignee of Nevada Express,

 is, on information and belief, a South Dakota corporation, and can be served through First Bank

 & Trust, First Line’s Registered Agent, 110 N. Minnesota Ave., Sioux Falls, SD 57104.

          390.   Interpleader Defendant, Crestmark Bank, as Assignee of Noel Transportation

 Corp., is, on information and belief, a Tennessee corporation, and can be served through Heath



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 Holdbrooks, Crestmark’s Registered Agent, 800 Crescent Centre Dr., Suite 620, Franklin, TN

 37067.

          391.   Interpleader Defendant TBS Factoring Service, as Assignee of North America

 Moving Crew, LLC, is, on information and belief, an Oklahoma corporation, and can be served

 through Wood Kaufman, TBS’ Registered Agent, 3909 N. Classen Blvd., Oklahoma City, OK

 73118.

          392.   Interpleader Defendant North American Transport Services, LLC is, on

 information and belief, a Florida corporation and can be served through Interamerican Corporate

 Services, LLC, Registered Agent, 2525 Ponce De Leon Blvd., Suite 1225, Coral Gables, FL

 33134.

          393.   Interpleader Defendant, Compass Funding Solutions, as Assignee of Northland

 Refrigerated Services, Inc., is, on information and belief, an Illinois corporation and can be

 served through Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite

 2, Burr Ridge, IL 60527.

          394.   Interpleader Defendant NR.1 Transport is, on information and belief, an Indiana

 corporation and can be served through Nerijus Zitkevicius, Registered Agent, 259 North

 Republic Ave., Joliet, IL 60435.

          395.   Interpleader Defendant Nussbaum is, on information and belief, an Illinois

 corporation and can be served through William J. Wettstein, Registered Agent, 19336 N. 1425 E

 Rd., Hudson, IL 61748.




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        396.   Interpleader Defendant TBS Factoring Service, as Assignee of NWC Trucking,

 LLC, is, on information and belief, an Oklahoma corporation, and can be served through Wood

 Kaufman, TBS’ Registered Agent, 3909 N. Classen Blvd., Oklahoma City, OK 73118.

        397.   Interpleader Defendant Oak Hill Capital Group for US Cross Inc. is, on

 information and belief, a New Jersey corporation and can be served through Steven Tufaro,

 Principal, 75 W. Front St., Red Bank, NJ 07701.

        398.   Interpleader Defendant Off Ramp Trucking, LLC is, on information and belief, a

 Utah corporation and can be served through Roy B. Moore, Registered Agent, 1379 E. Vista

 Valley Dr., Draper, UT 84020.

        399.   Interpleader Defendant Olero, Inc. is, on information and belief, an Illinois

 corporation and can be served through Oleg Romanyuk, Registered Agent, 5100 Carriage Way

 Dr., #104, Rolling Meadows, IL 60008.

        400.   Interpleader Defendant RTS Financial Service, as Assignee of Olero, Inc., is, on

 information and belief, a Kansas corporation, and can be served through Corporation Service

 Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS 66614.

        401.   Interpleader Defendant, Compass Funding Solutions, as Assignee of Omega

 Freight Systems, Inc., is, on information and belief, an Illinois corporation and can be served

 through Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2,

 Burr Ridge, IL 60527.

        402.   Interpleader Defendant CJM Financial, Inc., as Assignee of One Time Trucking,

 LLC, is, on information and belief, an Iowa corporation, and can be served through Trent

 Murphy, CJM’s Registered Agent, 1014 SE Lorenz Dr., Ankeny, IA 50021.

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          403.   Interpleader Defendant Partners Funding, Inc. as Assignee of Onate Logistics, is,

 on information and belief, a Minnesota corporation and can be served through Jan A Bosma,

 Partners’ Registered Agent, 923 N. State St., Fairmont, MN 56031.

          404.   Interpleader Defendant, Apex Capital Corp., as Assignee of One 2 One Transport,

 Inc., is, on information and belief, a Texas corporation and can be served through its registered

 agent Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

          405,   Interpleader Defendant One Nation Trans is, on information and belief, a

 Michigan corporation and can be served through Haroon Nagi, Registered Agent, 5641 Prescott

 St., Hamtramck, MI 48212.

          406.   Interpleader Defendant Oneway Logistics, Inc. is, on information and belief, an

 Illinois corporation and can be served through Antoaneta Alieva, Registered Agent, 484 S. Vista

 Ave., Addison, IL 60101.

          407.   Interpleader Defendant RTS Financial Service, as Assignee of Oneway Logistics,

 Inc., is, on information and belief, a Kansas corporation, and can be served through Corporation

 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.

          408.   Interpleader Defendant, Compass Funding Solutions, as Assignee of Onyx

 Transport, Inc., is, on information and belief, an Illinois corporation and can be served through

 Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge,

 IL 60527.




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        409.   Interpleader Defendant JD Factors, LLC, as Assignee of Orest Express, Inc., is,

 on information and belief, an Illinois corporation, and can be served through C T Corporation

 System, JD’s Registered Agent, 208 S. LaSalle St., Suite 814, Chicago, IL 60604.

        410.   Interpleader Defendant OTR Capital, LLC is, on information and belief, a

 Georgia corporation and can be served through CT Corporation System, OTR’s Registered

 Agent, 289 S. Culver St., Lawrenceville, GA 30046.

        411.   Interpleader Defendant Out Witting The Rest, Inc. is, on information and belief, a

 North Carolina corporation and can be served through its Registered Agent, 1680 Sandy Ridge

 Dr., Liberty, NC 27298.

        412.   Interpleader Defendant RTS Financial Service, as Assignee of Out Witting The

 Rest, Inc., is, on information and belief, a Kansas corporation, and can be served through

 Corporation Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204,

 Topeka, KS 66614.

        413.   Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of Overland Trucking LLC, is, on information and belief, a Texas

 corporation, and can be served through Corporation Service Company dba Lawyers

 Incorporating Service Company, Advance Business’ Registered Agent, 211 E. 7th St., Suite 620,

 Austin, TX 78701.

        414.   Interpleader Defendant, Apex Capital Corp., as Assignee of Overnight Express,

 Inc., is, on information and belief, a Texas corporation and can be served through its registered

 agent Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.



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        415.   Interpleader Defendant, Apex Capital Corp., as Assignee of Pack Logistics, Inc.,

 is, on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        416.   Interpleader Defendant PDM Financial for Muradi Logistics LLC is, on

 information and belief, an Iowa corporation and can be served through Mark R. Gray, Registered

 Agent, 416 SW 3rd St., Ankeny, IA 50023.

        417.   Interpleader Defendant, Apex Capital Corp., as Assignee of Perfect Signature,

 Inc., is, on information and belief, a Texas corporation and can be served through its registered

 agent Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        418.   Interpleader Defendant Picadello Enterprises, Inc. by Ensure, Inc., is, on

 information and belief, an Illinois corporation and can be served through Arthur Mleczek,

 Registered Agent, 6148 W. Patterson Ave., Chicago, IL 60634.

        419.   Interpleader Defendant, Bibby Transportation Finance, Inc., as Assignee of Pitts

 Logistics, is, on information and belief, a Georgia corporation, and can be served through

 Corporation Service Company, Bibby’s Registered Agent, 40 Technology Parkway South, Suite

 300, Norcross, GA 30092.

        420.   Interpleader Defendant JD Factors, LLC, as Assignee of PM Global, is, on

 information and belief, an Illinois corporation, and can be served through C T Corporation

 System, JD’s Registered Agent, 208 S. LaSalle St., Suite 814, Chicago, IL 60604.

        421.   Interpleader Defendant, Assist Financial Services, Inc., as Assignee of PMB

 Transcargo, Inc., is, on information and belief, a South Dakota corporation, and can be served

 through Brian G. Kringen, Assist’s Registered Agent, 1533 NW 2nd St., Madison, SD 57042.

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          422.   Interpleader Defendant Premium Express, Inc. is, on information and belief, an

 Illinois corporation and can be served through Robert Sowul, Registered Agent, 1438 Nutmeg

 Ct., Bartlett, IL 60103.

          423.   Interpleader Defendant RTS Financial Service, as Assignee of Premium Express,

 Inc., is, on information and belief, a Kansas corporation, and can be served through Corporation

 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.

          424.   Interpleader Defendant FirstLine Funding Group, as Assignee of Prestige Freight,

 is, on information and belief, a South Dakota corporation, and can be served through First Bank

 & Trust, First Line’s Registered Agent, 110 N. Minnesota Ave., Sioux Falls, SD 57104.

          425.   Interpleader Defendant Prestige, Inc. is, on information and belief, an Illinois

 corporation and can be served through Deyana Koleva, Registered Agent, 2905 W Lake St.,

 Melrose Park, IL 60160.

          426.   Interpleader Defendant Primary Transportation Services, Inc. is, on information

 and belief, a Wisconsin corporation and can be served through Douglas A. Buboltz, Registered

 Agent, 1070 Moonriver Dr., De Pere, WI 54115.

          427.   Interpleader Defendant TAFS Premium Finance, Inc., as Assignee of Prime

 Transportation, LLC, is, on information and belief, a Missouri corporation and can be served

 through C T Corporation System, TAFS’ Registered Agent, 120 South Central Ave., Clayton,

 MO 63105.

          428.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of Prime

 Logistics, Inc., is, on information and belief a Mississippi corporation and can be served through

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 C T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101,

 Flowood, MS 39232.

          429.   Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of Primus Logistics, Inc., is, on information and belief, a Texas corporation,

 and can be served through Corporation Service Company dba Lawyers Incorporating Service

 Company, Advance Business’ Registered Agent, 211 E. 7th St., Suite 620, Austin, TX 78701.

          430.   Interpleader Defendant Puma Logistics is, on information and belief, an Illinois

 corporation and can be served through Srejovic Accounting Services, Registered Agent, 4058 W.

 Lawrence Ave., Chicago, IL 60630.

          431.   Interpleader Defendant, Crestmark Bank, as Assignee of Puma Logistics, is, on

 information and belief, a Tennessee corporation, and can be served through Heath Holdbrooks,

 Crestmark’s Registered Agent, 800 Crescent Centre Dr., Suite 620, Franklin, TN 37067.

          432.   Interpleader Defendant Q Carriers, Inc., is, on information and belief a Minnesota

 corporation, and can be served through its Registered Agent, 1415 Maras St. S, Shakopee, MN

 55379.

          433.   Interpleader Defendant Quality Freight LLC is, on information and belief, an

 Illinois corporation and can be served through Veselin Dimitrov, Registered Agent, 810 Birginal

 Dr., Bensenville, IL 60106.

          434.   Interpleader Defendant RTS Financial Service, as Assignee of Quality Freight,

 LLC, is, on information and belief, a Kansas corporation, and can be served through Corporation

 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.

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        435.   Interpleader Defendant Quality Freight LLC is, on information and belief, an

 Illinois corporation and can be served through Veselin Dimitrov, Registered Agent, 810 Birginal

 Dr., Bensenville, IL 60106.

        436.   Interpleader Defendant Quality Refrigerated Transportation is, on information and

 belief, an Illinois corporation and can be served through Mikhail Davidovich, Registered Agent,

 29 E. Palatine Rd., Prospect Heights, IL 60070.

        437.   Interpleader Defendant Quality Transport Brokers Corp. is, on information and

 belief, a Florida corporation and can be served through Pavel Romanel, 474 Stevensville St., Port

 Charlotte, FL 33954.

        438.   Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of Quality Wheels, Inc., is, on information and belief, a Texas corporation,

 and can be served through Corporation Service Company dba Lawyers Incorporating Service

 Company, Advance Business’ Registered Agent, 211 E. 7th St., Suite 620, Austin, TX 78701.

        439.   Interpleader Defendant Quick Freight Logistics, Inc. is, on information and belief,

 an Illinois corporation and can be served through Georgi Stefanov, Registered Agent, 765 IL

 Route 86, Suite 110, Bensenville, IL 60106.

        440.   Interpleader Defendant Aladdin Financial, Inc., as Assignee of Quickex Transit,

 Inc., is, on information and belief, a South Dakota corporation and can be served through Scott

 Keogh, Aladdin’s Registered Agent, 1201 W. Russell St., Sioux Falls, SD 57104.

        441.   Interpleader Defendant, Apex Capital Corp., as Assignee of R F S Group, Inc., is,

 on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

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          442.   Interpleader Defendant Riviera Finance, as Assignee of R2 Transportation, Inc.,

 is, on information and belief, an Illinois corporation and can be served through Incorp Services,

 Riviera’s Registered Agent, 901 S. 2nd St., Suite 201, Springfield, IL 62704.

          443.   Interpleader Defendant Rama Transportation, LLC is, on information and belief, a

 Georgia corporation and can be served through Radoslav E. Nikolov, Registered Agent, 5598

 Rapallo Terrace, Sugar Hill, GA 30518.

          444.   Interpleader   Defendant   RD    Limited   Partnership    dba   Richard   Daniels

 Transportation is, on information and belief, an Illinois corporation and can be served through

 Ricardo Fernandez, Registered Agent, 9944 S. Roberts Rd., Suite 105, Palos Hills, IL 60465.

          445.   Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of RD Limited Partnership dba Richard Daniels Transportation, is, on

 information and belief, a Texas corporation, and can be served through Corporation Service

 Company dba Lawyers Incorporating Service Company, Advance Business’ Registered Agent,

 211 E. 7th St., Suite 620, Austin, TX 78701.

          446.   Interpleader Defendant Real Transport, Inc. is, on information and belief, an

 Illinois corporation and can be served through Siarhei Ausiankin, Registered Agent, 2030 S.

 State St., #2004, Chicago, IL 60616.

          447.   Interpleader Defendant RTS Financial Service, as Assignee of Real Transport,

 Inc., is, on information and belief, a Kansas corporation, and can be served through Corporation

 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.



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        448.    Interpleader Defendant Real Trucking, Inc. is, on information and belief, an

 Illinois corporation and can be served through Stanislav Khanyukov, Registered Agent, 2100 W.

 21st St., Broadview, IL 60155.

        449.    Interpleader Defendant Recon Logistics, LLC is, on information and belief, a

 Colorado corporation and can be served through Matthew Newman, Registered Agent, 384

 Inverness Pkwy, Suite 270, Engelwood, CO 80112.

        450.    Interpleader Defendant, Apex Capital Corp., as Assignee of Red Line Logistics,

 Inc., is, on information and belief, a Texas corporation and can be served through its registered

 agent Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        451     Interpleader Defendant CD Consortium Corporation, as Assignee of Red Line

 Transit, Inc., is, on information and belief, an Illinois corporation, and can be served through

 Nick Tanglis, CD’s Registered Agent, 8930 N. Waukegan Rd., #230, Morton Grove, IL 60053.

        452.    Interpleader Defendant Baxter Bailey & Associates, as Assignee of Rely

 Transport, Inc., is, on information and belief a Mississippi corporation and can be served through

 C T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101,

 Flowood, MS 39232.

        453.    Interpleader Defendant, Apex Capital Corp., as Assignee of Rey M Appliances,

 is, on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        454.    Interpleader Defendant Baxter Bailey & Associates, as Assignee of RGX Cargo

 Corp., is, on information and belief a Mississippi corporation and can be served through C T



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 Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101, Flowood, MS

 39232.

          455.   Interpleader Defendant Insight Technology, Inc., as Assignee of Rhino

 Transportation, LLC, is, on information and belief, a Utah corporation and can be served through

 Anthony Aliengena, Insight’s Registered Agent, 820 S 300 W, Heber City, UT 84032.

          456.   Interpleader Defendant Rio Importers USA, Inc. is, on information and belief, an

 Illinois corporation and can be served through Jose Zepeda, Registered Agent, 120 East St., Suite

 1, Carol Stream, IL 60186.

          457.   Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of River North Industries, Inc., is, on information and belief, a Texas

 corporation, and can be served through Corporation Service Company dba Lawyers

 Incorporating Service Company, Advance Business’ Registered Agent, 211 E. 7th St., Suite 620,

 Austin, TX 78701.

          458.   Interpleader Defendant Road Wolves, Inc. is, on information and belief, an

 Illinois corporation and can be served through Tomas Umbrasas, Registered Agent, 75 Executive

 Dr., Suite 411, Aurora, IL 60504.

          459.   Interpleader Defendant RTS Financial Service, as Assignee of Road Wolves, Inc.,

 is, on information and belief, a Kansas corporation, and can be served through Corporation

 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.




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        460.   Interpleader Defendant, Apex Capital Corp., as Assignee of Roadstar Logistics,

 Inc., is, on information and belief, a Texas corporation and can be served through its registered

 agent Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        461.   Interpleader Defendant Roadstar, Inc. is, on information and belief, a California

 corporation and can be served through Arman Ambartsumyan, Registered Agent, 7103 Laurel

 Cyn Blvd., Suite 6, North Hollywood, CA 91605.

        462.   Interpleader Defendant, Compass Funding Solutions, as Assignee of Roma

 Logistics, Inc., is, on information and belief, an Illinois corporation and can be served through

 Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge,

 IL 60527.

        463.   Interpleader Defendant Sunbelt Finance, as Assignee of Route One LLC, is, on

 information and belief, an Arizona corporation and can be served through Mickey Seeman,

 Sunbelt’s Registered Agent, 2900 Browns Ln., Jonesboro, AR 72401.

        464.   Interpleader Defendant TAFS Premium Finance, Inc., as Assignee of RP Super

 Trucking, is, on information and belief, a Missouri corporation and can be served through C T

 Corporation System, TAFS’ Registered Agent, 120 South Central Ave., Clayton, MO 63105.

        465.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of Rush, Inc., is,

 on information and belief a Mississippi corporation and can be served through C T Corporation

 System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101, Flowood, MS 39232.

        466.   Interpleader Defendant, Compass Funding Solutions, as Assignee of RVS

 Express, Inc., is, on information and belief, an Illinois corporation and can be served through



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 Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge,

 IL 60527.

          467.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of RXG Cargo

 Corp., is, on information and belief a Mississippi corporation and can be served through C T

 Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101, Flowood, MS

 39232.

          468.   Interpleader Defendant, Ansonia Credit Data dba Southwest Credit Management

 Assoc., Inc., as Assignee of S & H Trucking, is, on information and belief, an Arizona

 corporation and can be served through its registered agent Richard J. Adams, Jr., Southwest’s

 Registered Agent, 1815 W Missouri Ave., Suite 211, Phoenix AZ 85015.

          469.   Interpleader Defendant, Apex Capital Corp., as Assignee of S&J Carrier Corp., is,

 on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

          470.   Interpleader Defendant S3 Capital LLC is, on information and belief, a New

 Jersey corporation and can be served through Sandeep Singh, 2 Lakeview Ave., Suite 1A,

 Piscataway, NJ 08854.

          471.   Interpleader Defendant, Assist Financial Services, Inc., as Assignee of SA

 Express, Inc., is, on information and belief, a South Dakota corporation, and can be served

 through Brian G. Kringen, Assist’s Registered Agent, 1533 NW 2nd St., Madison, SD 57042.

          472.   Interpleader Defendant Sam’s Trucking Services, LLC is, on information and

 belief, a Pennsylvania corporation and can be served through its Registered Agent, 210 Andover

 Ln., Lititz, PA 17543.

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          473.   Interpleader Defendant TBS Factoring Service, as Assignee of Sanchez Family

 Trucking, LLC, is, on information and belief, an Oklahoma corporation, and can be served

 through Wood Kaufman, TBS’ Registered Agent, 3909 N. Classen Blvd., Oklahoma City, OK

 73118.

          474.   Interpleader Defendant, Apex Capital Corp., as Assignee of Scarpita Cartage,

 Inc., is, on information and belief, a Texas corporation and can be served through its registered

 agent Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

          475.   Interpleader Defendant TBS Factoring Service, as Assignee of Seagate Freight,

 LLC, is, on information and belief, an Oklahoma corporation, and can be served through Wood

 Kaufman, TBS’ Registered Agent, 3909 N. Classen Blvd., Oklahoma City, OK 73118.

          476.   Interpleader Defendant FirstLine Funding Group, as Assignee of Seattle

 Professional Moving, is, on information and belief, a South Dakota corporation, and can be

 served through First Bank & Trust, First Line’s Registered Agent, 110 N. Minnesota Ave., Sioux

 Falls, SD 57104.

          477.   Interpleader Defendant Security Transport, Inc. is, on information and belief, an

 Indiana corporation and can be served through Corporation Service Company, Registered Agent,

 135 N. Pennsylvania St., Suite 1610, Indianapolis, IN 46204.

          478.   Interpleader Defendant Sedena Trucking Services, Inc. is, on information and

 belief, a California corporation and can be served through Cielo Paguio, Registered Agent, 5126

 Independence Ct., Chino, CA 91710.

          479.   Interpleader Defendant Orange Commercial Credit, as Assignee of Sedena

 Trucking Services, Inc., is, on information and belief a Washington corporation and can be

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 served through Orange Commercial Credit, Orange’s Registered Agent, 2415 Heritage Ct. SW,

 Olympia, WA 98502.

        480.    Interpleader Defendant Baxter Bailey & Associates, as Assignee of Sedena

 Trucking Services, Inc., is, on information and belief a Mississippi corporation and can be served

 through C T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101,

 Flowood, MS 39232.

        481.    Interpleader Defendant SevenOaks Capital, as Assignee of Selam Trans, Inc., is,

 on information and belief, a Louisiana corporation and can be served through Jeffry E. Foil,

 SevenOaks’ Registered Agent, 7854 Anselmo Ln., Baton Rouge, LA 70810.

        482.    Interpleader Defendant Riviera Finance, as Assignee of SGS Express, Inc. is, on

 information and belief, an Illinois corporation and can be served through Incorp Services,

 Riviera’s Registered Agent, 901 S. 2nd St., Suite 201, Springfield, IL 62704.

        483.    Interpleader Defendant, Apex Capital Corp., as Assignee of Shabdan Brothers,

 Inc., is, on information and belief, a Texas corporation and can be served through its registered

 agent Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        484.    Interpleader Defendant OTR Capital, LLC, as Assignee of Shears Transportation,

 is, on information and belief, a Georgia corporation and can be served through CT Corporation

 System, OTR’s Registered Agent, 289 S. Culver St., Lawrenceville, GA 30046.

        485.    Interpleader Defendant Eagle Capital Corporation, as Assignee of Sho Nuff

 Truckin, Inc., is, on information and belief, a Mississippi corporation and can be served through

 Albert G. Delgadillo, 105 S. Front St., Tupelo, MS 38802.



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          486.   Interpleader Defendant Shotgun Express, Inc. is, on information and belief, a

 Minnesota corporation and can be served through Dawn Montez, Registered Agent, 8862 W

 35W Service Rd. NE, Blaine, MN 55449.

          487.   Interpleader Defendant Silvicom, Inc. is, on information and belief, an Illinois

 corporation and can be served through Silviya Rogacheva, Registered Agent, 1301 W. Armitage

 Ave., Melrose Park, IL 60160.

          488.   Interpleader Defendant, Compass Funding Solutions, as Assignee of Silwady

 Trucking, Inc., is, on information and belief, an Illinois corporation and can be served through

 Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge,

 IL 60527.

          489.   Interpleader Defendant, Compass Funding Solutions, as Assignee of Sirus Corp.,

 is, on information and belief, an Illinois corporation and can be served through Arleesia

 McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge, IL

 60527.

          490.   Interpleader Defendant Sky Express, Inc. is, on information and belief, an Illinois

 corporation and can be served through Stoyan Kanchev Atanasov, Registered Agent, 930

 Country Club Rd., Lake Zurich, IL 60047.

          491.   Interpleader Defendant Sky Transport, Inc. is, on information and belief, an

 Illinois corporation and can be served through William S. George, Registered Agent, 1500

 Midway Ct., Suite W208, Elk Grove Village, IL 60007.

          492.   Interpleader Defendant RTS Financial Service, as Assignee of Sky Transport,

 Inc., is, on information and belief, a Kansas corporation, and can be served through Corporation

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 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.

          493.   Interpleader Defendant SL Black Fox Transport, LLC is, on information and

 belief, a Texas corporation and can be served through Sergio Morales, 1445 Agave, Laredo, TX

 78041.

          494.   Interpleader Defendant, Foley Carrier Services, LLC, as Assignee of Smart

 Choice, is, on information and belief, a Nebraska corporation, and can be served through

 Cogency Global, Inc., Foley’s Registered Agent, 5601 E. 59th St., Suite C, Lincoln, NE 68516.

          495.   Interpleader Defendant Smart Freight, Inc. is, on information and belief, an

 Indiana corporation and can be served through Sergey Golovinov, Registered Agent, 640

 Wheeler St., #2, Griffith, IN 46319.

          496.   Interpleader Defendant RTS Financial Service, as Assignee of Smart Freight, Inc.,

 is, on information and belief, a Kansas corporation, and can be served through Corporation

 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.

          497.   Interpleader Defendant Smarten Transport is, on information and belief, an

 Illinois corporation and can be served through Taras Melnychuk, Registered Agent, 225 Hawk

 Ct., Schaumburg, IL 60193.

          498.   Interpleader Defendant Smith Transportation Services, Inc. is, on information and

 belief, a Florida corporation and can be served through Lee Futernick, Registered Agent, 1300

 Sawgrass Corporate Pkwy., Suite 110, Sunrise, FL 33323.



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          499.   Interpleader Defendant SNR Solutions, Inc. is, on information and belief, a North

 Carolina corporation and can be served through Roman Shtundyuk, Registered Agent, 4710

 Titus Ct., Monroe, NC 28110.

          500.   Interpleader Defendant Solid Group, Inc. is, on information and belief, an Illinois

 corporation and can be served through Pavel Apostolov, Registered Agent, 50 W. 75th St., Suite

 210, Willowbrook, IL 60527.

          501.   Interpleader Defendant Sonic Trans, Inc. is, on information and belief, an Illinois

 corporation and can be served through Ted Baranowski, Registered Agent, 5864 N. Milwaukee

 Ave., Chicago, IL 60646.

          502.   Interpleader Defendant South Bay Logistics is, on information and belief, an

 Illinois corporation and can be served through Lukas Aniszewski, Registered Agent, 1319 S. 6th

 Ave., Des Plaines, IL 60018.

          503.   Interpleader Defendant Saint John Capital Corporation, as Assignee of South Bay

 Logistics, Inc., is, on information and belief, an Illinois corporation and can be served through

 Andreas Mamalakis, Saint John’s Registered Agent, 3 S. Prospect Ave., Suite 1, Park Ridge, IL

 60068.

          504.   Interpleader Defendant, Compass Funding Solutions, as Assignee of South Way

 Carriers, Inc., is, on information and belief, an Illinois corporation and can be served through

 Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge,

 IL 60527.




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          505.   Interpleader Defendant Spectrum Express, Inc. is, on information and belief, an

 Illinois corporation and can be served through Pavlo Vayda, Registered Agent, 188 W. Industrial

 Dr., Suite 402, Elmhurst, IL 60126.

          506.   Interpleader Defendant RTS Financial Service, as Assignee of Spectrum Express,

 Inc., is, on information and belief, a Kansas corporation, and can be served through Corporation

 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.

          507.   Interpleader Defendant Speedway Logistics, Inc. is, on information and belief, an

 Illinois corporation and can be served through Szczepan Sledz, Registered Agent, 1001 Nicholas

 Blvd., Suite E, Elk Grove Village, IL 60007.

          508.   Interpleader Defendant RTS Financial Service, as Assignee of Speedway

 Logistics, Inc., is, on information and belief, a Kansas corporation, and can be served through

 Corporation Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204,

 Topeka, KS 66614.

          509.   Interpleader Defendant SpeedX Transport is, on information and belief, a

 Canadian corporation and can be served through its Registered Agent, 62 Selby Rd., Brampton,

 ON L6W 3L4.

          510.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of Sprint

 Express, Inc., is, on information and belief a Mississippi corporation and can be served through

 C T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101,

 Flowood, MS 39232.



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          511.   Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of St. Mark of Orlando LLC, is, on information and belief, a Texas

 corporation, and can be served through Corporation Service Company dba Lawyers

 Incorporating Service Company, Advance Business’ Registered Agent, 211 E. 7th St., Suite 620,

 Austin, TX 78701.

          512.   Interpleader Defendant Standard Trucking LLC is, on information and belief, a

 Michigan corporation and can be served through Mykola Pysklyvets, 24510 Victory St., Center

 Line, MI 48015.

          513.   Interpleader Defendant RTS Financial Service, as Assignee of Standard Trucking,

 Inc., is, on information and belief, a Kansas corporation, and can be served through Corporation

 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.

          514.   Interpleader Defendant State 2 State Trucks, Inc. is, on information and belief, a

 California corporation and can be served through Stella Keshishyan, Registered Agent, 12522

 Archwood St., North Hollywood, CA 91606.

          515.   Interpleader Defendant, Phoenix Capital Group, LLC, as Assignee of State 2 State

 Trucks, Inc., is, on information and belief, a Texas corporation, and can be served through Craig

 Berry, Phoenix’s Registered Agent, 8707 E. Vista Bonita Drive, Scottsdale, AZ 85255.

          516.   Interpleader Defendant Stoughton Logistics is, on information and belief, a

 Wisconsin corporation and can be served through April J. Welch, Registered Agent, 416 S.

 Academy St., Stoughton, WI 53589.



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        517.   Interpleader Defendant Strada Logistics, LLC is, on information and belief, an

 Illinois corporation and can be served through Tariq Joudeh, Registered Agent, 800 Ravinia Pl.,

 Suite 1, Orland Park, IL 60462.

        518.   Interpleader Defendant JD Factors, LLC, as Assignee of StreamX LLC, is, on

 information and belief, an Illinois corporation, and can be served through C T Corporation

 System, JD’s Registered Agent, 208 S. LaSalle St., Suite 814, Chicago, IL 60604.

        519.   Interpleader Defendant, Apex Capital Corp., as Assignee of Stronghaul, Inc., is,

 on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        520.   Interpleader Defendant, Apex Capital Corp., as Assignee of Sunrise Highway

 LLC, is, on information and belief, a Texas corporation and can be served through its registered

 agent Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        521.   Interpleader Defendant, Interstate Capital Corporation, as Assignee of Sunrise

 Logistics, is, on information and belief, a New Mexico corporation and can be served through

 Interstate Financial Corporation, Interstate’s Registered Agent, 1255 Country Club Rd., #D,

 Santa Teresa, NM 88008.

        522.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of Superior

 Overnight Services, Inc., is, on information and belief a Mississippi corporation and can be

 served through C T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr.,

 Suite 101, Flowood, MS 39232.




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        523.   Interpleader Defendant OTR Capital, LLC, as Assignee of Sur Trucks, LLC, is,

 on information and belief, a Georgia corporation and can be served through CT Corporation

 System, OTR’s Registered Agent, 289 S. Culver St., Lawrenceville, GA 30046.

        524.   Interpleader Defendant T & T Freight is, on information and belief, an Illinois

 corporation and can be served through Nenad Trickov, Registered Agent, 125 Honeysuckle Ct.,

 Rolling Meadows, IL 60008.

        525.   Interpleader Defendant RTS Financial Service, as Assignee of T & T Freight, is,

 on information and belief, a Kansas corporation, and can be served through Corporation Service

 Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS 66614.

        526.   Interpleader Defendant Tac Trans, Inc. is, on information and belief, an Illinois

 corporation and can be served through George Tihauan, Registered Agent, 2521 Thatcher Ave,

 Apt. 2G, River Grove, IL 60171.

        527.   Interpleader Defendant, Apex Capital Corp., as Assignee of Tac Trans, Inc., is, on

 information and belief, a Texas corporation and can be served through its registered agent Dean

 A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        528.   Interpleader Defendant, Apex Capital Corp., as Assignee of Tacan Transport, Inc.,

 is, on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        529.   Interpleader Defendant Tadz Logistics, Inc. is, on information and belief, an

 Illinois corporation and can be served through Tadas Raudzius, Registered Agent, 16204 Golf

 View Dr., Lockport, IL 60441.



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          530.   Interpleader Defendant TAK Trucking, Inc. is, on information and belief, an

 Illinois corporation and can be served through Sretko Krsic, President, 2500 E. Devon Ave.,

 #2510, Elk Grove Village, IL 60007.

          531.   Interpleader Defendant RTS Financial Service, as Assignee of TAK Trucking,

 Inc., is, on information and belief, a Kansas corporation, and can be served through Corporation

 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.

          532.   Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of Tan Elegant, Inc., is, on information and belief, a Texas corporation, and

 can be served through Corporation Service Company dba Lawyers Incorporating Service

 Company, Advance Business’ Registered Agent, 211 E. 7th St., Suite 620, Austin, TX 78701.

          533.   Interpleader Defendant Taylor Truck Line is, on information and belief, a

 Minnesota corporation and can be served through its Registered Agent, 31485 Northfield Blvd.,

 Northfield, MN 55057.

          534.   Interpleader Defendant, Compass Funding Solutions, as Assignee of Tempo

 Carrier, Inc., is, on information and belief, an Illinois corporation and can be served through

 Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge,

 IL 60527.

          535.   Interpleader Defendant TGL Logistics, Inc. is, on information and belief, an

 Illinois corporation and can be served through Tomasz Groman, Registered Agent, 1385 N.

 Wood Dale Rd., Wood Dale, IL 60191.



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          536.   Interpleader Defendant, Crestmark Bank, as Assignee of TGL Logistics, Inc., is,

 on information and belief, a Tennessee corporation, and can be served through Heath

 Holdbrooks, Crestmark’s Registered Agent, 800 Crescent Centre Dr., Suite 620, Franklin, TN

 37067.

          537.   Interpleader Defendant Sunbelt Finance, as Assignee of The B Brother’s

 Transportation Corporation, is, on information and belief, an Arizona corporation and can be

 served through Mickey Seeman, Sunbelt’s Registered Agent, 2900 Browns Ln., Jonesboro, AR

 72401.

          538.   Interpleader Defendant TAFS Premium Finance, Inc., as Assignee of Three

 Brothers Trucking LLC, is, on information and belief, a Missouri corporation and can be served

 through C T Corporation System, TAFS’ Registered Agent, 120 South Central Ave., Clayton,

 MO 63105.

          539.   Interpleader Defendant Three Way Logistics, Inc. is, on information and belief, a

 California corporation and can be served through Michael Bonino, Registered Agent, 90 S.

 Spruce Ave., Suite S, South San Francisco, CA 94080.

          540.   Interpleader Defendant JD Factors, LLC, as Assignee of Thunder Logistics, Inc.,

 is, on information and belief, an Illinois corporation, and can be served through C T Corporation

 System, JD’s Registered Agent, 208 S. LaSalle St., Suite 814, Chicago, IL 60604.

          541.   Interpleader Defendant Tiger Logistics, Inc. is, on information and belief, an

 Illinois corporation and can be served through Silviya Angelova, Principal, 2300 E. Higgins Rd.,

 Suite 309, Elk Grove Village, IL 60007.



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        542.    Interpleader Defendant RTS Financial Service, as Assignee of Tiger Logistics, is,

 on information and belief, a Kansas corporation, and can be served through Corporation Service

 Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS 66614.

        543.    Interpleader Defendant, Compass Funding Solutions, as Assignee of Titan Freight

 Lines, Inc., is, on information and belief, an Illinois corporation and can be served through

 Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge,

 IL 60527.

        544.    Interpleader Defendant Titan Quality Transport is, on information and belief, an

 Illinois corporation and can be served through Boryana Mihaylova, Registered Agent, 1243

 Sandhurst Dr., Buffalo Grove, IL 60089.

        545.    Interpleader Defendant, Compass Funding Solutions, as Assignee of TLT

 Logistics, Inc., is, on information and belief, an Illinois corporation and can be served through

 Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge,

 IL 60527.

        546.    Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of TNT Express, Inc., is, on information and belief, a Texas corporation,

 and can be served through Corporation Service Company dba Lawyers Incorporating Service

 Company, Advance Business’ Registered Agent, 211 E. 7th St., Suite 620, Austin, TX 78701.

        547.    Interpleader Defendant Riviera Finance, as Assignee of Tochitos Trucking 1, Inc.

 is, on information and belief, an Illinois corporation and can be served through Incorp Services,

 Riviera’s Registered Agent, 901 S. 2nd St., Suite 201, Springfield, IL 62704.



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        548.   Interpleader Defendant OTR Capital, LLC, as Assignee of Tolokeaa Transport, is,

 on information and belief, a Georgia corporation and can be served through CT Corporation

 System, OTR’s Registered Agent, 289 S. Culver St., Lawrenceville, GA 30046.

        549.   Interpleader Defendant Tombach Corp. is, on information and belief, an Illinois

 corporation and can be served through Tomasz Kalenbach, Registered Agent, 227 Harvest Ct.,

 Vernon Hills, IL 60061.

        550.   Interpleader Defendant, Apex Capital Corp., as Assignee of Top Transit, LLC, is,

 on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        551.   Interpleader Defendant Tower Truck Lines, Inc. is, on information and belief, an

 Illinois corporation and can be served through Artur Znorko, Registered Agent, 736 Industrial

 Dr., Elmhurst, IL 60126.

        552.   Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of Traffic Trucking, LLC, is, on information and belief, a Texas

 corporation, and can be served through Corporation Service Company dba Lawyers

 Incorporating Service Company, Advance Business’ Registered Agent, 211 E. 7th St., Suite 620,

 Austin, TX 78701.

        553.   Interpleader Defendant TraLo Companies, Inc. is, on information and belief, a

 Canadian corporation and can be served through its Registered Agent, 1850 N. County Rd. 45,

 Owatonna, MN 55060.




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        554.    Interpleader Defendant Transfreight Logistics, Inc. is, on information and belief,

 an Illinois corporation and can be served through Anthony Defrenza, Registered Agent, 707

 Skokie Blvd., Suite 410, Northbrook, IL 60062.

        555.    Interpleader Defendant Baxter Bailey & Associates, as Assignee of TransFreight

 Logistics, Inc., is, on information and belief a Mississippi corporation and can be served through

 C T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101,

 Flowood, MS 39232.

        556.    Interpleader Defendant RTS Financial Service, as Assignee of TransFreight

 Logistics, Inc., is, on information and belief, a Kansas corporation, and can be served through

 Corporation Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204,

 Topeka, KS 66614.

        557.    Interpleader Defendant Transhield Trucking, Inc. is, on information and belief, an

 Illinois corporation and can be served through Patrick J. Hammes, Registered Agent, 2002 Red

 Oak Ln., St. Charles, IL 60174.

        558.    Interpleader Defendant JD Factors, LLC, as Assignee of Transfinity Logistics,

 Inc., is, on information and belief, an Illinois corporation, and can be served through C T

 Corporation System, JD’s Registered Agent, 208 S. LaSalle St., Suite 814, Chicago, IL 60604.

        559.    Interpleader Defendant Transit Core, LLC is, on information and belief, an

 Illinois corporation and can be served through Marius Balciunas, Registered Agent, 2S065

 Avondale Lane, Lombard, IL 60148.




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          560.   Interpleader Defendant Transrapid, Inc. is, on information and belief, an Illinois

 corporation and can be served through Tomasz Lapiak, Registered Agent, 501 Industrial Dr.,

 Bensenville, IL 60106.

          561.   Interpleader Defendant CD Consortium Corporation, as Assignee of Transrapid,

 Inc., is, on information and belief, an Illinois corporation, and can be served through Nick

 Tanglis, CD’s Registered Agent, 8930 N. Waukegan Rd., #230, Morton Grove, IL 60053.

          562.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of Trivium

 Trans, Inc., is, on information and belief a Mississippi corporation and can be served through C

 T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101, Flowood,

 MS 39232.

          563.   Interpleader Defendant Trucking Experts, LLC, is, on information and belief, an

 Illinois corporation, and can be served through Lucky Star Management, Registered Agent, 2130

 West 163rd Pl., Markham, IL 60428.

          564.   Interpleader Defendant RTS Financial Service, as Assignee of Trucking Experts,

 LLC, is, on information and belief, a Kansas corporation, and can be served through Corporation

 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.

          565.   Interpleader Defendant, Apex Capital Corp., as Assignee of Truckland, Inc., is, on

 information and belief, a Texas corporation and can be served through its registered agent Dean

 A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

          566.   Interpleader Defendant, Compass Funding Solutions, as Assignee of Trucks,

 LLC, is, on information and belief, an Illinois corporation and can be served through Arleesia

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 McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge, IL

 60527.

          567.   Interpleader Defendant Riviera Finance, as Assignee of TS Transportation, Inc. is,

 on information and belief, an Illinois corporation and can be served through Incorp Services,

 Riviera’s Registered Agent, 901 S. 2nd St., Suite 201, Springfield, IL 62704.

          568.   Interpleader Defendant Tumar Express, Inc. is, on information and belief, an

 Illinois corporation and can be served through Azamat Usenov, Registered Agent, 156

 Beaconridge Dr., Bolingbrook IL 60440.

          569.   Interpleader Defendant TVM Express, Inc. is, on information and belief, an

 Illinois corporation and can be served through Grzegorz Sudor, Registered Agent, 296

 Sutherland Ln., Bloomingdale, IL 60108.

          570.   Interpleader Defendant, Apex Capital Corp., as Assignee of Twin Cities Carrier,

 Inc., is, on information and belief, a Texas corporation and can be served through its registered

 agent Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

          571.   Interpleader Defendant Twin Express, Inc. is, on information and belief, a

 Minnesota corporation and can be served through its Registered Agent, 12424 Ironwood Cir.,

 Suite 102, Rogers, MN 55374.

          572.   Interpleader Defendant Riviera Finance, as Assignee of Twin Logistics Express,

 Inc. is, on information and belief, an Illinois corporation and can be served through Incorp

 Services, Riviera’s Registered Agent, 901 S. 2nd St., Suite 201, Springfield, IL 62704.




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          573.   Interpleader Defendant U Brothers, Inc. is, on information and belief, an Illinois

 corporation and can be served through Mykhaylo Finchak, 7718 Wildwood Ct., Apt. 1S, Darien,

 IL 60561.

          574.   Interpleader Defendant, Compass Funding Solutions, as Assignee of UAL

 Express, Inc., is, on information and belief, an Illinois corporation and can be served through

 Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge,

 IL 60527.

          575.   Interpleader Defendant TBS Factoring Service, as Assignee of Uber Trucking,

 LLC, is, on information and belief, an Oklahoma corporation, and can be served through Wood

 Kaufman, TBS’ Registered Agent, 3909 N. Classen Blvd., Oklahoma City, OK 73118.

          576.   Interpleader Defendant Ultra Trucking, Inc. is, on information and belief, an

 Illinois corporation and can be served through Sergiu Cenusa, Registered Agent, 355 W. Dundee

 Rd., #103, Buffalo Grove, IL 60089.

          577.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of UNI Trans,

 Inc., is, on information and belief a Mississippi corporation and can be served through C T

 Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101, Flowood, MS

 39232.

          578.   Interpleader Defendant JD Factors, LLC, as Assignee of Unico Trans Corp., is, on

 information and belief, an Illinois corporation, and can be served through C T Corporation

 System, JD’s Registered Agent, 208 S. LaSalle St., Suite 814, Chicago, IL 60604.

          579.   Interpleader Defendant, Compass Funding Solutions, as Assignee of Unique

 Freight Carriers, Inc., is, on information and belief, an Illinois corporation and can be served

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 through Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2,

 Burr Ridge, IL 60527.

          580.   Interpleader Defendant Orange Commercial Credit, as Assignee of United Trans

 Group, Inc. is, on information and belief a Washington corporation and can be served through

 Orange Commercial Credit, Orange’s Registered Agent, 2415 Heritage Ct. SW, Olympia, WA

 98502.

          581.   Interpleader Defendant, SevenOaks Capital, as Assignee of United Transport

 Logistics, is, on information and belief, a Louisiana corporation, and can be served through

 Jeffry E. Foil, SevenOaks’ Registered Agent, 7854 Anselmo Ln., Baton Rouge, LA 70810.

          582.   Interpleader Defendant, Assist Financial Services, Inc., as Assignee of Unitrans,

 Inc., is, on information and belief, a South Dakota corporation, and can be served through Brian

 G. Kringen, Assist’s Registered Agent, 1533 NW 2nd St., Madison, SD 57042.

          583.   Interpleader Defendant JD Factors, LLC, as Assignee of Unlimited Freight, Inc.,

 is, on information and belief, an Illinois corporation, and can be served through C T Corporation

 System, JD’s Registered Agent, 208 S. LaSalle St., Suite 814, Chicago, IL 60604.

          584.   Interpleader Defendant US Advance Transportation, Inc., is, on information and

 belief, a Florida corporation, and can be served through its registered agent Klodian Muca, 3037

 NW 48th Ave., Coconut Creek, FL 33063.

          585.   Interpleader Defendant JD Factors, LLC, as Assignee of US Expediters, Inc., is,

 on information and belief, an Illinois corporation, and can be served through C T Corporation

 System, JD’s Registered Agent, 208 S. LaSalle St., Suite 814, Chicago, IL 60604.



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        586.    Interpleader Defendant, Assist Financial Services, Inc., as Assignee of US

 Express, Inc., is, on information and belief, a South Dakota corporation, and can be served

 through Brian G. Kringen, Assist’s Registered Agent, 1533 NW 2nd St., Madison, SD 57042.

        587.    Interpleader Defendant, Crestmark Bank, as Assignee of US Freightways

 Logistics, Inc., is, on information and belief, a Tennessee corporation, and can be served through

 Heath Holdbrooks, Crestmark’s Registered Agent, 800 Crescent Centre Dr., Suite 620, Franklin,

 TN 37067.

        588.    Interpleader Defendant USA Cargo, Inc. is, on information and belief, a Michigan

 corporation and can be served through Bujar Kraja, Registered Agent, 48951 Forest Dr., Shelby

 Twp., MI 48317.

        589.    Interpleader Defendant, Compass Funding Solutions, as Assignee of USA

 Logistics, Inc., is, on information and belief, an Illinois corporation and can be served through

 Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge,

 IL 60527.

        590.    Interpleader Defendant, Apex Capital Corp., as Assignee of USKO Express, Inc.,

 is, on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        591.    Interpleader Defendant Valor Express, Inc. is, on information and belief, an

 Illinois corporation and can be served through John T. Grebe, Registered Agent, 1749 S.

 Naperville Rd., Suite 203, Wheaton, IL 60189.




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        592.   Interpleader Defendant LSQ Funding Group, Inc., as Assignee of Valor Express,

 Inc., is, on information and belief, a Florida corporation and can be served through F & L Corp.,

 LSQ’s Registered Agent, 1 Independent Dr., Jacksonville, FL 32202.

        593.   Interpleader Defendant Van Dam Transport is, on information and belief, a

 Michigan corporation and can be served through Kenneth Vandam, Registered Agent, 4407 38th

 St., Hamilton, MI 49419.

        594.   Interpleader Defendant Varta, Inc. is, on information and belief, an Illinois

 corporation and can be served through Georgi V. Trifonov, Registered Agent, 80 Kristin Cir.,

 Apt. 5, Schaumburg, IL 60195.

        595.   Interpleader Defendant RTS Financial Service, as Assignee of Varta, Inc., is, on

 information and belief, a Kansas corporation, and can be served through Corporation Service

 Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS 66614.

        596.   Interpleader Defendant, Apex Capital Corp., as Assignee of VBS Express, Inc., is,

 on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        597.   Interpleader Defendant OTR Capital, LLC, as Assignee of VGK Express, Inc., is,

 on information and belief, a Georgia corporation and can be served through CT Corporation

 System, OTR’s Registered Agent, 289 S. Culver St., Lawrenceville, GA 30046.

        598.   Interpleader Defendant Via Logistics, Inc. is, on information and belief, an

 Illinois corporation and can be served through Erikas Kimantas, Registered Agent, 7 Melshane

 Ct., Lemont, IL 60439.



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          599.   Interpleader Defendant RTS Financial Service, as Assignee of Via Logistics, Inc.,

 is, on information and belief, a Kansas corporation, and can be served through Corporation

 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.

          600.   Interpleader Defendant Victory Transit, Inc. is, on information and belief, an

 Illinois corporation and can be served through Tanya Stoykova, Registered Agent, 836 S.

 Arlington Heights Rd., #360, Elk Grove Village, IL 60007.

          601.   Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of Victory Transit, Inc., is, on information and belief, a Texas corporation,

 and can be served through Corporation Service Company dba Lawyers Incorporating Service

 Company, Advance Business’ Registered Agent, 211 E. 7th St., Suite 620, Austin, TX 78701.

          602.   Interpleader Defendant, Interstate Capital Corporation, as Assignee of Vikings

 Trucking, is, on information and belief, a New Mexico corporation and can be served through

 Interstate Financial Corporation, Interstate’s Registered Agent, 1255 Country Club Rd., #D,

 Santa Teresa, NM 88008.

          603.   Interpleader Defendant, Compass Funding Solutions, as Assignee of Viktor

 Transportation, Inc., is, on information and belief, an Illinois corporation and can be served

 through Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2,

 Burr Ridge, IL 60527.

          604.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of Vilano

 Incorporated, is, on information and belief a Mississippi corporation and can be served through C



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 T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101, Flowood,

 MS 39232.

        605.   Interpleader Defendant FirstLine Funding Group, as Assignee of Vintage

 Transport, LLC, is, on information and belief, a South Dakota corporation, and can be served

 through First Bank & Trust, First Line’s Registered Agent, 110 N. Minnesota Ave., Sioux Falls,

 SD 57104.

        606.   Interpleader Defendant VIP Expedited is, on information and belief, an Illinois

 corporation and can be served through Gennadiy Krivopishchenko, Registered Agent, 2411

 Ogden Ave., Suite 9, Downers Grove, IL 60515.

        607.   Interpleader Defendant, Apex Capital Corp., as Assignee of Vito LLC, is, on

 information and belief, a Texas corporation and can be served through its registered agent Dean

 A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        608.   Interpleader Defendant Vargas Transportation LLC, is, on information and belief

 a Texas corporation, and can be served through its registered agent Claudia V. Saenz, 12220

 Pellicano, Apt 1501, El Paso, TX 79936.

        609.   Interpleader Defendant, Apex Capital Corp., as Assignee of VKP Line, Inc., is, on

 information and belief, a Texas corporation and can be served through its registered agent Dean

 A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        610.   Interpleader Defendant, Compass Funding Solutions, as Assignee of VL

 Trucking, Inc., is, on information and belief, an Illinois corporation and can be served through

 Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge,

 IL 60527.

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          611.   Interpleader Defendant, Assist Financial Services, Inc., as Assignee of VMB

 Transportation, Inc., is, on information and belief, a South Dakota corporation, and can be served

 through Brian G. Kringen, Assist’s Registered Agent, 1533 NW 2nd St., Madison, SD 57042.

          612.   Interpleader Defendant CD Consortium Corporation, as Assignee of Vodik

 Transport, Inc., is, on information and belief, an Illinois corporation, and can be served through

 Nick Tanglis, CD’s Registered Agent, 8930 N. Waukegan Rd., #230, Morton Grove, IL 60053.

          613.   Interpleader Defendant, Vero Business Capital LLC, as Assignee of Volcano

 Transport, Inc., is, on information and belief a Tennessee corporation, and can be served through

 Paracorp Incorporated, Vero’s Registered Agent, 992 Davidson Dr., Suite B, Nashville, TN

 37205.

          614.   Interpleader Defendant, Apex Capital Corp., as Assignee of Voyager Nation, Inc.,

 is, on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

          615.   Interpleader Defendant RTS Financial Service, as Assignee of VS Express, Inc.,

 is, on information and belief, a Kansas corporation, and can be served through Corporation

 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.

          616.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of VS Express,

 Inc., is, on information and belief a Mississippi corporation and can be served through C T

 Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101, Flowood, MS

 39232.



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          617.   Interpleader Defendant, Compass Funding Solutions, as Assignee of VS

 Trucklines, Inc., is, on information and belief, an Illinois corporation and can be served through

 Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge,

 IL 60527.

          618.   Interpleader Defendant TAFS Premium Finance, Inc., as Assignee of VSM

 Express, is, on information and belief, a Missouri corporation and can be served through C T

 Corporation System, TAFS’ Registered Agent, 120 South Central Ave., Clayton, MO 63105.

          619.   Interpleader Defendant Transam Financial Services, Inc., as Assignee of VSM

 Express, is, on information and belief, a Kansas corporation and can be served through SBLSG

 Registered Agent, LLC, Transam’s Registered Agent, 9300 West 110th St., Suite 200, Overland

 Park, KS 66212.

          620.   Interpleader Defendant TBS Factoring Service, as Assignee of Werk’s Truckin

 LLC, is, on information and belief, an Oklahoma corporation, and can be served through Wood

 Kaufman, TBS’ Registered Agent, 3909 N. Classen Blvd., Oklahoma City, OK 73118.

          621.   Interpleader Defendant, Apex Capital Corp., as Assignee of West Coast Express,

 is, on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

          622.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of West Proline

 Logistics, is, on information and belief a Mississippi corporation and can be served through C T

 Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101, Flowood, MS

 39232.



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        623.   Interpleader Defendant West Proline Logistics is, on information and belief, a

 California corporation and can be served through Kevork Garabetian, Registered Agent, 3308

 Community Ave., La Crescenta, CA 91214.

        624.   Interpleader Defendant Quick Pay, as Assignee of West Proline Logistics, is, on

 information and belief, a California corporation and can be served through Tabitha Ranley,

 Quick Pay’s Registered Agent, 695 Town Center Dr., Suite 700, Costa Mesa, CA 92626.

        625.   Interpleader Defendant FirstLine Funding Group, as Assignee of Western Lines,

 Inc., is, on information and belief, a South Dakota corporation, and can be served through First

 Bank & Trust, First Line’s Registered Agent, 110 N. Minnesota Ave., Sioux Falls, SD 57104.

        626.   Interpleader Defendant, Apex Capital Corp., as Assignee of Western Transport,

 LLC, is, on information and belief, a Texas corporation and can be served through its registered

 agent Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        627.   Interpleader Defendant White Star Transport, Inc. is, on information and belief,

 an Illinois corporation and can be served through Katarzyna Wasilewska, Registered Agent, 945

 Edgewood Dr., #D, Wood Dale, IL 60191.

        628.   Interpleader Defendant Bay View Funding, as Assignee of White Star Transport,

 Inc. is, on information and belief, a California corporation and can be served through Glen E.

 Shu, its registered agent, 2933 Bunnker Hill Lane, Suite 210, Santa Clara, CA 95054.

        629.   Interpleader Defendant Wild Eagle Express is, on information and belief, an

 Illinois corporation and can be served through Vilma Dubininkaite, 16W455 S. Frontage Rd.,

 Suite 208, Burr Ridge, IL 60527.



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          630.   Interpleader Defendant FirstLine Funding Group, as Assignee of Williams

 Transport, is, on information and belief, a South Dakota corporation, and can be served through

 First Bank & Trust, First Line’s Registered Agent, 110 N. Minnesota Ave., Sioux Falls, SD

 57104.

          631.   Interpleader Defendant FirstLine Funding Group, as Assignee of Windstar Lines,

 is, on information and belief, a South Dakota corporation, and can be served through First Bank

 & Trust, First Line’s Registered Agent, 110 N. Minnesota Ave., Sioux Falls, SD 57104.

          632.   Interpleader Defendant Windy Hill Foliage, Inc. is, on information and belief, a

 Wisconsin corporation and can be served through Jackie L. Shortt, Registered Agent, 10449 Day

 Rd., Marshfield, WI 54449.

          633.   Interpleader Defendant Riviera Finance, as Assignee of XXX Logistics, Inc., is,

 on information and belief, an Illinois corporation and can be served through Incorp Services,

 Riviera’s Registered Agent, 901 S. 2nd St., Suite 201, Springfield, IL 62704.

          634.   Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of Yare Express, is, on information and belief, a Texas corporation, and can

 be served through Corporation Service Company dba Lawyers Incorporating Service Company,

 Advance Business’ Registered Agent, 211 E. 7th St., Suite 620, Austin, TX 78701.

          635.   Interpleader Defendant Financial Carrier Services, as Assignee of YD Trucking

 Corp., is, on information and belief, a North Carolina corporation and can be served through

 Nichele Marks, Financial’ s Registered Agent, 13325 South Point Blvd. Suite 300, Charlotte, NC

 28273.



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        636.   Interpleader Defendant, Compass Funding Solutions, as Assignee of Yopo

 Transport, is, on information and belief, an Illinois corporation and can be served through

 Arleesia McDonald, Compass’ Registered Agent, 15W580 N. Frontage Rd., Suite 2, Burr Ridge,

 IL 60527.

        637.   Interpleader Defendant, Apex Capital Corp., as Assignee of Yugo Express, Inc.,

 is, on information and belief, a Texas corporation and can be served through its registered agent

 Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

        638.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of Yulivan

 Carriers, Inc., is, on information and belief a Mississippi corporation and can be served through

 C T Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101,

 Flowood, MS 39232.

        639.   Interpleader Defendant Z Top Logistics, Inc. is, on information and belief, an

 Illinois corporation and can be served through Lyubov Martynova, Registered Agent, 7935 W.

 59th St., Unit B, Summit Argo, IL 60501.

        640.   Interpleader Defendant Credit Express, Inc., as Assignee of Z Top Logistics, Inc.,

 is, on information and belief, an Illinois corporation and can be served through Alexander Narod,

 Credit’s Registered Agent, 601 Skokie Blvd., #503, Northbrook, IL 60062.

        641.   Interpleader Defendant Z Transportation, Inc. is, on information and belief, a New

 Jersey corporation and can be served through Trajce Ristovski, Registered Agent, 70 Demarest

 Dr., Wayne, NJ 07470.

        642.   Interpleader Defendant RTS Financial Service, as Assignee of Z Transportation,

 Inc., is, on information and belief, a Kansas corporation, and can be served through Corporation

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 Service Company, RTS’ Registered Agent, 2900 SW Wanamaker Dr., Suite 204, Topeka, KS

 66614.

          643.   Interpleader Defendant, Bibby Transportation Finance, Inc., as Assignee of

 Zakpol Trucking, is, on information and belief, a Georgia corporation, and can be served through

 Corporation Service Company, Bibby’s Registered Agent, 40 Technology Parkway South, Suite

 300, Norcross, GA 30092.

          644.   Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of Zar’s Express, is, on information and belief, a Texas corporation, and can

 be served through Corporation Service Company dba Lawyers Incorporating Service Company,

 Advance Business’ Registered Agent, 211 E. 7th St., Suite 620, Austin, TX 78701.

          645.   Interpleader Defendant Baxter Bailey & Associates, as Assignee of ZDL Express,

 Inc., is, on information and belief a Mississippi corporation and can be served through C T

 Corporation System, Baxter’s Registered Agent, 645 Lakeland East Dr., Suite 101, Flowood, MS

 39232.

          646.   Interpleader Defendant, Advance Business Capital LLC dba Triumph Business

 Capital, as Assignee of Zema Transportation, LLC, is, on information and belief, a Texas

 corporation, and can be served through Corporation Service Company dba Lawyers

 Incorporating Service Company, Advance Business’ Registered Agent, 211 E. 7th St., Suite 620,

 Austin, TX 78701.

          647.   Interpleader Defendant, Apex Capital Corp., as Assignee of Zeromax Motors,

 Inc., is, on information and belief, a Texas corporation and can be served through its registered

 agent Dean A. Tetirick, 6000 Western Pl, Suite 1000, Fort Worth, TX 76107.

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                                  JURISDICTION AND VENUE

        648.    This court has jurisdiction over this cause pursuant to 49 U.S.C. § 14704 for

 actions relating to motor carriers or brokers; 28 U.S.C. §1335 which grants Federal District

 Courts original jurisdiction of any civil action of interpleader as two or more of the adverse

 claimants in this action, designated as defendants, are of diverse citizenship and the penal sum of

 the bond is equal to or more than $500.00; and 28 U.S.C. §1352 which gives Federal District

 Courts original jurisdiction of any action on a bond executed under any law of the United States.

        649.    Venue is proper in this Court under 28 U.S.C. §1397 which provides that any civil

 action of interpleader or in the nature of interpleader under 28 U.S.C. §1335 may be brought in

 the judicial district in which one or more of the claimants reside.



                             FACTS COMMON TO ALL COUNTS

        650.    On October 1, 2016, Merchants, as surety, pursuant to 49 U.S.C. §13906(b),

 issued Surety Bond No. MN 26771, Form BMC-84 (the “Bond”), in the penal sum of

 $75,000.00, for Infinity Logistics, Inc., as principal. Pursuant to 49 C.F.R. §387.323, Merchants

 was required to electronically file form BMC-84. Attached to this Amended Complaint as

 Exhibit “A” is the Acceptance Report for the Bond issued by the Federal Motor Carrier Safety

 Administration (“FMCSA”).

        651.    On December 12, 2017, Merchants issued a cancellation notice of the Bond in

 accordance with 49 U.S.C. §13906(b)(4). The Bond was canceled effective January 12, 2018.

 Attached to this Amended Complaint as Exhibit “B” are the Notices of Cancellation.

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        652.       Pursuant to 49 U.S.C. §13906(b)(6), cancellation of the Bond was publically

 advertised for claims beginning on the date of publication of the cancellation of the Bond,

 December 12, 2017 and ending on February 10, 2018, sixty days thereafter.

        653.       Merchants has received notice of multiple claims against its Bond by various

 bond claimants of Infinity Logistics, Inc. and who are named as Interpleader Defendants herein.

        654.       Each of the Interpleader Defendants has asserted a claim with Merchants against

 the Bond. Attached to this Amended Complaint as Exhibit “C” is a listing of claims received

 from current or potential claimants.

        655.       Each of those claims allegedly involve claims of nonpayment by Infinity

 Logistics, Inc.

        656.       Merchants is unable to determine the respective interests of the Interpleader

 Defendants in the proceeds of the Bond and has no adequate remedy at law.

        657.       Each of the Interpleader Defendants should be required to demonstrate their claim

 against the Bond or be barred from making any claim against the Bond.

        658.       The total amount of claims received exceed the $75,000.00 penal sum of the Bond

 and, accordingly, Merchants seeks relief in statutory interpleader pursuant to 28 U.S.C. §1335 to

 pay the total penal sum of the Bond into the Court for disbursement as the Court deems proper.

        659.       Merchants claims an interest in any bond proceeds that may remain after

 disposition of same.

        660.       Concurrent with the filing of the Complaint in Interpleader, Merchants moved this

 Court for an Order allowing Merchants to deposit into the Court the sum of Seventy-Five



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 Thousand Dollars ($75,000.00) representing the entire penal sum of its Bond. Said funds have

 been deposited with the Court.

        WHEREFORE, Merchants Bonding Company (Mutual) prays this Court enter an Order

 as follows:

        (1)          That each of the Interpleader Defendants be prohibited from instituting or

               prosecuting any action against Merchants Bonding Company (Mutual) on the Bond;

        (2)          That no Interpleader Defendant is entitled to the proceeds of the Bond or any part

               of it until and after all Interpleader Defendants have asserted their rights to the

               proceeds;

        (3)          That Merchants Bonding Company (Mutual) is discharged and released from all

               liability under its Bond upon payment of the penal sum of $75,000.00 into this Court;

               and

        (4)          That this Court grant any further relief as the Court deems necessary and

               appropriate.

                                                  Respectfully submitted,
                                                  Merchants Bonding Company (Mutual)

                                                  By: /s/ Grace Winkler Cranley
                                                          One of its attorneys

 Grace Winkler Cranley (IL# 6215920)
 Krysta K. Gumbiner (IN# 31989-45)
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on September 12, 2018, a copy of the foregoing was filed

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        I hereby certify that on September 12, 2018, we also served a copy of the foregoing via

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 Conick Logistics, Inc.                                IBY Transport
 841 Queenswood Ct.                                    641 Bryce Tr.
 Wheaton, IL 60189                                     Roselle, IL 60172

 Jason Transport Inc.                                  Jeff Bryan Transport
 2441 Becker Dr.                                       232 W. Calhoun St.
 Albert Lea, MN 56007                                  Sumter, SC 29150

 Light Logistics Inc.                                  Load to Ride Transportation
 22424 S. Ellsworth Loop Rd., #1403                    3680 E. 52nd Ave.
 Queen Creek, AZ 85142                                 Denver, CO 80216
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 Nussbaum                                  Out Witting The Rest Inc.
 19336 N 1425 East Rd.                     1680 Sandy Ridge Dr.
 Hudson, IL 61748                          Liberty, NC 27298


 Sam’s Trucking Services LLC
 210 Andover Ln.
 Lititz, PA 17543


                                           /s/ Grace Winkler Cranley
                                           Grace Winkler Cranley




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